Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 1 of 295




               EXHIBIT 1
 Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 2 of 295




                EXHIBIT 7

To the Declaration of Rakesh N.
            Kilaru

 REDACTED VERSION OF
 DOCUMENT REQUESTED
TO BE FILED UNDER SEAL
      Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 3 of 295

                                                                                 Page 1
1             IN THE UNITED STATES DISTRICT COURT

2           FOR THE NORTHERN DISTRICT OF CALIFORNIA

3                             OAKLAND DIVISION

 4

 5

 6   IN RE COLLEGE ATHLETE NIL   )              Case No.
                                 )              4:20-cv-03919 CW
 7   LITIGATION                  )
     ____________________________)
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13                  DEPOSITION OF DANIEL RASCHER

14                   Tuesday, January 10, 2023

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22   JOB NO. 220885

23   REPORTED BY:

24   HEIDI BELTON, CSR, RMR, CRR, CCRR, CRC

25   CSR No. 12885
      Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 4 of 295

                                                                                Page 2
 1                   January 10, 2023
 2                       9:26 a.m.
 3
 4
 5   Videotaped deposition of Daniel Rascher,
 6   held at the offices of Winston & Strawn,
 7   LLP, 101 California Street, San
 8   Francisco, California 94111, before Heidi
 9   Belton, a Certified Shorthand Reporter,
10   Registered Merit Reporter, Certified
11   Realtime Reporter, California Certified
12   Realtime Reporter, Certified Realtime
13   Captioner.
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      Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 5 of 295

                                                                                Page 3
1    APPEARANCES:

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3         HAGENS BERMAN SOBOL SHAPIRO LLP
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4         Berkeley, California 94710
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 5             Steve Berman, Esq.
               Stephanie Verdoia, Esq. (remote)
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               Emilee Sisco, Esq. (remote)
14             David Feher, Esq. (remote)
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15             Joseph Blake, Esq. (remote)

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      Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 6 of 295

                                                                                Page 4
1    APPEARANCES (continued)

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          WILKINSON STEKLOFF
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10   For the Defendant PAC-12 Conference:

11               COOLEY, LLP
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20   For the Defendant The Big 12 Conference:

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      Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 7 of 295

                                                                                Page 5
1    APPEARANCES (Continued)

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 4                    Amy Fitts (pro hac vice) (remote)

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 9   For the Defendant Southeastern Conference:

10               ROBINSON BRADSHAW & HINSON PA
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11               Charlotte, North Carolina 28246
                 By: Robert Fuller, III, Esq.
12                    Lawrence Moore, III, Esq.

13

14

15   Also Present: Frank Quirarte, videographer; Scott
     Couser, AV technician, Winston & Strawn (remote);
16   Tim Falk, CLVS, TSG Reporting (remote), Robert Laird, Esq.

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      Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 8 of 295

                                                                                Page 6
 1                       INDEX OF EXAMINATION
 2   WITNESS:    DANIEL RASCHER
 3
 4   EXAMINATION                                                        PAGE
 5   BY MR. KILARU                                                          9
 6
 7
 8
 9
10
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16
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                   TSG Reporting - Worldwide· · 877-702-9580
      Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 9 of 295

                                                                                Page 7
1                         INDEX OF EXHIBITS

2                             DANIEL RASCHER

3    EXHIBIT                       DESCRIPTION                         PAGE

4

5    Exhibit 1          Document titled "Expert Report                    13
                        of Daniel A. Rascher"
6                       (confidential)

7    Exhibit 2          On3 article re Alston award at                    96
                        Wisconsin
8
     Exhibit 3          Document titled "Southeastern                    135
 9                      Conference Financial
                        Statements, August 31, 2020
10                      and 2019," Bates stamped
                        SEC-HOUSE0047887 -
11                      SEC-HOUSE0047931
                        (confidential)
12
     Exhibit 4          Document titled "Term Sheet,                     139
13                      CBSC/C-USA, Rights Agreement
                        Extension," Bates stamped
14                      CUSA_NCAA00000509 -
                        CUSA_NCAA00000520
15                      (confidential)

16   Exhibit 5          Document titled "Proportions                     142
                        of Total Revenues and
17                      Contributions Attributed to
                        Football, Men's Basketball,
18                      Women's Basketball, and All
                        Other Sports Across Power Five
19                      Conferences"

20   Exhibit 6          Document titled "Proportions                     143
                        of Total Revenues and
21                      Contributions Attributed to
                        Football, Men's Basketball,
22                      Women's Basketball, and All
                        Other Sports Across Power Five
23                      Conferences, 2016-2021,"
                        (split out by conference)
24

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                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 10 of 295

                                                                                Page 8
 1                INDEX OF EXHIBITS (continued)

 2                                                                     PAGE

 3   Exhibit 7         Document titled "Percent                         147
                       Distribution of Total Revenues
 4                     Among Three Sports By Power
                       Five School, 2016-2021"
 5
     Exhibit 8         Spreadsheet of offers received                   200
6                      by Omari Spellman
                       (confidential)
7
     Exhibit 9         Spreadsheet of offers received                   206
8                      by Maxwell Lorca-Lloyd
                       (confidential)
9
     Exhibit 10        Spreadsheet of offers received                   211
10                     by Troy Warner (confidential)

11   Exhibit 11        E-mail string Bates stamped                      270
                       EA_NIL_00000268 -
12                     EA_NIL_00000271

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                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25    Page 11 of 295

                                                                                 Page 9
 1      TUESDAY, JANUARY 10, 2023                          9:25 A.M.
 2                     P R O C E E D I N G S
 3               THE VIDEOGRAPHER:         All right.          Good
 4   morning, ladies and gentlemen.            We're on video
 5   record in the deposition of Dr. Daniel Rascher.
 6   It's in the matter of In re College Athlete NIL
 7   Litigation.     It's being held in the United States
 8   District Court, District of California, Oakland
 9   Division.    Case number 4:20-CV-03919-CW.
10               This deposition is being held at 101
11   California Street, in San Francisco, California on
12   January 10, 2023 at approximately 9:26 a.m.                      My name
13   is Frank Quirarte; I'm your legal video specialist.
14   I'm here from TSG Reporting, Inc.              We're
15   headquartered at 228 East 45th Street, Suite 810,
16   New York, New York 10017.          Our court reporter today
17   is Heidi Belton, also in association with TSG
18   Reporting.
19               Madam Court Reporter, will you please
20   swear in the witness.
21        (Whereupon, the witness, DANIEL RASCHER,
22      having been duly sworn, testified as follows:)
23                            EXAMINATION
24   BY MR. KILARU:
25        Q.     Good morning, Dr. Rascher.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case
      C 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25    Page 12 of 295

                                                                                Page 10
 1        A.    Good morning.
 2        Q.    I happen to know it's not your first time
 3   being deposed so I'll skip many of the procedural
 4   questions and just ask before we start:                  Are you
 5   able to give truthful testimony today?
 6        A.    Yes.
 7        Q.    Can you think of any reason why that
 8   wouldn't be the case?
 9        A.    No.
10        Q.    Okay.      You're here as an expert witness in
11   the lawsuit titled College Athlete NIL Litigation;
12   right?
13        A.    Yes.
14        Q.    Okay.      And you recently provided testimony
15   in a case called Shields versus FINA; is that right?
16        A.    Yes.    I think that was the name of the
17   case.
18        Q.    About swimming and swimming compensation?
19   I'm probably getting that wrong.
20        A.    Yes.
21        Q.    And obviously you are an expert in the
22   previous cases and in this litigation also; is that
23   right?
24        A.    Yes.
25        Q.    Are there any other sports antitrust cases


                  TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25    Page 13 of 295

                                                                                 Page 11
 1   that you've submitted reports in in the last two
 2   years, that you're aware of?
 3        A.     Well, the NFL Sunday Ticket case that --
 4        Q.     I should have known that one.                 Yes.
 5        A.     I don't believe so.          I would have to look
 6   at my CV, I guess.       But I think that's it.
 7        Q.     Okay.
 8        A.     Sports antitrust.         I think so.
 9        Q.     When were you first retained as an expert
10   by the plaintiffs in this case?
11        A.     I don't -- I don't know.            I don't
12   remember.
13        Q.     Was it within the last year?              Two years?
14        A.     I think it was before within the -- I
15   think it was beyond the last -- what are we in?
16   January.
17               Yeah, I feel like it -- I'm sort of -- I
18   know you don't want me to speculate, but I believe
19   it's more than a year ago.          I'm pretty sure.             But I
20   don't -- I really don't remember when.
21        Q.     Do you recall how you came to be retained?
22        A.     I don't.
23        Q.     Did you call the plaintiffs?              Did the
24   plaintiffs call you?
25        A.     I don't think I called the plaintiffs; I


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 14 of 295

                                                                                 Page 12
 1   think they called me.
 2        Q.     And when did you start working on the
 3   expert report that you've submitted in this case?
 4        A.     I -- I would say sort of the spring of
 5   last year.
 6        Q.     The spring of 2022?
 7        A.     Yeah.
 8        Q.     Okay.       Do you have a sense of how many
 9   hours you've spent working on the report?
10        A.     I don't.
11        Q.     Have you spoken -- do you know who
12   Mr. Desser is?
13        A.     Yes.
14        Q.     Have you spoken with him in connection
15   with this case?
16        A.     Yes.
17        Q.     How often have you spoken with him?
18        A.     Once or twice.        I think once or twice.
19        Q.     Did you rely on those conversations with
20   him in any way in forming your conclusions in this
21   case?
22        A.     No, I don't believe so.
23               MR. KILARU:       I'd like to turn your
24   attention to your report in this case, which we will
25   have as Exhibit 1.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 15 of 295

                                                                                 Page 13
 1               Can you give him a copy of that?
 2                                       (Exhibit 1 marked.)
 3   BY MR. KILARU:
 4        Q.     Dr. Rascher, what we've just handed you as
 5   Exhibit 1 appears to be your expert report in this
 6   case; right?
 7        A.     (Witness reviews document.)
 8               Yes.
 9        Q.     And I'll represent to you that it's a full
10   copy; every page is in there.
11               You're aware that your report needs to
12   contain a complete statement of all the opinions
13   that you intend to express at this stage of the
14   litigation; is that right?
15               MR. SIEGEL:       Objection to the extent that
16   calls for a legal conclusion.
17               But you can answer.
18               THE WITNESS:        Yeah, I --
19   BY MR. KILARU:
20        Q.     Is that your understanding?
21        A.     -- I -- I don't know that.
22        Q.     Okay.       Well, sitting here today, do you
23   have any opinions related to this case that you
24   formed that are not contained in that report?
25        A.     Not that I can think of.


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 16 of 295

                                                                                 Page 14
1         Q.     Okay.       Do you have any economic models
2    that you intend to offer that are not contained in
3    the report that's sitting in front of you?
4         A.     I mean, to the extent that the report
5    discusses sort of the ongoing nature of this lit- --
6    of this case, I think I talk in the report a little
7    bit about, you know, doing this and doing that and
8    sort of describing those processes.
9                So if -- you know, if this case goes
10   forward, if I'm to continue in the case, then I -- I
11   plan to do some of the things that I talk about in
12   the report.
13        Q.     So let me give you an example.
14               Could you turn to paragraph 155 of your
15   report on page 76.
16        A.     I see that.
17        Q.     So the first sentence of that paragraph
18   talks about how you have modeled competition for
19   broadcast NIL group licenses at the Power Five
20   conference level as opposed to at the individual
21   school level.     Is that fair?
22        A.     I just have to read it.
23        Q.     Sure.
24        A.     (Witness reviews document.)
25               Okay.       Yes.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 17 of 295

                                                                                 Page 15
 1        Q.     Is that correct?
 2        A.     That I've modeled -- done a modeling
 3   competition between conferences as opposed to
 4   between the schools directly?
 5        Q.     Yes.
 6        A.     Yes.
 7        Q.     You haven't done any modeling of
 8   school-level compensation decisions; right?
 9        A.     In terms of the broadcast and NIL?
10        Q.     Yes.
11        A.     No, I don't believe so.
12        Q.     Okay.       Why haven't you done that to date?
13        A.     I mean, I haven't -- my analysis was
14   looking at for -- for broadcast, it's looking at the
15   broadcast contracts that the -- that the -- that the
16   conferences have.         And so I'm looking at -- at how
17   those contracts could lead to NIL payments to the
18   athletes.
19        Q.     So just to be clear, it's your opinion
20   that in the but-for world regarding broadcast NIL,
21   the conferences would be competing with each other
22   for student athlete labor services; correct?
23        A.     I believe that the conferences, the
24   members of the conference are the schools.                   And they
25   set rules at the conference level.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 18 of 295

                                                                                Page 16
1                A similar rule that they set as an example
 2   is that they're going to share those revenues from
 3   the broadcast contracts.          They generally share them
 4   equally; right?
 5               And so I'm modeling them setting another
 6   set of rules about how they would share the name,
 7   image and likeness payments to the athletes.
 8        Q.     Right.      So your model assumes that the
 9   competition for providing these payments to student
10   athletes is occurring at the conference level, not
11   the school level; correct?
12               MR. SIEGEL:      Objection; vague and
13   ambiguous as to "assume."
14               THE WITNESS:       So the schools are competing
15   for the athletes.       But within the rules that are set
16   by the conferences -- and obviously other rules that
17   are set by the NCAA and others.
18               So the schools are competing in the labor
19   market for the athletes.          But under a set of rules
20   that are -- that are determined at the conference
21   level.    And so the conferences compete with each
22   other also.     The schools within the conferences as
23   members are competing for athletes, they're
24   competing for sponsors, they're competing for media
25   deals and so forth.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 19 of 295

                                                                                Page 17
 1   BY MR. KILARU:
 2        Q.     But to the extent the schools are
 3   competing with each other, in your model, they're
 4   doing so based on rules that are set by their
 5   conference regarding compensation; correct?
 6        A.     Can you say that again?
 7        Q.     Yes.    To the extent the schools are
 8   competing with each other in your model with
 9   broadcast NIL payments, they're doing so based on
10   rules that are set by their conference?
11        A.     Yes.    There's a -- a determination that --
12   that when -- that the schools will make joint
13   venture decisions within that conference, when
14   they're allowed to do that, often.
15               So they -- it's exactly how they already
16   deal with the broadcast.          They already have this
17   exact setup in place when they -- when they get the
18   broadcast deals and they distribute those revenues
19   to the schools generally equally.
20               So they're already doing that.                That's a
21   rule that they've all agreed to.             And they compete
22   with each other, right, for fans and everything and
23   yet they're still under this rule that shares those
24   revenues.
25        Q.     Right.      So I want to make sure we agree on


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 20 of 295

                                                                                Page 18
 1   this point, which I think is a simple one.                  In your
 2   model, to the extent the schools are competing -- a
 3   school in the Big 10 is competing with a school in
 4   the ACC for a student athlete, the Big 10 school can
 5   only make payments up to the Big 10 limit that's set
 6   in your Big 10 amount that's set forth in your
 7   report; and the school in the ACC can only make
 8   broadcast NIL payments up to the amount that's
 9   listed in your report?
10               MR. SIEGEL:      Objection; asked and answered
11   and compound.
12               THE WITNESS:       So there's -- can only make.
13   So in the future -- right? -- I'm -- I'm looking at
14   with respect to damages in the past and coming up
15   with a reasonable estimate of damages in the past.
16   Right?
17   BY MR. KILARU:
18        Q.     Let me ask a better question.
19               Looking backwards for your damages model,
20   the school in the Big 10 would offer the amount
21   that's listed in your report that's set for the
22   Big 10; correct?
23        A.     Through -- it -- based on my analysis
24   through competition, a school in the Big 10 would
25   offer an amount -- yeah, that's -- I list an


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 21 of 295

                                                                                 Page 19
 1   example.    I mean, this is a class cert report, so
2    this is an example of how it would go.                 And then a
 3   school in a different conference would com- -- would
 4   be competing and offer an amount up -- up to that
 5   amount that's agreed upon in its conference.
 6        Q.     Okay.       Stepping back for a minute.
 7               You're attempting, broadly speaking, to
 8   model but-for worlds in which there are no NCAA
 9   regulations restricting athletes from
10   commercializing their name, image and likeness; is
11   that correct?
12        A.     For damages?
13        Q.     Yes, for damages.
14        A.     So I'm modeling obviously some of those.
15        Q.     Right.
16        A.     So it's -- right.         It's a but-for world in
17   which the -- the ability of the athletes to monetize
18   their NIL is not restricted by the NCAA and -- and
19   I'm looking at damages obviously for some of those
20   areas that they might be able to do that in.
21        Q.     As you say in your report, you are
22   assuming in the damages but-for world that all other
23   NCAA rules remain as they are today; correct?
24               MR. SIEGEL:       I would just object.             I think
25   probably the best statements to that are in the


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 22 of 295

                                                                                 Page 20
1    report itself.      To the extent that mischaracterizes
2    the report, I think maybe you should refer to the
3    report.
4                MR. KILARU:       What's the objection?             What's
5    the grounds for the objection?
6                MR. SIEGEL:       That it mischaracterizes the
 7   report because the report doesn't exactly say that.
 8               MR. KILARU:       Okay.
 9        Q.     Do you model any other changes -- any
10   changes to NCAA rules that do not relate to NIL?
11        A.     So I think -- so as you under- -- as you
12   know, the NCAA has its manual -- right? -- and it
13   has a set of rules in the manual.               And then it has
14   its interim rules and its updates related to NIL.
15   Right?
16               So sort of -- that broad set of rules
17   coming from different places, I'm modeling as if
18   they change the NIL-related rules but not, for
19   instance, the rules on pay for performance as an
20   example, if that's --
21        Q.     Yeah.       So -- and you would agree with me
22   you haven't done any analysis of whether changes to
23   the NIL rules, as you just mentioned them, would
24   prompt any other rules changes in the NCAA manual?
25               MR. SIEGEL:       I object to that.            That's


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 23 of 295

                                                                                Page 21
1    beyond the scope of his opinion.
2                THE WITNESS:       So for the damages analysis,
3    I'm trying to come up with reasonable -- with
4    reasonable, reliable estimates of damages based on
5    essentially not -- you know, making a but-for world
6    that's -- that's least different from the actual
7    world or else there's many other variables involved.
8                So I'm trying to minimize the changes,
 9   just the ones that are focused in the scope of -- of
10   what I've been asked to focus on.
11               And in terms of the injunction, it's
12   essentially the same thing --
13   BY MR. KILARU:
14        Q.     So just to be --
15        A.     -- in terms of -- in terms of me trying to
16   model or think about what -- what rules will be
17   going away versus which rules are staying.
18        Q.     So just to use your example, you haven't
19   modeled, for example, if changes to the NIL rules
20   would have effects on the rules regarding, as you
21   said, pay for -- pay for performance; right?
22               MR. SIEGEL:      Object, again, as beyond the
23   scope of the opinion.
24               But you can answer, Dr. Rascher.
25               THE WITNESS:       I modeled sort of what we


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 24 of 295

                                                                                Page 22
 1   see today, which is payments for NIL from third
 2   parties.    And then an additional set of payments
3    from third parties for video games, as you know, and
4    then an additional set of payments through the
5    conferences from the broadcasters for the use of
6    their NIL.
7                And purposefully I'm assuming that the
 8   other NCAA rules are in place and that they would
 9   continue to enforce those rules.
10   BY MR. KILARU:
11        Q.     All right.      So your assumption is that the
12   other rules, besides the ones you've assessed in
13   this case, remain unchanged; correct?
14        A.     So it's not just an assumption, though.
15   If you look at the -- the nature of competition for
16   athletes, and we've seen this over the last, you
17   know -- what year -- the last 15 years in these
18   various lawsuits -- actually, the last 20 --
19   20 years in these lawsuits -- each time there's a
20   change, right?      There's competition up to those
21   amounts.
22               And so I'm -- I'm looking at that when I'm
23   doing the NIL analysis.         I'm looking at the nature
24   of competition for the athletes.             And NIL is just
25   one of the currencies that in the -- in the athlete


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 25 of 295

                                                                                 Page 23
1    labor market that the athletes are allowed to be
2    paid -- or would be allowed to be paid in the
3    but-for world.
4         Q.     So I want to make sure I fully understand
5    that.
6                Are you offering the opinion that no other
 7   rules would change in the but-for world besides
 8   the -- the NIL rules?         Or are you assuming for
 9   purposes of your analysis that no other rules change
10   besides the NIL rules?
11        A.     Neither of those.         I'm -- I'm assuming for
12   my -- for purposes of damages analysis that no other
13   rules would change.         But I'm also assessing that
14   assumption based on basically what we've seen in the
15   past.
16        Q.     Okay.       And do you believe that assumption
17   is valid or not, based on what you've seen in the
18   past?
19        A.     From what I've seen, yes, I -- I think
20   that assumption is valid.
21        Q.     Okay.
22        A.     And that's also within the scope of sort
23   of what I'm -- what -- this case is about a
24   particular rule and so we're -- or a particular set
25   of rules so I'm looking at what happens when those


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 26 of 295

                                                                                 Page 24
 1   set of rules change.
 2        Q.     Could you turn to page 5, paragraph 9 of
 3   your -- or paragraph 9 of your report.                 The
 4   paragraph actually starts on page 4, but I was going
 5   to focus on page 5.
 6        A.     Okay.
 7        Q.     And what I wanted to do is just briefly
 8   review the three damages classes just to make sure
 9   we're on the same page when we discuss them today.
10               So the first class that you've modeled
11   damages for is listed here in 9B and that's the
12   football and men's basketball class; is that right?
13        A.     Yes.
14        Q.     Okay.       And that class encompasses all full
15   grant and aid scholarship recipients on a Division I
16   men's basketball team or an FBS football team at a
17   college or university that's a member of one of the
18   Power Five conferences plus Notre Dame starting on
19   June 15 of 2016; is that right?
20               MR. SIEGEL:       Just object.         That's not the
21   complete definition, but --
22               MR. KILARU:       He's free to correct it if
23   he'd like.
24               THE WITNESS:        I mean, the definition's
25   there.    It's that -- it's those two sentences.


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 27 of 295

                                                                                 Page 25
 1   BY MR. KILARU:
 2        Q.     Okay.       So the class --
 3        A.     The three sentences.
 4        Q.     The class is limited to athletes in the
 5   Power Five; is that correct?
 6        A.     Yes.
 7        Q.     And when we say "Power Five," we're
 8   referring to the Atlantic Coast conference, the
 9   Big 10, the Big 12, the PAC-12 and the Southeastern
10   Conference; right?
11        A.     Yes.
12        Q.     Okay.       And you're limiting -- this class
13   is limited to recipients of full grant and aid
14   scholarships; correct?
15        A.     Yes.
16        Q.     So, for example, a walk-on player who does
17   not have a scholarship is not included in the class?
18        A.     Correct.
19        Q.     Okay.       And on behalf of this class, you
20   modeled damages for what you call video game name,
21   image and likeness, right -- damages; correct?
22        A.     Yes.
23        Q.     And that's based on -- and we'll talk
24   about this in more detail -- but a share of -- of
25   some license payment for participation in video


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 28 of 295

                                                                                Page 26
 1   games regarding college -- college football and
 2   college basketball; right?
 3        A.     A share of a license payment for the use
 4   of their NIL in -- in video games, yes.
 5        Q.     You model for people who post July 1 of
 6   2021 have a name,, image, and likeness deal damages
 7   for them in the past; correct?
 8        A.     Yes.
 9        Q.     If someone -- if a Power Five athlete --
10   Power Five men's basketball athlete -- just to use
11   one example -- has no third-party name, image, and
12   likeness deals today, you would not assess any
13   damages for them in terms of third-party NIL;
14   correct?
15               MR. SIEGEL:      Objection; misstates the
16   report.    Are we talking about for class
17   certification?      The merits?
18               THE WITNESS:       The -- so I have a set of
19   data and so that's who I'm -- who I'm showing how to
20   measure damages in a class certification, presumably
21   that -- that would happen in merits.
22               And so to the extent there's an athlete
23   who has received an NIL payment today, but I haven't
24   yet received information on them, then I wouldn't be
25   measuring their analysis in my example here; right?


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25    Page 29 of 295

                                                                                 Page 27
1                But the -- the members of this class could
2    also receive damages payments if they have been paid
3    since July 1 of 2021 for the use of their NIL.
4    BY MR. KILARU:
5         Q.     So sitting here today, if there's a
6    student athlete who has not reported to their
7    institution any name, image, or likeness payment
8    from a third party, that athlete would have no
9    damages in your current model; correct?                   For
10   third-party NIL.
11        A.     Well, you're saying "reported" to their
12   school.   I mean, that's currently the method that
13   I've used to -- just to begin the analysis of this
14   for class certification purposes.
15               I don't know if there would be another
16   method of them reporting this information to some
17   other source that then I could use that information
18   and start to apply a model to it.
19        Q.     But sitting here today, you've only looked
20   at the reports to institutions of third-party
21   transactions; correct?
22        A.     I believe that is -- I'm trying to think
23   if something came from a conference.               But I believe
24   all of them came from institutions, as you're
25   saying.


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 30 of 295

                                                                                 Page 28
 1        Q.     Okay.       The last category of damages for
 2   people in the football and men's -- for members of
 3   the football and men's basketball class, are damages
 4   for broadcast NIL; is that correct?
 5        A.     Yes.
 6        Q.     And how would you characterize the
 7   payments that would be made for broadcast NIL to
 8   this group of -- to this group of class members?
 9        A.     I don't -- what do you mean by
10   "characterize"?
11        Q.     What are the payments?
12        A.     So the payments are for the use of their
13   NIL in broadcast events, basically coming --
14   stemming from competition across the conferences.
15        Q.     Okay.
16        A.     Yeah.
17        Q.     The next class listed here is the women's
18   basketball class; correct?
19        A.     Yes.
20        Q.     And that class is, again, limited to
21   individuals in the Power Five conferences, including
22   Notre Dame; right?
23        A.     Yes.
24        Q.     Okay.       And for this group, you have
25   assessed -- you have modeled damages for broadcast


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 31 of 295

                                                                                 Page 29
 1   NIL, as we just discussed; right?
 2        A.     Yes.
 3        Q.     Using the same methods as for the football
 4   and men's basketball class?
 5        A.     Yes.
 6        Q.     And you've also modeled third-party NIL,
 7   again, using the same constructs we just discussed;
 8   correct?
 9        A.     Yes.
10        Q.     Okay.       And then the last class is what's
11   called the additional sports class; right?
12        A.     Yes.
13        Q.     Okay.       So I want to make sure I fully
14   understand who is part of this class.
15               This would in- -- this class includes
16   football, men's basketball, and women's basketball.
17               This class could include -- let me start
18   the question again -- men -- men's basketball,
19   women's basketball, and football student athletes
20   who do not have a full scholarship; right?
21        A.     Football, men's basketball, women's
22   basketball, athletes in Division I.                Yes.     It's
23   regardless of their -- of their scholarship level.
24   It's -- it's defined if -- you know, if they have
25   shown that they have value in the NIL market.


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 32 of 295

                                                                                 Page 30
 1        Q.     And then it also includes any other
 2   Division I athletes who have, as you said, shown
 3   that they have NIL value in the third-party market;
 4   correct?
 5        A.     Yes.
 6        Q.     Okay.       You do not model any video game
 7   damages for men's basketball or football athletes
 8   who have not monetized their NIL in the third-party
 9   market since July 1, 2021; correct?
10        A.     Correct.       They -- the analysis
11   incorporates them in terms of the way that the
12   analysis is done.         But then since they're not part
13   of -- if they're not part of these three classes
14   because -- you were sort of general in that -- but
15   if they don't fit within class -- the football men's
16   basketball class, women's basketball class or
17   additional sports class, then I'm not sort of
18   assigning a -- a damage to them.
19               They are harmed in a -- you know, in a
20   similar fashion, but they're not in these three
21   classes.
22        Q.     Can you think of any economic reason why
23   they are not part of these three classes?
24        A.     I mean, I -- I didn't define the classes.
25               When you say -- so an economic reason.


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 33 of 295

                                                                                 Page 31
 1   But that -- but, I mean, defining a class -- I don't
 2   understand how you apply economics to defining a
 3   class.    I mean, like what do you mean by that
 4   question?
 5        Q.     I'm just asking you if you can think of
 6   any reason based on economics why they're not part
 7   of the class definitions in this case?
 8        A.     No.
 9               MR. SIEGEL:       Just object to vague and --
10   vague and ambiguous as to "economic reason."
11               THE WITNESS:        No.   I mean, the classes are
12   defined as they're defined.           I -- you know, I
13   didn't -- I didn't define them.
14   BY MR. KILARU:
15        Q.     Do you know who the three named plaintiffs
16   are in this case?
17        A.     Yes.
18        Q.     Okay.       And this is not a memory test.               One
19   is them is Grant House, one of them is Sedona
20   Prince, one of them is Tymer Oliver; right?
21        A.     Yeah -- yes.
22        Q.     Have you spoken to any of them about the
23   damages models that you've prepared in this case?
24        A.     No.
25        Q.     Okay.       You would agree with me there's no


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 34 of 295

                                                                                 Page 32
1    named plaintiff who plays men's basketball; right?
2         A.     Correct.
3         Q.     Okay.       I'd actually like to talk about the
4    three damages models in a little bit more detail.
5    Just some kind of basic principles upfront.
6                You'd agree that your but-for worlds, as
 7   we call them, first assume that the market
 8   participants are engaging in rational economic
 9   behavior; right?
10        A.     The -- the various participants?                 Yes.
11        Q.     Okay.       You would agree that you -- your
12   but-for worlds account -- need to account for the
13   law of supply and demand?
14        A.     I mean, generally when it applies.                  I
15   mean, I haven't -- I'm not thinking about it in that
16   way, so I'd have to go and think about each topic
17   and I'm not -- not going to do that right here.
18        Q.     And you -- on broadcast NIL, in
19   particular, you model damages for years going back
20   to 2016 for each of the class members; correct?
21        A.     Yes.
22        Q.     For example, you say that there's an
23   amount that a Big 10 men's basketball player would
24   have made in 2016, just to give one example.
25        A.     Right.       I believe that's -- I have that in


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 35 of 295

                                                                                 Page 33
 1   my -- in one of my appendices.
 2        Q.     And is it your opinion that the prices you
 3   list -- or excuse me -- the damages you list in
 4   those appendices represent an equilibrium price for
 5   what that student athlete would receive?
 6        A.     I think as an estimate of a reasonable and
 7   reliable damage, I think that it's a conservative
 8   estimate of an equilibrium price.
 9        Q.     Let's talk about the broadcast NIL group
10   for damages, in the but-for world in particular, and
11   it may not surprise you to learn we'll spend a lot
12   of time talking about that today.
13               Can I turn your attention to paragraph 153
14   of your report.         I think it's on page 75.
15        A.     Yeah, can I read it first, or do you want
16   to just ask me?
17        Q.     No, please go ahead.
18        A.     Okay.
19        Q.     And I think I gave you the wrong
20   paragraph.    I apologize.        It's actually 154.
21        A.     Oh.
22               (Witness reviews document.)
23               Okay.
24        Q.     Okay.       In terms of the broadcast NIL
25   damages, you would agree you're modeling payments in


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 36 of 295

                                                                                 Page 34
 1   a labor market; correct?
 2        A.     Yes.
 3        Q.     You'd agree that, as you conclude in this
 4   paragraph, I believe -- let me make sure I have the
 5   paragraph -- the payments for broadcast NIL are
 6   being made in a labor market; correct?
 7        A.     Yes.
 8        Q.     And I think it's in paragraph 153 -- which
 9   is where I directed you initially, you say that "In
10   the but-for world, Power Five conferences or their
11   schools would have competed to attract athletes by
12   offering broadcast NIL payments"; correct?
13        A.     Yes.
14        Q.     Okay.       And so the schools in this market
15   are competing with each other for the labor of
16   student athletes, as you've modeled the market;
17   right?
18        A.     Yes.
19        Q.     Okay.       Now, you'd agree that the basic
20   unit of labor traded in a labor market is what you
21   would call a "unit of talent"; correct?
22        A.     Okay.       So can you say that again?
23        Q.     Sure.       In previous work, you've concluded
24   that the unit of currency traded in a labor market
25   is what you call a "unit of talent"; correct?


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 37 of 295

                                                                                Page 35
1         A.     Well, that's from the -- that's from the
2    athlete side.      So the trade involves two sides;
3    right?
4         Q.     Okay.
5         A.     Something going one direction and
6    something going the other direction.
7                So the athlete's providing their athletic
 8   services and then the other side of the market's
 9   providing whatever different types of currency
10   that -- that it might be providing --
11        Q.     Um --
12        A.     -- in opportunities and things like that.
13        Q.     In this market -- in the market -- in your
14   analysis of broadcast NIL, are you assuming that the
15   students are also providing their -- their NILs for
16   the institutions for use?
17        A.     Yes.    They already do that.            And that they
18   would continue to do that.          They would just be paid
19   through competition.
20        Q.     So is it your opinion that -- would you
21   agree that some athletes have more marketable NILs
22   than others?
23        A.     It depends on the situation.              But -- but,
24   yeah, we see athletes out in the marketplace selling
25   their NIL in certain -- you know, it depends on the


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 38 of 295

                                                                                 Page 36
 1   product and -- and the -- the use of those -- of
 2   those NILs.
 3        Q.     Okay.       So just to use last night's
 4   national championship game as an example, the
 5   quarterback for the Georgia team, his name is
 6   Stetson Bennett; correct?           The starting quarterback?
 7        A.     Yeah, I think it's Stetson Bennett IV,
 8   maybe.
 9        Q.     Probably right.
10               He, in the broadcast, is on the screen
11   pretty frequently; it's fair to say?
12        A.     Yes.
13        Q.     He may or may not get interviewed in a
14   particular game depending on his performance?
15        A.     Yes.
16        Q.     And is it your opinion that his NIL is
17   more valuable to the broadcaster than a
18   fourth-string offensive lineman who sits on the
19   bench?
20        A.     Well, the -- the broadcaster needs -- they
21   don't know what's going to happen.               So the
22   broadcaster needs everyone's NIL.               And certainly at
23   the time that the school's recruiting an athlete --
24   right? -- it's -- it's not known exactly which
25   athletes are going to play more.


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 39 of 295

                                                                                Page 37
1                So we see this in the contracts between
 2   the broadcasters and the conferences.                They -- they
3    want to make sure that everyone -- that all the NILs
4    are -- are there and that the broadcaster's
5    indemnified.
6                And so essentially that uncertainty
 7   especially coming out of high school sort of leads
 8   to a situation where the -- in the way that I've
 9   modeled it.     I'm not disagreeing with you that
10   someone might appear more on a television -- in a
11   game than someone else obviously.
12        Q.     So just so I understand it.              From your
13   point of view -- from your -- it's your conclusion
14   that from the broadcaster's point of view, the value
15   of Stetson Bennett's NIL is the same as the value of
16   a fourth-string offensive lineman's NIL.
17               MR. SIEGEL:      Objection; misstates
18   testimony.
19               THE WITNESS:       I'm -- yeah, exactly.             It
20   misstates my testimony.
21               I'm modeling a competitive equilibrium
22   that's reasonable and reliable as a way of measuring
23   damages in the past; right?           And so you can have a
24   competitive outcome, which two different people are
25   essentially being paid the same amount, even if they


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     Case 4:20-cv-03919-CW   Document 600-1    Filed 01/23/25   Page 40 of 295

                                                                                 Page 38
 1   have -- even if one of them appears more on the show
 2   because who -- who would have known that that was
 3   going to happen, for instance.
 4   BY MR. KILARU:
 5        Q.     So it's your testimony that going into a
 6   broadcast, the broadcaster wouldn't know if
 7   Stetson Bennett was more likely to get air time than
 8   the fourth string offensive lineman?
 9        A.     No, but that's not when these sort of
10   licenses are -- are put in place.               If you look at
11   the dozens of -- really hundreds of licenses we see
12   that are -- you know, that have some analogous
13   situations to this -- right?             You see those signed
14   up ahead of time and then products are created,
15   whether they're digital video products or not.
16               We see those athletes, I mean, again,
17   hundreds of these.       Those athletes getting paid the
18   same amount sort of regardless of -- of how those
19   athletes are being used in those different products.
20   And so this is a similar example to those.
21        Q.     So is it your opinion that the broadcaster
22   values the NIL of Stetson Bennett the same as the
23   fourth-string offensive lineman on the Georgia team?
24        A.     I don't have -- no, I don't have that
25   opinion, no.


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     Case 4:20-cv-03919-CW    Document 600-1    Filed 01/23/25   Page 41 of 295

                                                                                  Page 39
 1        Q.     Okay.       Do you believe the broadcaster
 2   values Stetson Bennett's NIL more than the
 3   fourth-string offensive lineman on the Georgia team?
 4               MR. SIEGEL:          Objection; vague and
 5   ambiguous as to time.
 6               THE WITNESS:          My opinion is around what
 7   happens in the labor market.              What is the outcome of
 8   the labor market.         Not -- what does that particular
 9   broadcaster for that particular event think is going
10   to happen and -- and hope that they have the rights
11   to the people that they think are going to appear.
12   They take care of all that ahead of time.
13   BY MR. KILARU:
14        Q.     Okay.       But --
15        A.     Often years ahead of time.
16        Q.     We'll talk about the labor market in a
17   minute.
18               But at the start of the season, is it your
19   view that the broadcasters had believed that
20   Stetson Bennett had the same NIL value as a
21   fourth-string offensive lineman on Georgia's team?
22   I'm just asking about the broadcasters for now;
23   we'll get to the labor market.
24        A.     I mean, I don't have an opinion on what
25   the broadcasters believe.            You'll have to ask hem.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 42 of 295

                                                                                 Page 40
 1        Q.     Turning to the school's position.                  Is it
 2   your position that Georgia values the NIL --
 3   University of Georgia -- values the NIL of
 4   Stetson Bennett the same as the value of a
 5   fourth-string offensive lineman?
 6        A.     I mean, again, I don't have -- I don't
 7   have that opinion, no.
 8        Q.     Okay.       Your model would say that in this
 9   last year, Stetson Bennett would receive the exact
10   same payment as the fourth string offensive lineman,
11   assuming the fourth-string offensive lineman was on
12   scholarship; correct?
13        A.     Was on a full scholarship.              Yeah,
14   assuming -- I'm just trying to make sure that
15   they're on the team -- both of them are on the team.
16   They both have full scholarships, sort of regardless
17   of -- of what string they are, that I've modeled
18   it -- the competitive equilibrium, which is that
19   they would receive the same payment.
20        Q.     Okay.       And --
21        A.     As we see in group licenses, as I had
22   mentioned hundreds of -- of group licenses.
23        Q.     And at the time of recruiting -- I'm just
24   going to use a hypothetical example -- in 2018,
25   Georgia would make the same offer to a five-star


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 43 of 295

                                                                                Page 41
 1   quarterback as a three-star offensive lineman who
 2   was projected to be a backup.
 3               MR. SIEGEL:      Objection; vague and
 4   ambiguous as to "offer."
 5               THE WITNESS:       So the conference would have
 6   a set of rules -- and again, in the past, I'm
 7   modeling what reasonable -- reasonable and reliable
 8   measure of damages; right?          But it's based on the
 9   idea that the conference would have a set of rules
10   in terms of -- of how much that payment would be.
11               And that's based on the internal dynamics
12   of how a conference operates.            They want to mute
13   that competition somewhat amongst themselves; right?
14   At the same time, they want to compete with other
15   conferences; right?
16               They have to -- they have to -- you know,
17   the way voting works, the -- the sort of bottom
18   members of the conference -- right? -- aren't going
19   to vote to allow Georgia to -- to sort of get all
20   the best athletes and make it hard for those schools
21   to be able to compete with other schools in other
22   conferences in order to get the three stars and the
23   two stars, for instance.
24               So it is my opinion that -- that, again,
25   we see this analogous in other situations partly


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 44 of 295

                                                                                 Page 42
 1   because of the -- the uncertainty of coming out of
 2   high school, how the broadcasters need everyone's
 3   NILs, and other reasons that I've listed in my
 4   report, that they would come -- come to a situation
 5   where they would have essentially equally shared
 6   royalty payments.
 7               And so Georgia would -- would be only able
 8   to offer up to that amount.           If they tried to offer
 9   more than that amount; right? -- and they -- it's --
10   and they're offering sort of pay for performance,
11   then the NCAA's rules kick in.
12                   (Reporter clarification.)
13               THE WITNESS:        The NCAA's rules kick in.
14   BY MR. KILARU:
15        Q.     Okay.       There's a lot there that we will
16   discuss, I think, at various points today.                   But I
17   just want to start by going back to the question I
18   asked you, which is:         Your model would assign the
19   same damages in 2018, for example, to a five-star
20   quarterback, as to a two-star offensive lineman
21   projected to be a backup at the same institution;
22   correct?
23        A.     Right.       I answered that, but yes.
24        Q.     Yes.    Okay.     I just want to make sure.
25               Okay.       You'd agree that currently the


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25    Page 45 of 295

                                                                                 Page 43
 1   conferences receive the NIL rights, to the extent
 2   these NIL rights exist, currently the conferences
 3   are already getting them; correct?              For their
 4   players -- for their players?
 5               MR. SIEGEL:      Objection; vague and
 6   ambiguous.
 7               THE WITNESS:       So -- right.        The
8    conferences -- the broadcasters are basically
9    saying, hey, you've got those rights.                The
10   conferences are making sure that they get them from
11   the schools.
12   BY MR. KILARU:
13        Q.     And they are not currently paying -- they
14   and the schools are not making any direct payments
15   to the student athletes for that NIL; correct?
16        A.     The student athletes are all currently
17   getting paid the same amount, as I talk about in my
18   model, but it happens to be zero.              And they get paid
19   the same amount for their scholarships, sort of back
20   to your point a little bit.
21               You know, the five-star and the two-star,
22   if they're both on full scholarship, are essentially
23   getting the same amount.          And that's because there
24   are rules that -- that are in place that limit the
25   amount that the schools can pay them.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 46 of 295

                                                                                 Page 44
1         Q.     In your model, you would agree with me
2    that the conferences are not paying -- Power Five
3    conferences are not making payments to all student
4    athletes that appear in a broadcast; correct?
5         A.     What do you mean?         I mean, that's -- any
6    payments at all?
7         Q.     They're not making -- I'll ask a better
8    question.
9                You'd agree with me that you don't model
10   any broadcast NIL payments -- you don't model
11   broadcast NIL payments to every student athlete who
12   appears in a broadcast; correct?
13        A.     Correct.
14        Q.     Okay.       So there are -- for example,
15   non-scholarship players who may appear in a
16   broadcast; correct?
17        A.     Yes.
18        Q.     So, for example, the kicker of a team may
19   not have a scholarship; right?
20        A.     I mean, some -- that's possibly true, yes.
21        Q.     Okay.       A kicker who doesn't have a
22   scholarship may well appear in the broadcast;
23   correct?
24        A.     Yes.
25        Q.     It's pretty likely they'll appear in the


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 47 of 295

                                                                                Page 45
 1   broadcast in an average football game; correct?
 2               MR. SIEGEL:      Well, objection; calls for
 3   speculation.
 4               THE WITNESS:       I mean, I'm not agreeing
 5   with you that kickers don't have scholarships.
 6   But -- but to the extent that there's a kicker on a
 7   team that doesn't have a scholarship and they happen
 8   to be first-string or they happen to be called into
 9   the game for some reason, then yeah, they might
10   appear in the broadcast.
11   BY MR. KILARU:
12        Q.     And right now, for example, conferences --
13   some teams in conferences play non-conference
14   opponents during their schedule; correct?
15        A.     Yes.
16        Q.     So, for example -- I don't know why -- I
17   guess because it's timely, Georgia may play a team
18   that's not in the SEC; correct?
19        A.     Yes.
20        Q.     And whoever is paying Georgia for the
21   broadcast rights to that game, they don't have the
22   name, image, and likeness rights to the team that's
23   not in the broadcast, do they?
24        A.     So I don't know -- I mean, that's -- my
25   model isn't really about the rights for name, image,


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 48 of 295

                                                                                Page 46
1    and likeness, it's the competition that pays the
2    athletes up to a point where the NCAA says this is
3    not a payment for NIL rights, whether they exist or
4    not.    You know, you see this in -- in basketball --
5    pro basketball, and pro football; right?
6                So presumably those athletes are
 7   getting -- if -- if their conferences are doing the
 8   same thing, are getting paid for those -- for the
 9   use of their NIL by -- by their own conference.
10          Q.   But today, based on your analysis to date,
11   you don't know if, for example, Georgia plays a team
12   that's not in the Southeastern Conference, the
13   broadcaster of the game has secured whatever rights
14   may exist in the players who are not on the Georgia
15   team.
16               You don't know that, do you?
17               MR. SIEGEL:      Objection; beyond the scope
18   of the opinion and calls for speculation.
19               THE WITNESS:       I don't know what mechanism
20   they've determined allows them to show the game with
21   those other athletes right?           But, again, my model is
22   based on a model of economic competition, not a
23   model of NIL -- right of publicity and all that.
24   It -- it doesn't require any of that.
25   BY MR. KILARU:


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 49 of 295

                                                                                 Page 47
 1        Q.     You'd agree with me that the broadcast
 2   NIL -- your modeling of broadcast NIL model, you're
 3   not using a before-and-after analysis; right?
 4        A.     I mean, there are certain -- there are
 5   elements that are before and after in that.
 6        Q.     What are those?
 7        A.     I mean, I'm looking at prior years' media
 8   rights and media contracts.
 9        Q.     Okay.       So you say in the third -- section
10   of your report regarding third-party NIL that you're
11   applying a before-and-after analysis; correct?
12        A.     Correct.
13        Q.     Okay.       Do you believe you're using the
14   same form of analysis in the Broadcast NIL section?
15        A.     It's not that same form of analysis.                   We
16   have this natural experiment in the individual NIL
17   payment analysis because it's been allowed and it's
18   happening in front of us.           And so we're using that
19   information to -- to think about what would have
20   happened in the past.
21               For the broadcast NIL, I'm using other
22   information to think about what would have happened
23   in the past.
24        Q.     So can I turn your attention to page --
25   give me a minute, please -- 180 -- or paragraph 180


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 50 of 295

                                                                                 Page 48
1    on page 95.
2                Actually, can I turn your attention to
3    paragraph 185 on page 97?           Sorry about that.
 4        A.     That's all right.
 5               Yes.    I see it.
 6        Q.     So you say here, "My common methodology
 7   for measuring these class-wide damages" -- and
 8   you're referring here to third-party NIL -- "is then
 9   based on the well-established before-and-after
10   approach."
11               Do you see that?
12        A.     Yes.
13        Q.     Okay.       You would not say that you were
14   applying that well-established before-and-after
15   approach to the broadcast NIL class -- damages, are
16   you; is that correct?
17        A.     So the broadcast class is using what some
18   people call yardsticks or benchmarks; right?
19   Sometimes they have elements of before and after.
20   And sometimes you can have both at the same time.
21        Q.     Okay.       So -- but you would describe the
22   broadcast -- your broadcast methodology as a
23   yardstick methodology; correct?
24        A.     Generally, yes.
25        Q.     Okay.       And what is the yardstick that


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 51 of 295

                                                                                 Page 49
 1   you're using?
 2        A.     So I'm looking at -- at other uses of NIL
 3   licenses.    I'm relying on another expert, Ed Desser,
 4   and his analysis.         I'm relying on the -- the
 5   economics of competition at the school and -- and
 6   conference level and the nature of a football
 7   broadcast from one conference to the next, the -- an
 8   understanding of college athlete labor market in
 9   terms of when -- when recruiting occurs out of high
10   school.
11               There's others that are listed in here;
12   I'm not remembering every single piece, but --
13        Q.     But in terms of the yardsticks to which
14   you're drawing a comparison, would you agree with me
15   that those are group licensing deals involving the
16   NFL and the NBA?
17        A.     So that --
18               MR. SIEGEL:       Objection; asked and
19   answered.
20               THE WITNESS:        So that's some of the
21   information, yes.
22   BY MR. KILARU:
23        Q.     Okay.       Would you call Mr. Desser's report
24   a yardstick?
25        A.     No, but it's a piece of information that


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 52 of 295

                                                                                 Page 50
 1   applies in the same way that one might apply a
 2   yardstick.
 3        Q.     Understood.
 4               Would you describe your understanding of
 5   the economics of competition as a yardstick?
 6        A.     Yes.    In terms of seeing how competition
 7   has played out in college sports over the years when
 8   certain rules have changed; right?               You see that
 9   same competition and you can apply it, oh, well,
10   here's another currency used in the athlete --
11   potentially used in the athlete labor market.
12               And so relying on those other -- those --
13   that other historical yardsticks or -- yeah, they're
14   not benchmarks.         They're yardsticks.         I know those
15   phrases get mixed up.         So if you need me to clarify
16   them, I will.
17        Q.     No, that's fine.
18               When you say "other forms of currency,"
19   are you referring to cost-of-attendance stipends as
20   one example?
21        A.     That's one example, yes.
22        Q.     Are there any others?
23        A.     That's sort of the main one.
24        Q.     Okay.       And you'd agree with me that
25   cost-of-attendance stipends do not involve a group


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 53 of 295

                                                                                 Page 51
 1   license?
 2        A.     Correct.
 3        Q.     Okay.       And the other -- the NI- -- the
 4   other group licensing contracts that you've looked
 5   at or agreements you've looked at from professional
 6   football and basketball, you'd agree that none of
 7   those involve media rights; correct?
 8        A.     Would you define "media rights" that
 9   you're using?
10        Q.     They don't involve compensation related to
11   participation in a broadcast; correct?
12        A.     Some of them have digital media elements
13   of them, but they're not -- a lot of those licenses
14   are -- I mean, they're not for the use of their NIL
15   in a -- let's say a live broadcast.
16        Q.     Right.       So none of those group licenses --
17   group licensing agreements you look at involve
18   payments related to the use of NIL in a live
19   telecast of a sporting event; correct?
20        A.     I believe so, yeah.
21        Q.     Okay.       When you're calculating damages for
22   the men's basketball, women's basketball, and
23   football classes, you are calculating damages based
24   on a group license for the use of NIL in a live
25   telecast of a sporting event; correct?


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 54 of 295

                                                                                 Page 52
 1        A.     Yes.
 2        Q.     As -- as we've discussed, the group
 3   licensing contracts you look at are based on
 4   professional sports; correct?             They're from
 5   professional sports, I should say.
 6        A.     The -- the licensing agreements?                 Yeah.
 7   Like listed in Exhibits 578 or 567 or whatever.
 8   Yes, those are from three different professional
 9   sports.   The same sports.
10        Q.     Professional football, professional
11   basketball, men's basketball, and what else?
12        A.     I think there's women's -- there may be
13   some women's basketball information.
14        Q.     Okay.       You'd agree with me that
15   professional athletes are employees; correct?
16        A.     Yes.
17        Q.     To your knowledge, there's been no
18   finding -- no school or conference in the -- in
19   college sports has concluded that student athletes
20   are employees?
21               MR. SIEGEL:       Objection; calls for a legal
22   conclusion.
23               THE WITNESS:        I mean, there's been
24   findings related to that, but -- but to my
25   knowledge, I don't think any of the universities --


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 55 of 295

                                                                                Page 53
 1   other than the military academies -- treat their
 2   athletes as employees.         The military academies do.
 3   They treat them as employees.            They are employees.
 4   They play sports.       They get paid.         People like to
 5   watch.
 6   BY MR. KILARU:
 7        Q.     To your knowledge, are any institutions in
 8   the Power Five or any of the Power Five conferences
 9   treating student athletes as employees?
10               MR. SIEGEL:      Objection; calls for a legal
11   conclusion.
12               THE WITNESS:       To my knowledge, not as
13   employees of their school based on their athletics.
14   Some of them may be employees at other aspects of
15   the school.
16   BY MR. KILARU:
17        Q.     Based on like a work study job, for
18   example or something -- or some other employment,
19   but not related to athletics; right?
20        A.     And I'm sort of curious, I'm -- I'm
21   thinking about when they have summer camps.                   I don't
22   know -- see, I don't know if they consider them
23   employees in that case or they pay them as
24   contractors.     I'm not actually sure.
25               I know that some of them get paid for that


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1    Filed 01/23/25   Page 56 of 295

                                                                                 Page 54
 1   summer camp work.       And that's athletics, but it's
 2   not the performance on the team.
 3        Q.     You're not aware of any institution in the
 4   Power Five that is treating student athletes as
 5   employees based on their participation in live
 6   football telecasts -- or live sports telecasts;
 7   correct?
 8        A.     I think that's true.
 9        Q.     You'd agree that professional athletes
10   in -- well, can you -- professional athletes are
11   paid salaries that vary based on athletic talent;
12   correct?
13        A.     I mean, within a set of rules, but, yes.
14   Those salaries can vary.
15        Q.     Are you aware of any professional sports
16   labor market in which every participant is paid the
17   same amount?
18        A.     Well, look at the college athletes for the
19   use of their NIL.       They're all paid the same amount.
20   Zero.
21               Look at the college athletes, they're all
22   paid -- the ones who are on scholarship -- take 85
23   at a Power Five school; right -- they're all paid
24   essentially the same amount.             It's tuition, room and
25   board, books, miscellaneous, and expenses.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1    Filed 01/23/25   Page 57 of 295

                                                                                 Page 55
1         Q.     Right.      My question was whether you were
2    aware of any professional sports labor market in
3    which every participant is paid the same amount.
4         A.     And you're defining "professional sports"
5    as what?
6         Q.     Well, how would you define it?
7         A.     I mean, these athletes in college get
8    paid; right?     Some people call them professional
9    sports.    So if you're defining "professional sports"
10   as not college sports and not other amateur sports,
11   but as an example, NFL, NBA, et cetera, that they
12   get paid the same amount?
13               As I sit here, I can't think of a case for
14   them getting paid the same amount for their athletic
15   performances, but of course, this case is not about
16   athletic performances.
17        Q.     You'd agree with me that in the NFL, in
18   the NBA, and in the WNBA, the players are
19   represented by players associations?
20        A.     And -- and agents.           There are players
21   associations in those leagues, yes.
22        Q.     And the players associations bargain
23   collectively with the leagues and the teams under
24   the Federal Labor Relations Act?
25                (Interruption in proceedings.)


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25    Page 58 of 295

                                                                                  Page 56
 1               MR. KILARU:       Let's go off the record.
 2               THE VIDEOGRAPHER:         The time is 10:28 a.m.
 3       (Recess taken from 10:28 a.m. to 10:42 a.m.)
 4               THE VIDEOGRAPHER:         All right.           We're back
 5   on the record.      The time is 10:42 a.m.
 6   BY MR. KILARU:
 7        Q.     Dr. Rascher, a few minutes ago you stated
 8   that one of the -- one of the yardsticks you used in
 9   this case were group licensing payments involving
10   professional sports, professional football,
11   basketball, and women's basketball?
12        A.     Yes.
13        Q.     Okay.       Do you believe that those group
14   licensing payments are being made in a labor market?
15        A.     Since they're not -- I'd have to think
16   more about that.
17        Q.     They're not, are they?
18               MR. SIEGEL:       Objection; asked and
19   answered.
20               THE WITNESS:        I would just have to think
21   more about the relationship between those contracts
22   and any -- any set of rules that -- that the NFL --
23   which is where -- you know, that the NFL and the
24   players association have agreed upon and that's
25   where the labor market is.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 59 of 295

                                                                                Page 57
 1   BY MR. KILARU:
 2        Q.     The labor market is between -- to use the
 3   professional football example -- the NFL and the
 4   players; correct?
 5        A.     It's sort of a -- it's sort of joint in
 6   the sense that it's between the teams and the
 7   players and the league and the players.
 8        Q.     But it doesn't involve, for example,
 9   Topps?
10        A.     Right.      Just the way the -- the -- again,
11   I have to think more about it, but just the way the
12   rules are established; and in our case, are slightly
13   different than in that case.
14               MS. PARSIGIAN:        Pardon me.       I meant to
15   mention this at a break.          Counsel, will you speak
16   louder?
17               MR. KILARU:      Yeah.
18        Q.     The -- just to use one of the examples you
19   used, there's a group license for Topps, which is a
20   player card company, with NFL players; correct?
21        A.     Yes.
22        Q.     And that contract is between the NFL
23   players and Topps; correct?
24        A.     Yes.
25        Q.     The teams in the league are not parties to


                   TSG Reporting - Worldwide· · 877-702-9580
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 60 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 61 of 295
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 62 of 295

                                                                                 Page 60
 1   think of as "labor," no.
 2        Q.     Is it -- are they purchasing labor in any
 3   way that would make it a labor market?
 4               MR. SIEGEL:       Objection; compound.
 5               THE WITNESS:        So it depends on the
 6   product.    If everyone has to show up and they have
 7   to spend a day taking photographs or something like
 8   that, you know, that's providing some sort of labor
 9   service.
10   BY MR. KILARU:
11        Q.     It's a different form of labor service
12   than participating in an athletic contest; correct?
13        A.     Yes.
14        Q.     Okay.       To your knowledge, the only
15   compensation for participating in a professional
16   sports contest, in the actual professional sports
17   game, comes through the salary that's paid from the
18   league, from the team to the player; correct?
19        A.     Can you repeat the beginning of that?
20        Q.     Yeah, sure.
21               The only compensation for participation in
22   an athletic contest is the salary that a player gets
23   from their team?         In the NFL, for example.
24        A.       That is true, with the caveat that there
25   may be players who get paid for appearances and how


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 63 of 295

                                                                                 Page 61
1    often they appear in a game through some endorsement
2    they have or something like that.
3                So playing in that game, they get paid
 4   from their team, their salary.             That's primarily
 5   what's happening.         There may be payments that some
 6   receive from, you know, some sort of licensee who's
 7   decided they're having them endorse a product and it
 8   requires them to play in a certain number of games
 9   and all that.
10        Q.     Okay.       Now, you, in your report, conclude
11   that broadcast NIL constitutes 10 percent of the
12   value of each of the contracts that the conference
13   is signing for media distribution; correct?
14               MR. SIEGEL:       Objection; misstates the
15   report.
16               THE WITNESS:        For the purposes of damages,
17   I believe that a 10 percent royalty payment is
18   reasonable, it's reliable, the process is reliable;
19   and it's a conservative estimate of -- of the -- of
20   the value -- of the value of that -- of that NIL.
21   BY MR. KILARU:
22        Q.     You'd agree that 10 percent figure is not
23   in the contracts itself; correct?
24        A.     Which contracts?
25        Q.     The broadcast contracts.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 64 of 295

                                                                                 Page 62
1         A.     Correct.
2         Q.     Okay.       What is your basis for coming to
3    the 10 percent figure?
4         A.     Well, some of it is the expertise of
5    Ed Desser, who, you know, spent some time and has an
6    entire report on -- and that's one of the topics in
7    his report, you know, with his background.
8                Another is the -- as I mentioned, the
 9   dozens of uses of digital and -- and media, but then
10   hundreds of -- of contracts for the use of NIL in
11   the NFL and the NBA, and the -- and WNBA.
12               So that's -- I think those are the main
13   sources of -- of that 10 percent reasonable royalty.
14        Q.     Okay.       So one is from -- just to recap
15   what you said.      One source is Mr. Desser's report;
16   right?
17        A.     Yes.
18        Q.     Okay.       And another source are the group
19   licensing contracts we discussed that do not involve
20   payments related to participation in live football
21   telecasts; correct?
22               MR. SIEGEL:       Objection; compound.
23               THE WITNESS:        They're the contracts that
24   some of them use media and they pay the athletes for
25   the use of that media at a 10 percent royalty rate.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 65 of 295

                                                                                 Page 63
1    BY MR. KILARU:
2         Q.     I just want to take you back to my
3    question.
4                The other source you relied on are group
 5   licensing contracts that do not involve payments
 6   tied to participation in live football telecasts;
 7   correct?
 8        A.     In live football telecasts; correct.
 9        Q.     Okay.       A few minutes ago, you said -- let
10   me make sure I understand this -- the payments that
11   you model in the broadcast NIL damages are from the
12   conferences to student athletes; correct?
13        A.     Correct.
14        Q.     Okay.       Are you aware of any other form of
15   compensation provided to student athletes that comes
16   directly from the conference?
17        A.     So there are forms of payment and I don't
18   know like when you go to a tournament, the
19   conference tournament and the athletes get per diems
20   and that's sort of set -- often set at the
21   conference level -- I don't know physically if the
22   conference person is giving them -- paying the money
23   or how they -- or do they just give it to the school
24   and the school, you know, basically is just the --
25   the conduit.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 66 of 295

                                                                                 Page 64
1                But, you know, a lot of the revenues that
 2   come from conferences to the schools -- right? --
 3   then the schools, you know, use some of that revenue
 4   to -- to give to the athletes.
 5               Or when you go to a bowl game and you get
 6   access to -- you know, who is running the bowl game?
 7   Is it -- you know, is it -- or is it a conference
 8   championship game and you have the ability to -- to
 9   earn some sort of -- not prize money, I shouldn't --
10   but some sort of payment for, you know, being at
11   that game that the conferences are allowed to give.
12               I don't know, again, is the conference
13   directly doing it, or is it just more convenient
14   to -- to give that money to the athlete through
15   their school?
16        Q.     Okay.       Just going back to my question.               In
17   your model, the payments for broadcast NIL come
18   directly from, for example, the SEC to an athlete at
19   the University of Georgia; correct?
20               MR. SIEGEL:       Objection; vague and
21   ambiguous as to "come directly."
22               THE WITNESS:        The -- so the broadcast
23   contracts are between the conference and the media
24   company.    And the conferences essentially bring the
25   NILs of the athletes along with those contracts to


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 67 of 295

                                                                                 Page 65
 1   the media companies so they're aware that the
 2   media -- so they're able to sort of indemnify the
 3   media companies.
 4               And so that's where the -- that's where
 5   the sort of contract takes place.               And since a
 6   portion of that contract would be going to the
 7   athletes, then it would go from the conferences to
 8   the athletes.
 9   BY MR. KILARU:
10        Q.     Okay.       Just turning -- can I turn your
11   attention to paragraph 156 of your report.
12        A      (Witness complies.)
13        Q.     So the second sentence of that paragraph
14   reads, "I adopt a model of competition in which the
15   Power Five conferences who enter into the broadcast
16   agreements that provide for NIL rights to the
17   network compete with each other and make the
18   broadcast NIL payments to class members."
19               Did I read that right?
20        A.     Yes.
21        Q.     And you agree with that statement;
22   correct?
23        A.     Yes.
24        Q.     Okay.       And sitting here today, you do not
25   know of any other payment that is made from the


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 68 of 295

                                                                                 Page 66
 1   conference directly to a student athlete?
 2               MR. SIEGEL:       Objection; asked and
 3   answered.
 4               THE WITNESS:        So as I said, there are
 5   payments stemming from the conferences that go to
 6   the athletes.     I don't know if they pass through the
 7   hands of the -- of the schools or not.
 8   BY MR. KILARU:
 9        Q.     Okay.       Other than the two examples you
10   gave, any other examples you can -- come to mind of
11   payments that may be made from a conference to a
12   student athlete?
13        A.     Not as I sit here, no.
14        Q.     Okay.       Can I turn your attention to
15   Exhibit 12 in your report, which is on page 94?
16        A      (Witness complies.)
17        Q.     And I should put on the record that I
18   believe this is Network Strictly Confidential, but
19   we discussed before the deposition and because no
20   one is participating in this deposition who has an
21   NSC restriction, we are just sort of moving forward
22   for purposes of the deposition.
23               But, Dr. Rascher, let's just look, for
24   example, at -- so Exhibit 12 is the conference
25   broadcast damages per class member; correct?


                   TSG Reporting - Worldwide· · 877-702-9580
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 69 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 70 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 71 of 295
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 72 of 295

                                                                                 Page 70
1                So this is just one element of -- of those
 2   decisions that -- that an athlete would use to make
 3   a decision.
 4        Q.     Okay.       Your model doesn't assign a value
 5   to cost of attendance for each conference, does it?
 6        A.     In this report?
 7        Q.     In your model.        In this case, yes.
 8        A.     No.
 9        Q.     Okay.       Your model doesn't assign any value
10   to one school versus another, does it?
11        A.     I don't know what that means.
12        Q.     You don't assign sort of amount of benefit
13   that a student athlete gets from one particular
14   school versus another; correct?
15               MR. SIEGEL:       Objection; vague and
16   ambiguous as to "amount of benefit."
17               THE WITNESS:        I don't really know what
18   you're saying, but --
19   BY MR. KILARU:
20        Q.     A few minutes ago, you said that one of
21   the factors that goes into how athletes make
22   decisions about which schools to go to are the
23   school.
24        A.     Yes.
25        Q.     Okay.       So you don't assign in your model


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 73 of 295

                                                                                 Page 71
 1   any economic value to what you described as "the
 2   school"; correct?
 3        A.     Correct.
 4        Q.     Okay.       You don't assign any economic value
 5   to the ability to turn pro?
 6        A.     Correct.
 7        Q.     You don't assign any economic value to the
 8   training?
 9        A.     So implicit in all of this is that the
10   conferences are competing as they do now.                   So all of
11   those values are part of the athlete labor market.
12   They already exist.         To measure damages in the past
13   in the but-for world, that athlete labor market is
14   assuming to exist similarly other than this one
15   change in rules.
16               So those values are all baked into the
17   athlete labor market.         And the decisions they choose
18   and, you know, which schools are -- you know, which
19   conferences and schools are recruiting at a higher
20   level than the others, that's all built into this
21   model.    I'm not changing any of that.
22        Q.     Right.
23        A.     So -- so it's built in regardless of what
24   an individual school's value is to a particular
25   athlete.


                   TSG Reporting - Worldwide· · 877-702-9580
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 74 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 75 of 295
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 76 of 295

                                                                                 Page 74
 1        Q.     So your report -- your opinion is that in
 2   the but-for world, the NCAA would have a rule
 3   prohibiting any payment for broadcast NIL above
 4   10 percent of a conference's media revenues?
 5        A.     In the but-for world?
 6        Q.     Yes.
 7        A.     No, I -- I've measured a reasonable
 8   estimate of what those NIL values are.                 I think the
 9   rules would be -- what we've talked about earlier,
10   which was there wouldn't be rules on -- on limiting
11   payments for the use of NIL, but there are rules
12   on the -- on payments, say, above NIL, which seems
13   to be what you're -- you're talking about.
14        Q.     You believe payment -- there would still
15   be a rule on any payment that is not -- prohibiting
16   any payment that is not tied to NIL?
17        A.     Yes.
18        Q.     Okay.       And you said a few times that
19   10 percent is a reasonable estimate.
20               Do you have any other number that you've
21   calculated in your report besides 10 percent?
22        A.     I'd have to look at my report, but I don't
23   think so.    I know I talk about sort of 10 to
24   15 percent being -- being what Ed Desser, I think,
25   is finding as being reasonable.              And so I'm being


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 77 of 295

                                                                                Page 75
 1   conservative, right, in choosing 10 percent.
 2         Q.    But you don't have any analysis that ties
 3   to any number besides -- I'll even grant you for
 4   purposes of this 10 to 15 percent?
 5         A.    A different number than that?
 6         Q.    Yes.
 7         A.    For broadcast NIL?
 8         Q.    For broadcast NIL.
 9         A.    I don't think I have a different number,
10   no.   I mean, that's the reasonable royalty that I'm
11   using.
12         Q.    And you have not offered an opinion that
13   any number above 15 percent would be a reasonable
14   estimate; correct?
15         A.    So what I'm saying is it's a conservative
16   estimate.    You know, 10 to -- 10 percent, 10 to
17   15 percent is a reasonable conservative estimate.
18   I'm not using a different number than that.                   I'm
19   not -- I don't -- yeah, that's -- that's the
20   analysis -- I think that's a fair comp to -- to use
21   in this case.
22         Q.    Right.      But I just want to make sure I get
23   an answer to the question I asked, which is:                   You
24   have not offered an opinion that any percentage
25   above 15 percent would be a reasonable estimate of


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 78 of 295

                                                                                 Page 76
 1   NIL -- broadcast NIL value; correct?
 2                MR. SIEGEL:      Asked and answered.
 3                THE WITNESS:       Correct.      Based on the
 4   analysis in this case and the knowledge and facts
 5   and everything, 10 to 15 percent is a reasonable
 6   estimate, yes.
 7   BY MR. KILARU:
 8          Q.   And not a number above 15 percent;
 9   correct?
10          A.   Correct.
11          Q.   Okay.       And my understanding -- and you
12   should correct me if I'm wrong -- is that you
13   haven't run any models at any number besides
14   10 percent?
15                So, for example, you haven't created
16   Exhibit 12 based on a 15 percent number; correct?
17          A.    Correct.
18          Q.    Could we turn to paragraph 160 of your
19   report.     It's on page -- it starts on page 78.
20                MR. SIEGEL:      160?    Is that -- paragraph
21   160?
22                MR. KILARU:      Yes.
23                THE WITNESS:       (Witness complies.)
24   BY MR. KILARU:
25          Q.    Okay.      The first sentence there reads,


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 79 of 295

                                                                                 Page 77
 1   "Under competitive conditions, neither side of the
 2   transaction has a compelling interest in ex-post
 3   contracting"; correct?
 4        A.     Yes.
 5               MR. SIEGEL:       Mr. Kilaru, did you want to
 6   give him time to read the full paragraph or just
 7   start answering?
 8               MR. KILARU:       I'm asking him about the
 9   sentence.    But if he would like to read the full
10   paragraph, he can tell me.
11               THE WITNESS:        That's fine.        That -- that
12   is the first sentence.
13   BY MR. KILARU:
14        Q.     Okay.       And what you're getting at there is
15   that -- as I understand it -- players in your
16   opinion -- student athletes do not have an interest
17   in having NIL payments decided after enrollment;
18   correct?
19        A.     Let me read the rest of it --
20        Q.     Sure.
21        A.     -- because I think that's teeing up the
22   rest of the paragraph.
23               (Witness reviews document.)
24               Okay.       So what was your question?
25        Q.     Sure.       I think -- the two sides you refer


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 80 of 295

                                                                                Page 78
 1   to there are student athletes and the conferences;
 2   correct?
 3        A.     Well, the student athlete and the school
 4   that they're trying to attend.
 5        Q.     Well, the payment's being made by the
 6   conference; right?
 7        A.     Right.      But what we see now is when the
 8   student athletes sign away their NIL rights, they're
 9   doing that typically through a -- a document
10   that's -- at least historically at the school level.
11               Now, I know some schools now are
12   requiring -- I know that's sort of changed, but --
13   at the school level.
14               So they're sort of -- they're in the
15   athlete labor market trying to choose a school;
16   right?    And then there's, you know, a sort of sign
17   here and this is -- you know, your scholarship and
18   da, da, da, da, da, da, and here, sign this other
19   document and this puts you into the group license
20   for the -- you know, for the broadcast agreement.
21        Q.     Right.      So let me break that down for a
22   second.
23               Today, the student athlete signs -- may or
24   may not sign an agreement with their institution
25   regarding an assignment of NIL rights; correct?


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 81 of 295

                                                                                 Page 79
 1        A.     I believe that's true, yes.
 2        Q.     In your model, the conference is paying
 3   the student athlete in relation to the NIL right in
 4   a live telecast; correct?
 5        A.     Yes.
 6        Q.     Okay.       So in this section -- in this
 7   paragraph of your report, it appears that you're
 8   saying student athletes don't have an interest in
 9   having their broadcast NIL payment be determined
10   after enrollment; correct?
11        A.     Yes.
12        Q.     And you're saying the conferences don't
13   have an interest in having broadcast payments be
14   determined after enrollment; correct?
15        A.     Yes.
16        Q.     Okay.       And I believe you say that's
17   because the school won't know in advance -- or the
18   conference, I should say, won't know in advance who
19   will earn certain amounts; correct?                Based on how
20   the season unfolds.
21        A.     It -- it creates sort of ex-post
22   contracting problems.         It creates hold-up --
23   potentially hold-up problems if it all happens
24   afterward.
25               So it's an equilibrium and since there's


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 82 of 295

                                                                                 Page 80
1    competition across the conferences and equilibrium
2    is, hey, sign with us and you know what you're going
3    to get even if you get hurt or even if you don't
4    play much; right?
5                And so after the fact, if all of a sudden
 6   players started appearing in games and the -- they
 7   don't have the NIL rights yet, the broadcaster
 8   doesn't, then that may create a problem for the
 9   broadcaster.
10        Q.     Okay.       So from the conference's point of
11   view, they need to have every scholarship athlete
12   upfront; correct?
13        A.     Essentially anyone who's going to appear.
14        Q.     Well, in your model, you don't have any
15   broadcast NIL damages for certain people who appear
16   in the telecast.
17               We established that earlier; right?
18        A.     You mean for people who are not on full
19   scholarship?
20        Q.     Yes.
21        A.     So they're also giving up their NIL rights
22   now for zero; right?         They're often giving up their
23   athletic services rights for zero, right, if they
24   don't get a scholarship.
25        Q.     And in your model, they're also getting


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 83 of 295

                                                                                Page 81
1    zero, correct, for broadcast NIL?
2         A.     Well, I'm only measuring damages for the
3    class members.      So one way to do that is in the
4    model, they get zero, like they have already agreed
5    to now.   You know, they've already proven -- shown
6    that they're willing to -- to play without any sort
7    of scholarship or anything.
8                Or one could do a model where you used the
 9   roster instead of the sort of 85 scholarship members
10   and do it exactly the same way.
11        Q.     Is there a reason why you didn't use the
12   roster method?
13        A.     I think -- I don't have a -- some of it is
14   I think access to information in terms of who's --
15   you know, how many people are on different rosters.
16               But, no, I don't have a -- this is, I
17   think, a fair and reasonable way to do it and I
18   think it fits with the economics of walk-ons, let's
19   call them walk-ons, players who don't have a
20   scholarship.     Their sort of position in the labor
21   market as being less -- you know, they're not able
22   to get a scholarship.
23        Q.     So if a kicker in your model in 2018 is
24   not on scholarship, why would they agree to give the
25   broadcaster their NIL for zero when they are going


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 84 of 295

                                                                                 Page 82
 1   to appear in a game?
 2          A.   So first of all, they already do agree to
 3   that.
 4          Q.   But I'm talking about in your but-for
 5   world.
 6          A.   Right.       But they've already -- they --
 7   they've shown that they're willing to essentially
 8   play for -- without compensation.               So that's --
 9   that's one reason.
10          Q.   Isn't it true that in the current world,
11   every student athlete has shown that they're willing
12   to play without compensation for their broadcast
13   NIL?
14          A.   But they're not willing to play without
15   compensation.     So there's athletes who are choosing
16   among schools and some of those schools are offering
17   them, say, scholarships -- often full scholarships
18   in the sports that we're talking about because
19   they're encounter sports; right?
20          Q.   Let me make sure I understand this.
21               On the football team -- let's just take
22   two players.     A quarterback in 2018 who is starting
23   and a kicker in 2018 who has no scholarship but
24   plays in games.         Okay?   That's my hypothetical.
25   Correct?


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 85 of 295

                                                                                 Page 83
1                 Are you with me on that?
2         A.      Yes.
3         Q.      Okay.      Today, the quarterback is agreeing
4    to get paid zero for their broadcast NIL; correct?
5         A.      Right, but not for their athletic
6    services.
7         Q.      Understood.      But I'm just asking you about
 8   broadcast NIL.
 9        A.      But in the labor market, they're --
10   they're combined -- or they're -- they're, you know,
11   affiliated with each other.           It's all part of that
12   decision process.
13        Q.      Okay.
14        A.      So you're separating it out, which is
15   fine.     But I'm telling you that isn't the decision
16   that the athlete's making.
17        Q.      I'm just trying to understand why the
18   kicker is not demanding some share -- my kicker in
19   my hypothetical is not demanding or getting some
20   share of broadcast NIL if they're going to appear in
21   the broadcast and the broadcaster needs to be able
22   to show them.
23                MR. SIEGEL:      Objection; asked and
24   answered.
25                THE WITNESS:       So they're already showing


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25    Page 86 of 295

                                                                                  Page 84
 1   they're willing to play without sort of any
 2   payment -- you know, without a scholarship or
 3   anything.
 4   BY MR. KILARU:
 5        Q.     So it's your opinion that they would agree
 6   to give their right in the broadcast to the
 7   broadcaster for zero as opposed to holding out?
 8        A.     I mean, they already do that.                  And if my
 9   model -- or in this model for class certification
10   purposes, they're also agreeing to do that.                     One
11   could construct a model that looks at the rosters
12   instead and does some sort of, you know, adjustment
13   for that.
14        Q.     You haven't done that; right?
15        A.     No.
16        Q.     Okay.       Going back a minute just to the way
17   this sort of construct works.             Is it my
18   understanding that the NCAA rules that would remain
19   in place in the but-for world would permit a
20   different amount of broadcast NIL payment for each
21   conference?
22        A.     In the but-for world, different payments
23   could go to different athletes in different
24   conferences.      Just like in the exhibit.
25        Q.     Right.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 87 of 295

                                                                                Page 85
 1        A.     Is that --
 2        Q.     So the NCAA rules would permit different
 3   payments for student athletes depending on the
 4   conference that they're in?
 5        A.     Well, the NCAA -- if they lose this case,
 6   they don't -- they can't control -- I mean, we see
 7   that now.    I mean, look at the individual NIL
 8   payments that athletes are getting.               It varies by
 9   conference; right?
10               In some conferences, athletes are getting
11   more than in other conferences.             So it's sort of
12   consistent with how they're already treating the NIL
13   rules.
14        Q.     Is it your opinion that there's a
15   measurable variance in NIL payments in the current
16   market based on conferences?
17        A.     I don't know what you mean by that.
18        Q.     Well, you just said:          Right now we see
19   variances among conferences in third-party NIL
20   payments that are getting received.
21               I'm just asking:        Is it your opinion that
22   there's a significant variance by conference as
23   opposed to by school in the current market for
24   third-party NIL?
25               MR. SIEGEL:      Objection; compound and


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 88 of 295

                                                                                 Page 86
 1   misstates testimony.
 2               THE WITNESS:        What I'm saying -- you asked
 3   me about a rule in the but-for world.                 And I'm
 4   telling you the rule we have in the current world
 5   allows for different payments across conferences.
 6   BY MR. KILARU:
 7        Q.     And across schools?
 8        A.     Yes.
 9        Q.     Okay.       You -- in your model, you would
10   agree that you've fully assigned out the 10 percent
11   of NIL value in -- per to each conference; correct?
12        A.     What do you mean "fully assigned out"?
13        Q.     If you haven't saved -- like every dollar
14   of the 10 percent is being allocated to class
15   members in your formula; correct?
16        A.     Yes.
17        Q.     That would include student athletes who
18   had a season-ending injury before a season in which
19   they played -- were slated to play; correct?
20        A.     Sorry.       This fell off.
21               It's not sticking very well.
22               I'm sorry.       Could you ask that again?
23        Q.     Of course.
24               That includes -- so you -- your model
25   assigns damages to student athletes who had a


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 89 of 295

                                                                                 Page 87
 1   season-ending injury before their first competition;
 2   correct?
 3        A.     If -- I mean, if they have a full
 4   scholarship, yes.
 5        Q.     Okay.       It assigns damages to a student
 6   athlete on a full scholarship who was academically
 7   ineligible for a season?
 8        A.     If -- yeah, if they're part of the
 9   roster -- if they're part of the roster and have a
10   full scholarship.
11        Q.     Okay.       It assigns damages to a student
12   athlete on full scholarship who transferred and had
13   to sit out a year before playing; correct?
14               MR. SIEGEL:       Objection; compound.
15   Incomplete hypothetical.
16               THE WITNESS:        I think if they're on a
17   roster and they have a scholarship, yes.
18   BY MR. KILARU:
19        Q.     So prior to 2021, you're aware that NCAA
20   rules required a -- just to give one example -- a
21   men's football player to sit out for a year after
22   transferring to a different institution; right?
23        A.     I don't know the exact year.               I know
24   that's sort of been the tradition.
25        Q.     Well, I'll just represent to you that in


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 90 of 295

                                                                                 Page 88
 1   2018, that was the rule.
 2               So if a player transferred from Georgia to
 3   Ohio State in that year, your model would calculate
 4   them as getting damages for payments from Ohio State
 5   even though they didn't play in the game; correct?
 6               MR. SIEGEL:       Objection; incomplete
 7   hypothetical.
 8               THE WITNESS:        Wait.     They transferred from
 9   which school to which school?
10   BY MR. KILARU:
11        Q.     Georgia to Ohio State.
12        A.     Okay.       Well, some -- as you know, some
13   athletes petition and they're allowed to play.                     But
14   you're talking about an athlete who is not allowed
15   to play.
16               Yes, currently for purposes of class
17   certification to show that this model can work, that
18   player is -- is -- if they're in the class getting
19   assigned a payment for the use of their NIL.
20        Q.     Your model would assign -- assigns damages
21   to an individual on full scholarship who was
22   suspended for a year for failing a drug test, for
23   example?
24        A.     Again, as long as they meet the terms
25   of -- you know, they're on the roster, they're a


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 91 of 295

                                                                                 Page 89
 1   class -- they're a full GIA recipient during the
 2   class, then, yes.
 3        Q.     Okay.       So just to be clear, these four
 4   scenarios that we've discussed, your model concludes
 5   that the conference would make a payment to these
 6   players even though they may not appear in a single
 7   game or in a single telecast; correct?
 8        A.     I mean, that -- for them and also for
 9   someone else who just gets -- doesn't appear in a
10   telecast, but they happen -- for all sorts of
11   reasons, that they do get injured -- you know, for
12   whatever reason -- they don't end up -- so they
13   wouldn't be the only -- you know, some other
14   students, because they sign up ahead of time with an
15   expectation to play, and the school has an
16   expectation that they're going to play, that's why
17   they're -- that's why they receive the payment.
18        Q.     Now, in the competition that you're
19   modeling, you'd agree that the conferences would
20   like to be able to pay more to student athletes that
21   they want to recruit to the conference; correct?
22               MR. SIEGEL:       Objection; misstates
23   testimony.
24               But you can answer it.
25               THE WITNESS:        So the conferences want to


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 92 of 295

                                                                                Page 90
 1   pay more or the schools?
 2   BY MR. KILARU:
 3        Q.     Well, you've modeled conference-level
 4   competition; correct?
 5        A.     Right.      But it's within the context of
 6   schools competing for athletes.
 7        Q.     You agree that the schools would want to
 8   pay more for the athletes that they're recruiting;
 9   correct?    Than other schools; correct?
10               MR. SIEGEL:      Objection; misstates
11   testimony.    Incomplete hypothetical.
12               THE WITNESS:       In general, the schools that
13   are at the maximum number of scholarships and
14   amount -- dollar amounts of scholarships, yeah,
15   they -- they've indicated based on their actions
16   that they want to pay the athletes more than they're
17   currently paying them.
18   BY MR. KILARU:
19        Q.     You'd agree that these schools or
20   conferences could pay more for the student athletes
21   who actually appear in a broadcast if they weren't
22   making payments to all the people we've just
23   discussed?
24        A.     What now?      They could pay more?            What --
25        Q.     Yes.


                   TSG Reporting - Worldwide· · 877-702-9580
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 93 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 94 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 95 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 96 of 295
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 97 of 295

                                                                                 Page 95
1    estimate for the purposes of damages at this class
2    certification stage.
3                In a future world -- right? -- perhaps a
 4   school or a conference is petitioning to the NCAA
 5   trying to claim why it thinks it should be
 6   11 percent.     That may happen in the future.                 But I'm
 7   using 10 percent as a reasonable estimate for the
 8   past.
 9   BY MR. KILARU:
10          Q.   I understand that.
11               But the 10 percent is a fixed amount for a
12   school in a conference; correct?              In your model.
13               So for 2018, there's a fixed amount,
14   10 percent for the Big 10; correct?
15          A.   For the purposes of measuring damages,
16   yes.
17          Q.   Yes.    And that's the only measure you put
18   in your report; correct?
19          A.   For broadcast?
20          Q.   For broadcast NIL, yes.
21          A.   I'm using 10 percent is the number I'm
22   using in my report, yes.
23          Q.   Okay.       Let me ask you about something
24   slightly different, which is you'd agree that an
25   alternative possibility would be for conferences to


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     Case 4:20-cv-03919-CW    Document 600-1    Filed 01/23/25   Page 98 of 295

                                                                                  Page 96
1    enter into agreements that condition access to
2    broadcast NIL on certain benchmarks that a student
3    athlete has to achieve?
4         A.     I'm not following.            I'm sorry.
5         Q.     So, for example, the -- well, let me ask
6    you about a very specific example.
7                Could we give him Exhibit -- Tab 12.                    This
8    will be Exhibit 2.
9                                        (Exhibit 2 marked.)
10   BY MR. KILARU:
11        Q.     I'll give you a minute to read it, Doctor.
12   Let me know when you're ready.
13        A.     (Witness reviews document.)
14               I see.       Okay.
15        Q.     Okay.       Doctor, I take it you're familiar
16   with the Alston payment?
17        A.     Yeah.
18        Q.     A payment that can be made of up to $5,980
19   per semester?
20        A.     Yes.
21        Q.     Are you aware of any restriction that
22   precludes schools from making that payment to every
23   student athlete on a football roster?
24               MR. SIEGEL:       Objection; calls for a legal
25   conclusion.


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 99 of 295

                                                                                Page 97
 1               THE WITNESS:       I'm not aware of that, no.
 2   BY MR. KILARU:
 3        Q.     Same question with basketball and women's
 4   basketball, are you -- and men's basketball and
 5   women's basketball, are you aware of any restriction
 6   that would prevent a school from just making the
 7   payment to everyone?
 8               MR. SIEGEL:      Same objections.
 9               THE WITNESS:       No, I'm not aware of that.
10   BY MR. KILARU:
11        Q.     This article that I think you've had a
12   chance to read, talks about how Wisconsin is
13   implementing that payment.
14               Would you agree with that?
15        A.     It describes an example of how it works in
16   Wisconsin, yes.
17        Q.     So if you look at the second page, the
18   article mentions that "The undergraduate graduation
19   award" -- this is in the third full paragraph -- "is
20   contingent upon completion of an undergraduate
21   degree.   Through this award, an athlete can earn up
22   to $2,500 per semester capped at 10 semesters."
23               Correct?
24        A.     I see that.
25        Q.     So assuming that that's a correct


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 100 of 295

                                                                                  Page 98
 1   statement of the policy, Wisconsin is only paying
 2   that 25,000 -- that $2,500 a semester to student
 3   athletes who complete their degree; correct?
 4         A.    That's what it looks like here, yes.
 5         Q.    Okay.       If you look at the next page,
 6   there's a discussion about how student athletes can
 7   earn $490 per semester by remaining academically
 8   eligible and on an active roster; correct?
 9         A.    I see that, yes.
10         Q.    But in order to get that payment --
11   assuming this is a correct statement of the
12   policy -- the student athlete has to both remain
13   eligible and on a roster for -- for the season;
14   correct?
15         A.    I see that.
16         Q.    Okay.       And you would agree with me that
17   you have not done any assessment of how institutions
18   are implementing the Alston payment; correct?
19               MR. SIEGEL:        Objection.
20               THE WITNESS:        I'm aware --
21               MR. SIEGEL:        Beyond the scope of his
22   opinions offered in this case.
23               THE WITNESS:        I'm aware that many schools
24   are doing it and they're doing it in ways similar to
25   this and that some are doing it differently.


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 101 of 295

                                                                                  Page 99
1    BY MR. KILARU:
2          Q.    Okay.       But have you done any assessment of
3    how the schools are actually doing it?
4                MR. SIEGEL:        Same objections; beyond the
 5   scope of the opinions offered in this case.
 6   BY MR. KILARU:
 7         Q.    Doctor, do you believe that's beyond the
 8   scope of your opinions in this case?
 9         A.    I do.
10         Q.    Okay.       You haven't done any assessment of
11   that; correct?      Of how individual institutions are
12   providing the Alston payment to student athletes;
13   correct?
14         A.    Again, other than being aware that
15   different schools are doing it differently, I don't
16   know that you would determine that as an assessment
17   or not, but -- and sort of looking at the adoption
18   periods and things like that.
19         Q.    And to your knowledge, no -- none of --
20   those payments are not being made by conferences;
21   correct?
22         A.    Correct.       To my knowledge.
23         Q.    Okay.       I want to talk about the student
24   athlete side of this.
25               So you'd agree that --


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 102 of 295

                                                                              Page 100
 1                MR. SIEGEL:       So this same document?
 2               MR. KILARU:        No, no.      We're done with the
 3   document.     You can set that aside.             Thank you.
 4         Q.    You mentioned -- you mention in your
 5   report that student athletes do not have any
 6   incentive to try to get a different amount of
 7   broadcast NIL prior to enrollment; correct?
 8               MR. SIEGEL:        Objection; misstates
 9   testimony.
10               THE WITNESS:        I don't know what you mean
11   by that.
12   BY MR. KILARU:
13         Q.    Okay.       So is it -- in your report -- or in
14   your analysis, do you believe that a five-star
15   quarterback recruit has the same incentive to argue
16   for an amount of broadcast NIL as a backup offensive
17   lineman going into the recruiting process?
18               MR. SIEGEL:        Vague and ambiguous as to
19   "incentive."
20               THE WITNESS:        I mean, they have similar
21   incentives that they have now, which is, hey, I'd
22   like a bigger scholarship, but that seems to be what
23   the offer is.      That seems to be the rules, you know,
24   at the conference level, if it's certain things or
25   at the NCAA level and at the school level.


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 103 of 295

                                                                             Page 101
 1               MR. KILARU:       Right.
 2               THE WITNESS:       So, of course, athletes are
 3   trying to get the best deal for themselves not just
 4   financially, though, for all the other pieces of
 5   what the labor market's about.             So I think, you
 6   know, these athletes all have incentives to try to
 7   push for more money, sure.
 8   BY MR. KILARU:
 9         Q.    In your model --
10         A.    And some of them are doing that outside
11   of, you know, using individual NIL payments.
12         Q.    Right.      But in your model, just using
13   2018, for example, you're a student athlete coming
14   into a particular institution in that year, they're
15   not asking for a different amount of broadcast NIL
16   based on their own perceived value; correct?
17               MR. SIEGEL:       Objection; misstates the
18   report.    Misstates testimony.
19               THE WITNESS:       They're being offered the
20   conference's offer and they're making decisions
21   based on that and then, of course, all the other
22   aspects we've talked about that they make decisions
23   based on.
24   BY MR. KILARU:
25         Q.    And is it your view that a five-star


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     Case 4:20-cv-03919-CW   Document 600-1    Filed 01/23/25   Page 104 of 295

                                                                              Page 102
1    quarterback would have no incentive to argue for
2    more than their proportional share of 10 percent?
3          A.    If the conference has a rule, then that's
4    the rule.     I mean, of course, they're going to argue
5    for more of the other payments too.                They want a
6    larger Alston award, you know.              They want a higher
7    cost of attendance payment.              They want student
8    athlete opportunity funds and SAF funds; right?
9                And -- you know, I mean, they're going to
10   argue for what they're going to argue for.                    I'm not
11   saying that that's going to change in the but-for
12   world.
13         Q.    If a student athlete transfers to a
14   different institution -- so let me give you an
15   example.
16               Are you familiar with a student athlete
17   named Caleb Williams?
18         A.    Yes.
19         Q.    He just won the Heisman trophy; right?
20         A.    Yes.
21         Q.    And he transferred from Oklahoma to the
22   University of Southern California before this last
23   season; right?
24         A.    Correct.
25         Q.    Now, in your model, Caleb Williams would


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 105 of 295

                                                                             Page 103
 1   go to USC and he would just get his share of the
 2   10 percent of NIL for the PAC 12's broadcast rights;
 3   correct?
 4         A.    Yes.
 5         Q.    Your model does not account for the
 6   possibility that he would hold out and say he's not
 7   going to give over his broadcast rights and wants
 8   more as a condition of transferring?
 9         A.    So if the conference has a rule --
10   right? -- then that's what he's going to be paid.
11   And it's my opinion that the conferences -- it's the
12   internal economics of the conference such that they
13   would have a rule like that.             Especially for the
14   measurement of but-for world damages in the past.
15         Q.    Would you agree with me that
16   conferences -- the Power -- the conferences for whom
17   you've modeled damages could pay more to individual
18   student athletes if they had fewer teams?
19               MR. SIEGEL:       Objection; incomplete
20   hypothetical.
21               THE WITNESS:       I mean, it depends on their
22   broadcast agreements and those depend on various
23   things, including the number of teams and who the
24   teams are.
25               So it just -- I mean, all that depends


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 106 of 295

                                                                             Page 104
 1   on -- the broadcast agreements are what they are.
 2   So it doesn't matter whether -- you know, they're
 3   fixed.
 4               MR. SIEGEL:       Rakesh, after this line of
 5   questioning, can we take a break?
 6               MR. KILARU:       Yeah, I was just about to.
 7               MS. PARSIGIAN:        I think lunch is coming at
 8   noon, so if we wanted to --
 9               MR. KILARU:       Could we just finish this up
10   and then take lunch?         Does that work?
11               MR. SIEGEL:       I'm fine.
12               MR. KILARU:       I'm not going to go -- I have
13   a reasonably short set of questions and then we can
14   take a break.
15         Q.    Just going back to my question:                You'd
16   agree with me that assuming the broadcast contracts
17   remain as they are, a conference could pay more to
18   individual student athletes if it had fewer teams;
19   correct?
20         A.    I guess that's just incomplete because
21   these contracts sometimes have contingencies on how
22   many teams are in the -- in the -- you know, in the
23   league.    So -- I mean, imagine, right, you have a
24   contract that pays a certain amount and it says,
25   well, if you lose two teams, then we're going to pay


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 107 of 295

                                                                              Page 105
1    less.
2                And so it just depends on -- on sort of
 3   what's -- you know, what's the nature of that
 4   contract.     So, I mean, your -- your example, I
 5   think, is incomplete in that sense.
 6         Q.    Okay.       Well, you'd agree with me that a
 7   conference may be able to negotiate higher rights
 8   fees if it has higher-profile teams within the
 9   conference; correct?
10         A.    Yes.
11         Q.    Okay.       Your model does not account for any
12   shifts in conference membership in the but-for
13   world; correct?
14         A.    I don't think that's true because I'm
15   counting up the number of athletes each year in the
16   conference and that includes the number of schools
17   that are in the conference in that given year.
18               So if a team -- if a school left a
19   conference in the but-for world, I believe I'm
20   accounting for the fact that they left and moved to
21   a different conference.
22         Q.    All right.        Let me ask a slightly
23   different question or a slightly different version
24   of the question.
25               Your model does not account for any -- the


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 108 of 295

                                                                             Page 106
 1   possibility that in the but-for world, conference
 2   membership would be different than it actually is in
 3   the actual world -- for that in the actual world;
 4   correct?
 5         A.    So in the but-for world, I use the same
 6   actual conference membership that existed that's
 7   been driven a lot by media contracts that existed in
 8   the past.     And so those media contracts already
 9   existed in the past and I'm essentially assuming
10   that they would be the same contracts with the same
11   set of schools in the same conferences.
12         Q.    Understood.       You'd agree with me that --
13   I'm just covering points we've talked about -- in
14   this but-for world, the conferences are now allowed
15   to pay and recruit student athletes with a share of
16   their broadcast agreements; correct?
17         A.    Some of the conferences are allowed to pay
18   the student athletes on behalf of their membership
19   who are recruiting the student athletes.
20         Q.    Right.      Based on the revenue from their
21   broadcast agreements; correct?
22         A.    Yes.
23         Q.    And as you said a minute ago, having more
24   attractive schools in your conference might give you
25   more revenue to be distributed to student athletes;


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 109 of 295

                                                                             Page 107
·1· ·correct?
·2· · · · A.· ·I mean, it -- it -- it could.· It sort of
·3· ·depends:· Are some schools leaving that conference?
·4· ·So there's fewer schools to divide the media
·5· ·contract across?
·6· · · · · · ·You know, it sort of depends on the nature
·7· ·of the bargain between the media companies and the
·8· ·conferences.· But in general, we have the -- you
·9· ·know, the contracts that we have.
10· · · · Q.· ·Can I turn your attention to Exhibit 10 in
11· ·your report for a moment.
12· · · · · · ·It's on page 92, I believe.
13· · · · A.· ·Yes.
14· · · · Q.· ·So this chart describes the broadcast
15· ·damages per conference per sport per year; correct?
16· · · · A.· ·Yes.
17· · · · Q.· ·So under your model, over the class
18· ·period, the Big 12 would have paid $200 million to
19· ·student athletes over the last five years -- excuse
20· ·me -- between 2016 and 2021; correct?
21· · · · A.· ·For the six years, yes.
22· · · · Q.· ·Okay.· Have you -- where does that
23· ·200 million come from, Dr. Rascher?
24· · · · A.· ·Well, it's the sum of the men's football
25· ·broadcast damages, the men's basketball broadcast
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 110 of 295

                                                                             Page 108
·1· ·damages, and the women's basketball broadcast
·2· ·damages.
·3· · · · Q.· ·What sources of revenue is the -- are
·4· ·institutions within the Big 12 -- what sources of
·5· ·revenue is the Big 12 using to make those payments?
·6· · · · A.· ·These payments are coming from the media
·7· ·contracts that the Big 12 has and the other -- we
·8· ·didn't really talk about this, but I sort of briefly
·9· ·touched on it -- the other -- so it's not just the
10· ·conference contracts; right?· But it's the college
11· ·football play-off and March Madness.
12· · · · Q.· ·Okay.· Understood.
13· · · · · · ·But under this model, though, each school
14· ·within the Big 12 would have paid out an
15· ·additional -- just to give an example --
16· ·$22.8 million for men's football within 2017;
17· ·correct?
18· · · · A.· ·Yes.
19· · · · Q.· ·Or the Big 12 would have paid that out;
20· ·correct?
21· · · · A.· ·Yes.
22· · · · Q.· ·Just looking at the bottom-line numbers
23· ·here, you'd agree with me that the total Power Five
24· ·football -- men's football damages are
25· ·$1.04 billion?
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 111 of 295

                                                                             Page 109
·1· · · · A.· ·Yes.
·2· · · · Q.· ·Basketball is $280 million?
·3· · · · A.· ·Men's basketball.
·4· · · · Q.· ·Men's basketball, yes.
·5· · · · A.· ·Yes.
·6· · · · Q.· ·You anticipated my question.
·7· · · · · · ·And women's basketball is about
·8· ·$50 million?
·9· · · · A.· ·Yes.
10· · · · Q.· ·So your but-for world involves the
11· ·conclusion that these conferences would have paid
12· ·$1.3 billion to male student athletes over the class
13· ·period and $50 million to female athletes; correct?
14· · · · A.· ·From these broadcast contracts, yes,
15· ·during the -- during the but-for world, yeah.
16· · · · Q.· ·Okay.· Do you model any other payments
17· ·that would be made to these student athletes besides
18· ·the ones contained in this chart?
19· · · · A.· ·Well, that's what I mean.· There's the
20· ·video games, and there's the individual payments and
21· ·so forth.
22· · · · Q.· ·Understood.
23· · · · · · ·But setting those aside, your model says
24· ·1.3 billion to the men, and $50 million to the
25· ·women?
     Case 4:20-cv-03919-CW   Document 600-1    Filed 01/23/25   Page 112 of 295

                                                                              Page 110
 1         A.    Correct.
 2         Q.    And that's something that you believe the
 3   conferences would vote to implement and would have
 4   adopted and those are the damages; correct?
 5         A.    So as I say, these are a reasonable
 6   estimate of the share of the broadcast revenues that
 7   go to the various sports and then the royalty is
 8   applied to those shares.          So as a reasonable measure
 9   of damages in the past.
10         Q.    Right.      So just to go back to my question.
11   Your model says that these are the payments that the
12   conferences would have made between 2016 and 2021;
13   correct?
14         A.    Yes.
15               MR. KILARU:       Actually, that's a reasonable
16   place to break if you want to -- and it sounds like
17   we can do lunch.
18               THE VIDEOGRAPHER:            We're going off the
19   record.    The time is 11:52 a.m.
20       (Recess taken from 11:52 a.m. to 12:35 p.m.)
21               THE VIDEOGRAPHER:            Okay.    We're back on
22   the record.     The time is 12:35 p.m.
23   BY MR. KILARU:
24         Q.    Good afternoon, Doctor.
25         A.    Good afternoon.


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 113 of 295

                                                                              Page 111
 1         Q.    Where we left off, we were discussing your
 2   Exhibit 12 and the calculated damages for the
 3   different classes in this case.
 4               Are you familiar with Title IX?
 5         A.    Yes.
 6         Q.    Do you have an opinion on what it requires
 7   institutions to do in terms of payments to student
 8   athletes?
 9         A.    Not specifically, but generally.
10         Q.    Okay.       What's that general opinion?
11         A.    That they have to offer -- they have to
12   have sort of fair offerings to women's sports if
13   they happen to be, you know, spending more on men's
14   sports.
15               MR. SIEGEL:        I'm going to object to the
16   extent it calls for a legal conclusion.                    I didn't
17   get it in before, but --
18   BY MR. KILARU:
19         Q.    Have you tried to account for Title IX in
20   any of your damages models in this case?
21         A.    No.
22         Q.    Are you aware that there are state laws
23   governing -- some states have enacted laws governing
24   the use of name, image, and likeness by both
25   athletes and institutions?


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     Case 4:20-cv-03919-CW   Document 600-1    Filed 01/23/25   Page 114 of 295

                                                                              Page 112
1          A.    Yes.
2          Q.    Have you attempted to undertake any study
3    of those state laws?
4          A.    I'm generally aware of -- of them.                    Some
5    states have them and some don't.               And there's a
6    decent amount of overlap in the different states,
7    but they're not always exactly the same.                   Some
8    states have backed off of them since July 1 of 2021.
9                So, you know, I have a general
10   understanding of them in that sense.
11         Q.    Are you aware of whether any state laws
12   prohibit institutions from making broadcast NIL
13   payments to students?
14         A.    I am aware that some of the state laws
15   prohibit the -- the institutions from making
16   statements to the athletes.              So that would include,
17   I presume, but, again, I'm not a lawyer, so I don't
18   know how I would interpret those laws, but...
19         Q.    Have you attempted to account for those
20   laws in your model in any way?              Your broadcast NIL
21   damages model?
22         A.    Well, so -- I mean, these laws didn't go
23   into effect until July 1, 2021.              And my damages
24   models are all in the past before these laws went
25   into effect.


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 115 of 295

                                                                              Page 113
1                So they're not relevant to the past.                    I
2    don't even think they would have gotten off the
3    ground because they wouldn't have needed to.                     You
4    know, the impetus was when my business partner, Andy
5    Schwartz, gave a presentation to Nancy Skinner, a
6    state senator.      And then she decided to pass a
7    California law, and then the other states followed.
8                But she wouldn't have even been -- that
 9   wouldn't have been even necessarily something that
10   she would have been interested in doing because if
11   the NIL payments were already in existence in the
12   but-for world, it just wouldn't have come up.
13         Q.    These laws, generally speaking, took
14   effect in 2021; correct?
15         A.    Yes.
16         Q.    Okay.       In your video game model, you
17   project what a video game would have looked like in
18   the past that did not -- that does not currently
19   exist; correct?         You project the revenues, for
20   example, for a college football game and a college
21   basketball game for years in which it did not exist;
22   correct?
23         A.    Yes.
24         Q.    Okay.       You have not attempted to account
25   for how if at all, state laws would have changed if


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 116 of 295

                                                                             Page 114
1    starting in 2016, institutions were permitted to
2    make broadcast NIL payments to student athletes;
3    correct?
4          A.    Video game?       You were just --
 5         Q.    Broadcast NIL payments to --
 6         A.    Okay.
 7         Q.    -- student athletes.
 8         A.    So I just stated my model accounts for
 9   that because my assumption based on the evidence is
10   that I don't think those state laws would have been
11   in effect in 2016.
12         Q.    As I think you said in the -- one of the
13   earlier sessions, you would agree that student
14   athletes even within the -- the football and
15   basketball class are making different amounts of
16   money for their third -- in third-party NIL
17   transactions; correct?         From each other.
18         A.    You mean like a football player in the
19   same school as a basketball player?
20         Q.    Just generally speaking, football and
21   basketball players are making different amounts of
22   money in third-party NIL; correct?
23         A.    In third-party NIL.          Yeah, I mean,
24   different players are making different amounts, yes.
25         Q.    And does that suggest to you that


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 117 of 295

                                                                              Page 115
1    different players have different NIL values?
2          A.    Well, that's -- that's incomplete in the
3    sense that the value of someone's NIL depends on the
4    market -- the product -- right? -- that they're
5    having an NIL used in.          Right?
6                And endorsing a small company, the NIL
 7   value for that person might be smaller than if they
 8   were endorsing a large company which potentially has
 9   higher sales if they were able to sort of, you know,
10   raise the bar in terms of the notoriety of that
11   business.
12               So the NIL values depend on all the other
13   situations, not just person to person.
14         Q.    Okay.       You -- your model does assume for
15   broadcast NIL that all scholarship athletes have the
16   same ability to get paid in the labor market;
17   correct?
18               MR. SIEGEL:        Objection; misstates
19   testimony.
20               THE WITNESS:        The same ability?           Is that
21   what you said?
22   BY MR. KILARU:
23         Q.    Yes.
24         A.    What do you mean by that?
25         Q.    How do you understand the question,


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 118 of 295

                                                                             Page 116
1    Doctor?    Every -- you assigned every student athlete
 2   in the class a certain amount of damages going
 3   backwards; correct?
 4         A.    In the -- in the past.
 5         Q.    Correct?
 6         A.    Yes.
 7         Q.    And so you assume, for example, that all
 8   student athletes in the ACC have the same ability to
 9   get paid in a given year in a given sport?
10         A.    For broadcast payments?
11         Q.    Yes.
12         A.    I mean, I'm just -- just the way you're
13   phrasing it is weird.         Let me just tell you what I
14   did and you can ask me if it's answering your
15   question or not -- or you can tell me if it's
16   answering your question.
17               The athletes on full scholarship in the
18   ACC for a given sport would be offering an NIL
19   royalty if they were to choose to play at a school
20   in that conference.        And that royalty would
21   be -- you know, it's administered, but it's also --
22   that rule about that is put in place by the
23   conference, subject to the NCAA's rules.
24               So two different athletes would get the
25   same payment if they have the same sport and they're


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 119 of 295

                                                                              Page 117
1    full scholarship and so forth.
2                You say same ability and I just don't know
3    what you mean by "ability."
4          Q.    In -- in your broadcast NIL model, the
5    starting quarterback at Ohio State would make the
6    same amount as the third-string offensive lineman at
7    Ohio State; correct?          In 2018, just to give --
 8         A.    Assuming they have -- they're in the class
 9   and so forth.
10         Q.    Is it your opinion that those two
11   individuals have the same value in the third-party
12   NIL market?
13               MR. SIEGEL:        Objection; calls for
14   speculation.      Incomplete hypothetical.
15               THE WITNESS:        So as I said, their value
16   in -- in third-party uses vary -- it varies
17   depending on how many of those uses they -- they get
18   involved with.
19               So in that sense, yes, they -- they would
20   have -- they would get different payments, I would
21   presume.    And we've seen that in the actual data
22   from third parties.
23   BY MR. KILARU:
24         Q.    Okay.       You'd agree that in the broadcast
25   NIL model, you are only looking at revenues from


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 120 of 295

                                                                              Page 118
 1   broadcast contracts for live telecasts; correct?
 2         A.    It's the -- it's from the broadcast
 3   contracts that exist at the conference level.                     To
 4   the extent that those -- those are -- you know,
 5   about live broadcasts.          But to the extent that
 6   there's maybe a piece in there that says, we might
 7   use clips and do various things, you know, to
 8   promote various things, that's also built into that
 9   that -- that -- that 10 percent payment.
10               Does that make sense?            So you were saying
11   live broadcast, but I mean, to the extent those
12   contracts include other pieces that aren't live
13   necessarily, those are built into that 10 percent
14   royalty.
15         Q.    Okay.       Do you believe those payments for
16   the use of a clip is a payment in the labor
17   market -- is part of the labor market?
18         A.    Well, this is the currency that the labor
19   market is using, just as if I'm a college athlete,
20   there's a certain amount -- you know, I'm allowed to
21   get paid or reimbursed for the cost of books; right?
22   But that's in the athlete labor market.                    It's not in
23   the book market.
24               Or the -- you know, food is being covered
25   by the university as part of the process in the


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 121 of 295

                                                                             Page 119
 1   athlete labor market.         We're not talking about the
 2   food market; right?
 3               So these are all just different forms of
 4   currency that the labor market in college sports is
 5   controlling.      College sports is controlling that
 6   market; right?       That's the market.          But the currency
 7   they use are different things like tuition or
 8   internship payments or we saw with Wisconsin, you
 9   know, Alston payments, for instance.
10         Q.    Could we turn to Exhibit 12 for a minute.
11   We were there before; just going back there.
12         A     (Witness complies.)
13         Q.    You got there before me.
14               As we talked about earlier, the NCAA rule
15   that you believe would remain in place in the -- one
16   of the NCAA rules that would remain in place in the
17   but-for rule is the restriction on payment not for
18   NIL; correct?
19         A.    Right.
20         Q.    In other words, the 10 percent amount
21   is -- as you talked about earlier -- assuming it's
22   10 percent, as your analysis does -- you used that
23   amount because that's the amount of these contracts
24   that you believe is for NIL as opposed to for
25   something else; correct?


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 122 of 295

                                                                              Page 120
 1         A.    Yes, 10 percent is a reasonable
 2   conservative estimate of the use of the NIL in those
 3   contracts --
 4         Q.    Okay.
 5         A.    -- and what would occur in a -- in a
 6   competitive athlete labor market.
 7         Q.    You do not model any NCAA rule that
 8   further restricts how that 10 percent of broadcast
 9   NIL revenue can be distributed; correct?
10         A.    Can you clarify that?
11         Q.    Yes.    Is there any other NCAA rule in your
12   model that restricts how conferences can distribute
13   that 10 percent of broadcast NIL to student
14   athletes?
15         A.    NCAA rule?
16         Q.    Yes.
17         A.    No.
18         Q.    Okay.       So in your model from the NCAA's
19   perspective, it would be okay if the PAC-12 decided
20   to have 60 scholarships and pay each of those
21   scholarship athletes 60 scholarships in football and
22   pay each of them more; correct?
23         A.    I don't -- I mean, I haven't thought of
24   that particular issue; that's why I am sort of
25   pausing to think about it.


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 123 of 295

                                                                              Page 121
1                Yes, I mean, my model to look into the
2    past for a reasonable estimate of damages for the
3    issues that are at question in this case that are
4    being challenged -- right?            I'm trying to change the
5    minimal number of -- of in the but-for world, but
6    similar to the actual world as possible.
7                And so, no, I have not tried to do a
8    separate calculation if the NCAA had that rule.                      But
 9   that doesn't change -- that doesn't change my
10   analysis.
11         Q.    Okay.       But just so I understand it, for
12   purposes of your model from the NCAA's perspective,
13   it would be permissible if a conference decided to
14   institute the rule I just mentioned for their
15   student athletes; correct?
16         A.    So the challenge is -- I'm just having to
17   walk through this.
18               The challenge is to the NIL rules.                   And if
19   those rules are not in place, then the NCAA -- I
20   mean, I don't know what they're fine with -- that
21   doesn't violate the other NCAA rules.
22               Now, you can't offer 60 scholarships in
23   the PAC-12, as an example.            There's a minimum number
24   you have to offer.         And I think it's 76, but...
25         Q.    Let's use 76, then.


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Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 124 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 125 of 295
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 126 of 295

                                                                             Page 124
·1· ·it's the same dollar amount whether there's 85 of
·2· ·them.
·3· · · · Q.· ·How about let's just use a different year
·4· ·to take out the COVID piece.
·5· · · · · · ·In 2017, looking at the same chart, the
·6· ·ACC has the lowest per scholarship recipient number;
·7· ·correct?
·8· · · · A.· ·Yes.
·9· · · · Q.· ·And you would agree that that puts the ACC
10· ·at a competitive disadvantage to the other four
11· ·conferences in recruiting student athletes; correct?
12· · · · A.· ·No.
13· · · · Q.· ·Okay.· Why not?
14· · · · A.· ·Because it's the full set of offering that
15· ·they already have.· So to the extent that the ACC in
16· ·football is competing now -- right?· If you count up
17· ·the number of five star, four star, three stars,
18· ·right, they -- they tend to get less than the SEC
19· ·already.
20· · · · · · ·And so this is a similar level of -- of
21· ·sort of their pecking order within the -- within the
22· ·athlete labor market.· It's just reflective of what
23· ·we already have in all the other aspects of the
24· ·athlete labor market.
25· · · · Q.· ·You'd agree that in terms of the broadcast
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 127 of 295

                                                                             Page 125
·1· ·NIL, the SEC -- the ACC is at a competitive
·2· ·disadvantage to the other conferences in 2017;
·3· ·correct?
·4· · · · · · ·MR. SIEGEL:· Objection; incomplete
·5· ·hypothetical.
·6· · · · · · ·THE WITNESS:· I mean, the -- that's not
·7· ·how it works.· The labor market is the full
·8· ·offering.
·9· · · · · · ·We talked about the school, the coach;
10· ·right?· The, you know, scholarships, the whole
11· ·thing; right?· So this is just one piece of that.
12· · · · · · ·The ACC offers other things that may be --
13· ·that may be higher than what the other conferences
14· ·can offer.· The cost of attendance payment might be
15· ·high.· The tuition payment might be higher, right,
16· ·at a Duke, at a private school, for instance.
17· · · · · · ·And so -- so I'm disagreeing with the way
18· ·you're characterizing that.
19· ·BY MR. KILARU:
20· · · · Q.· ·Okay.· But, again, just looking at your
21· ·chart; correct? -- the ACC is able to pay less per
22· ·student athlete in broadcast NIL in 2017 than any
23· ·other conference; correct?
24· · · · A.· ·Yes.
25· · · · Q.· ·The ACC could pay more to the student
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 128 of 295

                                                                             Page 126
·1· ·athletes in its conference if it were to only
·2· ·provide payments -- broadcast NIL payments to
·3· ·scholarship athletes and reduce the number of
·4· ·scholarships; correct?
·5· · · · A.· ·So in the past, though, the number -- the
·6· ·athletes are there.· They have those scholarships.
·7· ·Like you're -- I don't know.· You're sort of
·8· ·changing the past.· The past already happened.
·9· · · · Q.· ·You're also changing the past --
10· · · · A.· ·Right.
11· · · · Q.· ·-- in the damages amount.· So I'm trying
12· ·to understand.
13· · · · A.· ·I'm changing -- I'm changing the one
14· ·amount that they could be paid for the use of their
15· ·NIL.

                                      NSC
16· · · ·




21· · · · A.· ·So as I said before, if under the model I
22· ·propose in this class certification using evidence
23· ·that's common to the class, when you divide by the
24· ·number of -- of scholarship athletes, if there were
25· ·fewer of them in the denominator, then the number
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 129 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 130 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 131 of 295
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 132 of 295

                                                                              Page 130
 1   that the current conference -- the conference
 2   currently gets are being distributed through the
 3   mechanism that you list out in Exhibit 12; correct?
 4         A.    Yes.
 5         Q.    So that means that there's 90 percent of
 6   the current revenue system -- current revenue stream
 7   that's available to these conferences; correct?                      For
 8   other purposes?
 9         A.    Yeah, I mean, they distribute them right
10   now to the schools, you know, generally; right?
11   They may cover their conference costs and things
12   like that.
13               But they generally distribute to make way
14   to all the existing schools.              And so all that would
15   change is they would just carve out 10 percent of
16   that and distribute it to the athletes.
17         Q.    To the football and basketball athletes;
18   correct?
19         A.    Yes.
20         Q.    Okay.       You haven't attempted to model what
21   effects there would be on other athletes at these
22   institutions as a result of that 10 percent
23   reduction; correct?
24         A.    No.
25         Q.    Can I turn your attention to -- give me a


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 133 of 295

                                                                             Page 131
·1· ·second to catch up to myself.
·2· · · · · · ·Paragraph 166 of your report.
·3· · · · A.· ·166?
·4· · · · Q.· ·Yes.· Give you a second to read that
·5· ·paragraph.
·6· · · · A.· ·(Witness reviews document.)
·7· · · · · · ·Okay.
·8· · · · Q.· ·Okay.· You say here that you have reviewed
·9· ·Mr. Desser's report and, quote, "understand he
10· ·concludes that broadcasters typically require that
11· ·their contracting partners, including the Power Five
12· ·conferences and Notre Dame, have secured the
13· ·broadcast NIL rights to all player participants in a
14· ·game telecast"; correct?
15· · · · A.· ·Yes.
16· · · · Q.· ·Okay.· You -- you have not done any
17· ·independent work to verify that particular
18· ·statement, have you?
19· · · · A.· ·I mean, I've looked at some of the
20· ·broadcasting contracts.· And I've seen language that
21· ·would be consistent with that.· But, again, they're
22· ·legal documents.
23· · · · · · ·So I'm -- you know, I'm not interpreting
24· ·what they're saying.· But -- but I have -- I mean,
25· ·this is something that I've known, you know, is
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 134 of 295

                                                                              Page 132
1    typically the case -- or is sometimes the case.
2          Q.    Are you relying on him for that -- are you
3    relying on Mr. Desser's report for the statement I
4    read aloud?
5          A.    Yes, generally.
6          Q.    Okay.       Do you believe you would be able to
7    offer that same opinion if Mr. Desser had not
8    submitted a report in this case?
9                MR. SIEGEL:        Objection; calls for
10   speculation.
11               But you can answer.
12               THE WITNESS:        Not at this stage.            I would
13   have to do some more to form -- you know, to put
14   more meat on that opinion, if that's a way to say
15   it.
16   BY MR. KILARU:
17         Q.    So one thing we haven't spent a lot of
18   time talking about today is what you called the
19   multisport allocation factor --
20         A.    Right.
21         Q.    -- is that correct?
22               Okay.       And that's the split in how you --
23   in how that 10 percent of broadcast NIL money goes
24   to men's basketball, women's basketball, and
25   football student athletes; correct?


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Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 135 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 136 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 137 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 138 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 139 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 140 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 141 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 142 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 143 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 144 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 145 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 146 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 147 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 148 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 149 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 150 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 151 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 152 of 295
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 153 of 295

                                                                              Page 151
1    review that information.
2           Q.   Okay.       You can set that to the side,
3    Doctor.
4                Turning back to the split in
 5   Exhibit 12 -- so let's go back to page 94.
 6          A    (Witness complies.)
 7          Q.   You've allocated 75 percent of the
 8   revenues to football; correct?
 9          A.   Yes.
10          Q.   Okay.       Do you believe that a certain --
11   that a student athlete in an institution that
12   derives 90 percent of its revenues from football
13   would have an incentive to argue that their damages
14   should actually be 90 percent of the contract for a
15   given year?
16          A.   I mean, I don't know what their -- I don't
17   have an opinion on their incentive to argue
18   something.     Like it doesn't -- my model doesn't
19   require me to understand their incentive to argue
20   for something.
21          Q.   So you haven't considered whether what the
22   incentives would be for men's football players to --
23   what share they would argue for of these -- of these
24   revenues, what their incentives would be to argue
25   for?


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 154 of 295

                                                                             Page 152
 1         A.    Again, I don't have an opinion on their
 2   incentives to argue.
 3         Q.    Okay.
 4         A.    In a but-for world that's in the past that
 5   doesn't actually -- that won't -- you know, that
 6   doesn't exist.      We're just trying to estimate.
 7         Q.    Right.      But the class consists of all
 8   men's football players who received a full
 9   scholarship at least between 2016 and 2021; correct?
10         A.    Yes.
11         Q.    And you're assigning to every single one
12   of those class members a 75-percent split; correct?
13         A.    Of the broadcast revenue, yes.
14         Q.    You're assigning to every single one of
15   the men's basketball players in the class a
16   15-percent split; correct?
17         A.    Yes.    Again, as I said, as an entirely
18   reasonable estimate of how the -- those media
19   contracts are sort of using their NIL and generating
20   value from their NIL.
21         Q.    And is it your opinion that if you took
22   all the men's football athletes together, they would
23   believe that 75 percent is the right number?
24               MR. SIEGEL:       Objection; calls for
25   speculation.


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 155 of 295

                                                                              Page 153
1                THE WITNESS:        I mean, again, I'm -- I
2    don't know what they would believe.                It's just in
3    this case, they're all injured and they're all
4    better off receiving 75 percent than nothing.
5                And that's sort of the alternative --
 6   right? -- is nothing.          I mean, someone could build
 7   this same model and use 76 percent and 14 percent
 8   and that would also be a reasonable estimate using
 9   evidence that's common to the class.
10   BY MR. KILARU:
11         Q.    But in your view, the only models you
12   would construct would involve the fixed percentage
13   of revenues for all of the football players;
14   correct?    Whether it was 75, 76, or something else.
15         A.    I mean, as I sit here today in this --
16   beginnings of a class certification stage, yes, I
17   think that's an entirely reasonable model.                    It
18   doesn't mean that there aren't other reasonable
19   models that people might be able to put forward.
20         Q.    Okay.       But you haven't offered any other
21   models; correct?
22         A.    No.
23         Q.    And sitting here today, is it your opinion
24   that any other model would be reasonable?
25               MR. SIEGEL:        Objection; vague and


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 156 of 295

                                                                             Page 154
 1   ambiguous.
 2               THE WITNESS:       I don't know.         I would have
 3   to see what that is.         But I think this is -- is a
 4   very reasonable estimate of but-for damages.
 5   BY MR. KILARU:
 6         Q.    Do you have an opinion on whether every
 7   men's basketball player in the class would agree
 8   that 15 percent is the right amount of the damages
 9   that they should be receiving?
10               MR. SIEGEL:       Objection; calls for
11   speculation.
12               THE WITNESS:       I do not have an opinion on
13   that.
14   BY MR. KILARU:
15         Q.    Do you have an opinion on whether every
16   women's basketball player in the class would agree
17   that 5 percent is the right amount of damages they
18   should be receiving?
19               MR. SIEGEL:       Same objection.
20               THE WITNESS:       I do not have an opinion on
21   that.
22   BY MR. KILARU:
23         Q.    And do you have an opinion on whether
24   every other student athlete would agree that
25   5 percent is the right notional allocation for their


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 157 of 295

                                                                             Page 155
 1   group?
 2           A.   I don't.
 3                MR. SIEGEL:      Same objection and outside
 4   the scope of his testimony.
 5                THE WITNESS:      I don't have an opinion on
 6   that.
 7   BY MR. KILARU:
 8         Q.     And you haven't attempted to calculate
 9   broadcast damages for any other sport; correct?
10         A.     Outside of football and men's and women's
11   basketball?
12         Q.     Yes.
13         A.     Correct.
14         Q.     Now, in your model, there's a 5 percent
15   that's allocated to every other sport; correct?
16         A.     Yes.
17         Q.     Can you think of any economic reason why
18   it's -- why you haven't modeled that 5 percent?                     And
19   how it will be allocated to the other sports?
20                MR. SIEGEL:      Objection; vague and
21   ambiguous.     Outside the scope of his opinion.
22                THE WITNESS:      I don't have an opinion
23   on -- an economic reason why someone could or
24   couldn't create a model for the -- for the other
25   sports.


                   TSG Reporting - Worldwide· · 877-702-9580
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 158 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 159 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 160 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 161 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 162 of 295
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 163 of 295

                                                                              Page 161
1    follow up on a few things regarding the broadcast
2    group and then I think we'll move on from that.
3                First, you mentioned earlier that in pro
 4   sports, the NBA players make more money on average
 5   than an NFL player because there's more of them.
 6               You said that?
 7         A.    More NFL players.
 8         Q.    Right.       So the NBA players, I'm just
 9   trying to read from the real time, there's fewer of
10   them, they make more money on average than an NFL
11   player, I guess, because there is more of them --
12   more NFL players; correct?
13         A.    Yes.
14         Q.    Okay.       You would agree with me, though,
15   that for some of the examples I used, Patrick
16   Mahomes is making more today than the 12th man on a
17   random professional basketball team in Texas; right?
18         A.    Yeah, but he wasn't at Texas Tech.                   He was
19   making the same; right?
20         Q.    Right.       Your model would have him make
21   less, though, right, for just broadcast NIL?
22         A.    Right.
23         Q.    Just to fully understand what you did in
24   the damages calculation, you're modeling what the
25   competitive response would be of the conferences if


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 164 of 295

                                                                             Page 162
 1   there were no NIL rules starting in 2016; correct?
 2         A.    The model begins in 2016, yeah, under the
 3   assumption that -- that, you know, the plaintiffs
 4   win their claims or -- that -- right.                There
 5   wouldn't have been NIL rules in 2016, yeah.
 6         Q.    So Exhibit 12, for example, that's the
 7   result of what the conferences would have voted on
 8   in the but-for -- what the rules the conferences
 9   would have voted on in the but-for world --
10         A.    Right.
11         Q.    -- between 2016 and 2021; correct?
12         A.    Yes.
13         Q.    Is it your belief -- I think it may be
14   based on your conclusions here -- that all
15   scholarship players in football in a given
16   conference have the same value in the labor market?
17         A.    So you keep saying "value," but that's --
18   I'm looking at what an equilibrium price would be;
19   right?
20                And so all of the scholarship players in a
21   given conference -- right? -- we see when they go
22   out into the individual NIL market, they're able
23   to -- to basically come up with different payments;
24   right?     Sometimes the payments are the same.                 I
25   mean, you see lots of these sort of group licenses


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 165 of 295

                                                                             Page 163
 1   that pay every tight end, you know, $10,000 or all
 2   the linemen on this team a certain amount.
 3               But I'm talking about what happens in a --
 4   in a -- the broadcaster video game market that's --
 5   that's a group license.          So the player's individual
 6   value is not the outcome of an -- of the
 7   equilibrium -- of the equilibrium competitive
 8   market.
 9         Q.    So you believe that the equilibrium price
10   does not correspond to the individual value of each
11   players [sic]?
12               MR. SIEGEL:       Individual -- vague and
13   ambiguous.     Asked and answered.          The term
14   "individual value."
15               THE WITNESS:       I'm saying the price
16   corresponds to what the marketplace would pay
17   because of all of the reasons that I have listed in
18   the report and we have talked about, the uncertainty
19   of the athletes coming out of high school; the
20   analogies to NFL and NBA license agreements, which
21   again, have different players in the NFL and
22   different players in the NBA; right?
23               There's a Patrick Mahomes in the NFL and
24   there's a third string lineman and they're in a
25   group licensing deal that uses media and pays him


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 166 of 295

                                                                             Page 164
1    the same amount.
2    BY MR. KILARU:
3          Q.    But just to go back on something you said
4    earlier, I just want to make clear I have it.
5                You said that the player's individual
 6   value is not the outcome of the equilibrium
 7   competitive market; correct?
 8         A.    I'm saying you're asking me a different
 9   question than the modeling of the broadcast -- the
10   results in the athlete labor market from the
11   broadcast NIL and from the video game NIL as an
12   example.
13         Q.    Is it your understanding that in
14   professional football and basketball, the -- every
15   player gets the same amount for their NIL and live
16   game broadcasts?
17         A.    I mean, it's part of their collective
18   bargaining -- it's part of the AR, the all revenue
19   that they use to -- to essentially collectively
20   negotiate with the NBA.
21         Q.    Well, the AR is not distributed evenly to
22   all players; correct?
23         A.    Different players in the NBA get different
24   salaries, yes.
25         Q.    Same in the NFL; right?


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 167 of 295

                                                                              Page 165
1          A.    Yes.
2          Q.    So is it your testimony -- I just want to
3    understand it.
4                Is it your testimony that professional
 5   football and basketball, every player receives the
 6   same compensation for the use of their NIL in
 7   live-game broadcasts?
 8               MR. SIEGEL:        Objection; asked and
 9   answered.
10               THE WITNESS:        I don't -- I don't really
11   have an opinion right now on that.                I mean, I'm
12   thinking -- I wasn't -- that wasn't the focus of
13   my -- of the scope of my analysis in this case.
14   BY MR. KILARU:
15         Q.    Right.       But you're -- one of the
16   yardsticks you're using here are professional
17   football and basketball group licenses; correct?
18         A.    Group licenses, yes.
19         Q.    Okay.       And what I'm asking you about are
20   the group licenses that professional football and
21   basketball players grant for the use of their NIL
22   and live-game broadcasts.
23               You agree that has to be a part of your
24   yardstick; correct?
25         A.    Well, I'm looking at the --


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 168 of 295

                                                                             Page 166
1                MR. SIEGEL:       Objection; compound.            I think
2    that was two different questions you asked.
3                THE WITNESS:       The -- I'm looking at the
4    group licenses that are not part of the negotiation
5    with the NBA, which looks at a share of ticket sales
6    and sponsorship revenue.          And all -- and that's not
 7   a group license; that's a collective bargaining
 8   outcome.
 9               So I'm looking at the group licenses, you
10   know, for -- for video games and for video clips,
11   you know, special DVDs with, you know, highlights
12   and things like that.
13   BY MR. KILARU:
14         Q.    So you're not looking at your yardstick at
15   the group license for live-game broadcast
16   participation; correct?
17               MR. SIEGEL:       Assumes facts not in evidence
18   that there is such a group license under the
19   understanding of any of us.
20               THE WITNESS:       Would you ask the question
21   again.
22   BY MR. KILARU:
23         Q.    Yes.    I'll actually ask a different
24   question.
25               You're not looking at your yardstick at


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 169 of 295

                                                                              Page 167
 1   any licensing for -- at any -- you're not looking as
 2   a yardstick for what -- you're not using it as a
 3   yardstick what professional football and basketball
 4   players get paid, if anything, for the use of their
 5   NIL in live-game broadcasts?
 6         A.    I believe that's correct.
 7         Q.    And do you have an opinion as to whether
 8   or not the value of every professional football
 9   player's NIL is -- in a live-game broadcast is the
10   same?
11         A.    I mean, I just haven't thought about that
12   for this -- like within the scope of this.                    So I
13   guess I don't have an opinion on that.
14         Q.    Okay.       Would you agree with me that you --
15   a team will not know -- a school will not know what
16   the revenues are for a given sport until -- let's
17   just talk about football and basketball for a
18   minute.
19               Would you agree that a team cannot know --
20   or a conference cannot know what the revenues are
21   for that sport until the end of the season at the
22   earliest?
23         A.    All the revenues?
24         Q.    Yes.
25         A.    Some of them, they'll have a better sense


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 170 of 295

                                                                             Page 168
 1   of and they'll have forecasts that are fairly
 2   accurate.     But, yes, they don't know how many
 3   tickets they're going to sell or sponsorships
 4   they're going to sell, for instance.
 5         Q.    You'd also agree that part of the amounts
 6   that get paid for broadcast are an amount for every
 7   game your conference appears in in the NCAA
 8   tournament, for example; right?
 9         A.    So those payments are lagged typically and
10   you sort of earn points over a fairly decent
11   period -- I don't want to guess how many years --
12   but it's four years, five years, something like
13   that.   And those points add up and so you know sort
14   of what points you've already earned in the past.
15               But -- so that's -- yeah, you don't know
16   how well your team's going to play when you get into
17   the tournament and how many points you earned for
18   the year.     But the points are spread out over time.
19         Q.    Same with football.          You don't know how
20   much revenue you're going to get until you know
21   whether you're going to be in a particular bowl game
22   or the college football playoff; correct?
23         A.    Generally, yes, although, again, the
24   conferences often have contracts with certain bowl
25   games and things like that so they're sort of


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25    Page 171 of 295

                                                                               Page 169
 1   guaranteed certain amounts of revenue.                     It's more
 2   predictable than, I think, maybe either you think or
 3   than you're sort of characterizing.
 4         Q.    Okay.       But going into the 2018 season, for
 5   example, a conference would not know what the total
 6   revenues are going to be for 2018 for broadcast?
 7         A.    For broadcast?
 8         Q.    Yes.
 9         A.    Well, for their main source of revenue for
10   a major conference, they should know essentially
11   what they're going to get from their broadcast
12   contract for the conference regular season elements.
13         Q.    I'm just trying to --
14         A.    But then, of course, as you said, if
15   there's football playoffs and basketball playoffs,
16   right, that could change some of those amounts.
17               But, you know, the bulk of their contracts
18   are often with their conference broadcast partners
19   and those are -- those are spelled out, you know,
20   ahead of time.      They sign these contracts ahead of
21   time.
22         Q.    I'm just trying to understand how this --
23   this model would work in practice.
24               So you'd agree with me that under your
25   model at the beginning of each season, at the


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 172 of 295

                                                                             Page 170
 1   beginning of each recruiting cycle, the conferences
 2   are going to have a number that they want to
 3   promise -- that they want their schools to be able
 4   to promise to a student athlete; correct?
 5         A.    Like a -- what do you mean by "a number"?
 6   Give me an example.
 7         Q.    I mean, using your chart, Exhibit 12,
 8   going into the 2018 season, the number would be
 9   whatever is listed for 2018 football; correct?
10         A.    Well, I think what you see -- think about
11   what happens with -- with video games; right?                    The
12   athletes -- say we already have this happening in
13   the pros; right?        The athletes receive -- the union
14   receives those payments from the video game
15   companies usually quarterly, but after the -- after
16   the fact.     The sales have already been made.
17               The athletes are making a deal on a
18   certain percentage.        Sometimes there's a -- you
19   know, there's a guaranteed payment; right?
20               And so one can imagine a school saying,
21   look, this is what the payout was last year.                    You
22   guys get a certain percentage.             You know, we expect
23   it to be similar, probably larger because most of
24   these contracts have escalations in them.
25               So I would think that -- that that's one


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 173 of 295

                                                                              Page 171
1    practical way that it could happen in the -- again,
2    the but-for world is the past.              So it doesn't
3    matter.    If the plaintiffs win this case, then
4    checks are made or whatever.              You know, that doesn't
5    matter.
6                In the future-future, in the real world,
7    right? -- they could be offering that -- that
8    percentage and then the athletes would -- you know,
9    it's -- okay, I'll sign onto that.                And then they
10   sort of get the payment once the amount is known.
11         Q.    Okay.       So the offer to a student athlete
12   would be just the percentage without a -- rather
13   than a specific amount?
14         A.    That's one way you could do it.                 Again, in
15   the -- not -- not the past, but in the future, one
16   could imagine, you know, a dollar amount being on
17   the table in a sense and making sure that, hey, it's
18   the same as last year.          So we know it doesn't
19   violate NCAA rules on pay for performance so here's
20   an amount, but there might be more.
21               You know, one can imagine different ways
22   if the athlete was sort of like, well, what's that
23   number going to look like?            Well, you tell him,
24   well, here's what we got last year; right?
25         Q.    All of these offers are tied to the


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 174 of 295

                                                                              Page 172
 1   broadcast contracts for a conference; correct?
 2         A.    And other -- other broadcast contracts,
 3   but, yes.
 4         Q.    Right.       And are you aware of whether those
 5   contracts have confidentiality provisions?
 6         A.    On the dollar amounts?
 7         Q.    Yes.
 8         A.    I think generally they do, yes.
 9         Q.    Okay.       So -- and are you aware of whether
10   those contracts prohibit disclosure to anyone
11   besides the parties to the contract?
12         A.    I'm -- now you're getting into the weeds
13   in the legal part.         I don't know.
14         Q.    Well, I'll represent to you that's the
15   case that the contracts prohibit disclosure of the
16   terms to anyone who is not a party to the contract.
17         A.    Okay.
18         Q.    So if that is the case, how are schools
19   going to make offers to student athletes in the
20   but-for world if they cannot disclose the terms of
21   the broadcast contracts that lead to the payments
22   that the student athlete is supposed to receive?
23         A.    So just what I said.            It's 10 percent
24   divided by a number of athletes; right?                    So it's
25   some percentage of the contract.               And this is what


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 175 of 295

                                                                             Page 173
1    the payout was last year.          Here's your offer.
2                The escalation within the contracts?
3    That's sort of everybody knows that.                I don't know
 4   that that's --
 5         Q.    Don't you --
 6         A.    You know, the media companies report that.
 7   Even media numbers report that are they correct and
 8   that's a different question.             But they say, look --
 9   you know, most contracts have -- they're not going
10   up and down like this typically; right?
11         Q.    You'd agree that the student athlete would
12   want to know the answer to the question:                  10 percent
13   of what; right?
14               MR. SIEGEL:       Objection; calls for
15   speculation.
16               THE WITNESS:       And as I said, they can say,
17   this is what you got last -- this is what the
18   athletes got last year.          And I -- and you're asking
19   me a really specific question:             Could the person
20   then say, and the contract should be larger this
21   year, or we think it's going to go up this year;
22   right?
23               So that -- that's a -- I don't know
24   legally if they can say that, if that person even
25   sitting there even knows that if they're even


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 176 of 295

                                                                              Page 174
1    supposed to be able to know the size of the
2    contract.
3                But, you know, the schools know how much
 4   revenue they get in.         And so anyone who's recruiting
 5   would know how much that revenue was the year
 6   before.     There are likely to be forecasts of the
 7   financials, I've seen them, of -- of the athletic
 8   department's revenues that include the expectations
 9   of those payments.        And those, to my knowledge, are
10   not confidential in the same way.
11   BY MR. KILARU:
12         Q.    Right.      You would agree your model depends
13   on the school -- the schools in the conferences
14   being able to disclose an amount to the student
15   athlete that represents something about -- something
16   approximating what they will receive if they come to
17   the institution; correct?
18         A.    Again, this is not what we see with all of
19   these contracts in the NFL and the NBA; right?                     The
20   athletes sign up.        They get a certain percentage.
21   It says it's equally shared.             And they go on.
22         Q.    But --
23         A.    And then -- then they get payments based
24   on those amounts.
25         Q.    You would agree with me that the athlete


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 177 of 295

                                                                             Page 175
 1   would need to know or would want to know whether
 2   it's a past number or a future number what that
 3   10 percent is going to consist of; correct?
 4               MR. SIEGEL:       Objection; calls for
 5   speculation.
 6               THE WITNESS:       I agree with you that the
 7   schools would be able to provide enough information
 8   to the athletes to help the athletes make decisions.
 9   BY MR. KILARU:
10         Q.    That's not my question because I'm not
11   sure we agree on that.
12               Your model depends on the schools being
13   able to provide information to the student athletes
14   about what their compensation would be; correct?
15         A.    And I've already answered this, that --
16   that they can say, this is what the payments were
17   last year; right?        And you get the certain
18   percentage.     That's the same as it was last year.
19   And we expect, you know, traditionally these numbers
20   have gone up over the years by, you know, a certain
21   percentage.     I mean, they can even tell them that;
22   typically grows by 3 percent a year and this was the
23   number last year.
24         Q.    And your assumption or understanding --
25   just so I have it right, is that the past year's


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 178 of 295

                                                                              Page 176
 1   number would not be confidential.               That's your
 2   understanding?
 3               MR. SIEGEL:        Objection; calls for a legal
 4   conclusion.
 5               THE WITNESS:        That the amount that a
 6   hundred athletes received on campus for the year
 7   before would be confidential based on a contract --
 8   a broadcast contract signed with a conference?
 9               MR. KILARU:        Correct.
10               THE WITNESS:        That those athletes weren't
11   allowed to talk about how much they got paid from
12   the school?     That's what you're telling me?
13   BY MR. KILARU:
14         Q.    I'm asking for your understanding.
15         A.    I --
16               MR. SIEGEL:        Calls for a legal conclusion
17   and outside the scope of his opinion.
18               THE WITNESS:        Yeah, I don't agree with you
19   on that.
20   BY MR. KILARU:
21         Q.    Okay.       I'd like to switch gears now and
22   turn to paragraph 227 of your report.                 This is the
23   section that refers to the substitution effect.
24               Are you with me?
25         A.    Yes.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 179 of 295

                                                                              Page 177
 1         Q.    In paragraph 227, you say, "The premise
 2   behind the so-called substitution effect is that
 3   when athletes decide to stay in school because of
 4   the availability of more compensation while they're
 5   in school, they take up a scarce GIA slot in
 6   encounter sports where the NCAA restricts the number
 7   of GIAs a school may offer, a team may hit its hard
 8   limit of GIAs so that someone else will be
 9   displaced."
10               Do you see that?
11         A.    Yes.
12         Q.    And you agree with that statement, I take
13   it?
14         A.    Yes.
15         Q.    So your understanding of the substitution
16   effect is that it involves a situation where a
17   player remains in school rather than going to play
18   professional sports?
19         A.    Generally that's -- that's the claim when
20   it was originally brought up.
21         Q.    Okay.       Is there any other claim you
22   address in your report?
23         A.    Well, they might not go on to play
24   professional sports.          They might be going on for
25   some other reason.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 180 of 295

                                                                              Page 178
 1         Q.    But your understanding of the substitution
 2   effect involves someone not playing a sport
 3   anymore -- or continuing to play a sport and thus
 4   taking a spot away from someone else?
 5         A.    Yes.
 6         Q.    Okay.       You agree that there are some
 7   examples of this occurring post July 1, 2021;
 8   correct?
 9         A.    To my knowledge, it's a -- I think there's
10   a couple players who have said something about
11   staying in school because they can make some NIL
12   money, but I think it's very -- very de minimis.
13         Q.    And -- but my question was just:                  You
14   agree there are some examples of this occurring
15   after July 1 of 2021; right?
16         A.    Yes.
17         Q.    So, for example, an example that will make
18   people in the room happy.           Yesterday a player named
19   Blake Corum in Michigan decided he was going to
20   return to play college football for another year;
21   correct?
22         A.    I don't know that.
23         Q.    Well, I'll represent to you that that's
24   correct.
25               And I'll represent to you that he was


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 181 of 295

                                                                              Page 179
1    projected to have the ability to get drafted in the
2    NFL if he came back.
3                And you're aware that there are some
4    examples like that; correct?
5          A.    Well, I mean, I -- I don't know about that
6    example.    I don't know where he would be drafted.                     I
7    don't know why he decided to stay.                Like I just
 8   don't have the information in front of me.
 9         Q.    Okay.       You'd agree that you haven't tried
10   to look on a sport-by-sport -- on a sort of
11   athlete-by-athlete basis within men's basketball or
12   men's football or women's basketball to try to
13   determine who those student athletes may be?
14         A.    I mean, I did this sort of analysis in the
15   Alston case and there was not an issue, so to speak.
16   It doesn't really require looking at which athlete
17   would decide to stay or not.              It's sort of a
18   general, there's enough slots versus are there not
19   enough.
20               So I have not looked at each athlete in
21   the NCAA to see if any of them are planning to stay
22   or have stayed in the past.
23         Q.    You'd agree that when you looked at this
24   issue in Alston, the potential additional payment
25   was the payment for cost of attendance that this


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 182 of 295

                                                                              Page 180
1    person would receive from staying in school;
2    correct?
3          A.    I mean, I don't remember the context, if
4    there was other -- I mean, because that isn't where
5    that case started, you know what I mean?                   It didn't
6    start as a cost-of-attendance case.
7          Q.    What --
8          A.    Or a $5,980 Alston payments case.                  It
9    obviously didn't start at that point.                 So I don't
10   know -- I can't recall the context of which I was
11   doing that.
12         Q.    Just looking at paragraph 227, you talk
13   about examples that you say disprove the
14   substitution effect.          And the ones you give are the
15   COA stipends that were enjoined by O'Bannon, and the
16   Alston benefits that became available in 2021.
17               Would you agree with that.
18         A.    That that's what I say in paragraph 227?
19         Q.    Yes.
20         A.    Let me just finish reading it.
21               (Witness reviews document.)
22               Yes.
23         Q.    Okay.       You'd agree that those payments
24   were amounts in the sort of single-digit thousands
25   per semester; correct?


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 183 of 295

                                                                              Page 181
 1         A.    Which payments?
 2         Q.    So the Alston payment is -- could be up to
 3   $5,980 per semester; correct?
 4         A.    I think it's per year.
 5         Q.    Okay.
 6         A.    But -- if I'm correct.             But -- yeah,
 7   it's -- it's four digits of thousands of dollars per
 8   some time frame, if it's per year, per semester,
 9   but...
10         Q.    And that's -- your understanding is that's
11   generally true for a cost-of-attendance stipend as
12   well, it's in the four-digit thousands or maybe the
13   low five-digit thousands; correct?
14         A.    So you add those together and you're now
15   at five digits; right?
16         Q.    Right.       Okay.
17         A.    Okay.       So 40-, $50,000, you know, for an
18   athlete that wasn't available prior per -- per their
19   time there.
20         Q.    If you look at their time --
21         A.    And the Alston benefits include, you know,
22   the internship payments and the ability to get paid
23   more money and for -- for educational uses.
24               So there's quite a bit of other benefits
25   that the Alston case ended up allowing the schools


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25    Page 184 of 295

                                                                               Page 182
 1   to pay the athletes if they wanted to.
 2          Q.      And another sort of piece of your analysis
 3   here as you describe in paragraph 230 is that anyone
 4   displaced would have another home within FBS
 5   football or Division I basketball; correct?
 6          A.      That's one -- that's one aspect of it,
 7   yes.
 8          Q.      Okay.    Now, two of the classes here -- the
 9   broadcast class -- two of your -- of the damages --
10   yes, two of the classes here -- the men's basketball
11   and football class and the women's basketball class,
12   those are limited to the so-called autonomy five or
13   Power Five; correct?
14          A.      Yes.
15          Q.      And you would agree with me that
16   100 percent of scholarships are used in at least
17   football and basketball in the Power Five; correct?
18          A.      100 percent?
19          Q.      Yes.
20          A.      I wouldn't say it's 100 percent.
21          Q.      Okay.    Have you done any analysis of the
22   utilization rate of scholarships per institution in
23   the Power Five for football and men's basketball?
24          A.      Yes, I have.      Historically it's quite
25   high.       But it's often, you know, 12 instead of 13


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Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 185 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 186 of 295
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 187 of 295

                                                                             Page 185
 1         A.    So you said setting aside broadcast?
 2         Q.    Yeah.
 3         A.    So for individual athletes and for video
 4   games?
 5         Q.    No, just for -- taking all your damages
 6   assessments in this case aside, have you done an
 7   assessment of whether as of July 1, 2020 -- just to
 8   give an example that's prior to July 1, 2021 --
 9   actually, strike that.
10               As of today, have you done an assessment
11   of how the amounts paid to student athletes by Power
12   Five institutions compare to amounts paid to student
13   athletes by non-Power Five institutions?
14         A.    So in the past, I have looked at that.
15   I've looked at -- yeah, group of five
16   institutions -- right?         So the football-playing
17   schools that are in the NCS that are not in the
18   Power Five -- and the scholarships -- you know,
19   basically what they provide the athletes, you know,
20   how -- you know, is it a full scholarship?                   Yes.
21               Does did include all the basic elements of
22   a scholarship?      Yes.
23               Tuition, room and board, and books.
24               Are they paying cost-of-attendance
25   payments; yes or no.         Right?


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25    Page 188 of 295

                                                                              Page 186
1                So -- so I've done that analysis in the
2    past for non-Power Five conferences.                I haven't done
3    an updated analysis of that as of like current data,
4    like as of today, no.
5          Q.    When you say "in the past," you're
6    referring to, I believe, reports that were submitted
7    in 2016, 2017 in Alston?          Is that what you're
 8   referring to?
 9         A.    Those -- that would be a time when I've
10   done that.
11         Q.    Okay.
12         A.    There may be other times.
13         Q.    Since then -- let me ask a better
14   question.
15         A.    And I'm trying to think.             Since then --
16   let me just think about it for a second.
17               I can't think as I sit here if I've done
18   it since then.
19         Q.    In this case, you have not submitted an
20   analysis of how the payments to student athletes in
21   the Power Five from institutions compare to the
22   payments in non-Power Five institutions; correct?
23   In this case.
24         A.    Other than noting that there hasn't been a
25   major change in the other conferences.                    But, no, I


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 189 of 295

                                                                             Page 187
·1· ·haven't done sort of a per school, per athlete
·2· ·assessment, but I haven't seen any evidence that
·3· ·there's been a major change in the other conferences
·4· ·that are outside of the Power Five.
·5· · · · Q.· ·Have you tried to do that analysis?
·6· · · · A.· ·No.
·7· · · · Q.· ·Looking at your Exhibit 12 --
·8· · · · A.· ·I forgot what page that's on.
·9· · · · Q.· ·It's on page 94.
10· · · · A.· ·Thanks.
11· · · · Q.· ·You'd agree that for -- take a random
12· ·other example.
13· · · · · · ·For men's basketball for the PAC-12 in
14· ·2017, the broadcast damages are $57,700?
15· · · · A.· ·Yes.
16· · · · Q.· ·If a person stayed for four years in the
17· ·PAC-12 who entered in 2017, they would stand to make
18· ·something around $200,000 if you add up 2017 through
19· ·2020?
20· · · · A.· ·Yes.· Four times 57 is around $200,000.
21· · · · Q.· ·Well, I'm actually adding up your numbers,
22· ·57 --
23· · · · A.· ·Okay.· I see what you're doing.· Yes, I
24· ·agree.
25· · · · Q.· ·Okay.· And you'd agree with me that
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 190 of 295

                                                                             Page 188
·1· ·$200,000 is more of a compensation increase than was
·2· ·ever contemplated in the previous cases; correct?
·3· · · · · · ·MR. SIEGEL:· I just object.· Vague and
·4· ·ambiguous as to "contemplated."
·5· · · · · · ·THE WITNESS:· Yeah.
·6· · · · · · ·MR. KILARU:· That's actually a fair point.
·7· · · · Q.· ·I'll ask you a better question.
·8· · · · · · ·You'd agree with me that $200,000 is more
·9· ·of a compensation increase than if you looked at
10· ·Alston payments or cost-of-attendance stipends for a
11· ·four-year period; correct?
12· · · · A.· ·I would say that's generally true.· Again,
13· ·there's an athlete who wants to go to med school and
14· ·the school's willing to pay for it, that's about
15· ·what it costs to go to med school.
16· · · · · · ·But I'll agree with you if you were going
17· ·to say that that maybe isn't as common.

                                    NSC
18· · · ·
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 191 of 295
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 192 of 295

                                                                              Page 190
 1         A.     Okay.
 2         Q.     -- for scholarship.
 3         A.     I'm trying to see if I've done any
 4   updated -- I've done those analyses in the past and
 5   you can do them with evidence that's common to the
 6   class.     I don't know if I've done it for these
 7   years.     Maybe 2016.      But I'll say not 2020 or 2019.
 8         Q.     Okay.      Where is that analysis?
 9         A.     Some of that is -- so two places.                 Some of
10   that would be the -- depending on the timing of when
11   I did it in the Alston case -- because I don't
12   remember exactly what those dates are.
13               But secondly, I sometimes do an analysis
14   of the recruiting -- the correlation between
15   recruiting seasons; right?            I sort of show it in
16   class sometimes.        To look at the lack of competitive
17   balance in college sports and how it's been
18   increasing over time and you get correlations that
19   are up over 90 percent.
20               When you rank the schools by their
21   recruiting classes, it's the same schools each year,
22   you know, get into that.           So that's an analysis of
23   the offers that these athletes are getting from 24/7
24   sports and from the other source whose name's
25   escaping me right now where you can get the


                   TSG Reporting - Worldwide· · 877-702-9580
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 193 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 194 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 195 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 196 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 197 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 198 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 199 of 295
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 200 of 295

                                                                              Page 198
1    hypothetical.      Calls for speculation.
2                THE WITNESS:        Or the American.           I mean,
3    usually you would imagine that they would sort of go
4    down the -- the -- that a student -- you know, if
5    the last student in the conference who couldn't find
6    a school to go to because one more student decided
7    to attend a school in that conference, that student
8    can go to the ACC.
9                If someone's coming to the Big 10, then
10   there's an extra slot available in the ACC.                    So
11   that -- that might be where they end up.
12   BY MR. KILARU:
13         Q.    Ultimately, you'd agree someone would get
14   displaced out of the Power Five; correct?
15         A.    If what happened?
16         Q.    If the ACC student athlete goes to the
17   Big 10.
18               MR. SIEGEL:        Objection; incomplete
19   hypothetical.
20               THE WITNESS:        No, those are both in the
21   Power Five.     So it doesn't mean someone will be
22   displaced out of the Power Five.
23   BY MR. KILARU:
24         Q.    Okay.       You do agree, though, that schools
25   within the big -- schools within the Power Five


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1    Filed 01/23/25   Page 201 of 295

                                                                              Page 199
 1   differ in terms of the quality of facilities they
 2   offer; correct?
 3         A.    Yes.
 4         Q.    They differ in terms of the amounts of
 5   cost-of-attendance stipends a student athlete may
 6   receive?
 7         A.    Yes.
 8         Q.    They may differ in terms of the NIL
 9   opportunities a student athlete would have?
10         A.    Yes.
11         Q.    That may differ in terms of the playing
12   time and the exposure a student athlete could get on
13   television; correct?
14         A.    Across different schools?
15         Q.    Yeah.
16         A.    Yes.
17         Q.    And generally speaking, you'd expect that
18   a student athlete would have lower exposure at, for
19   example, in the Sun Belt than they would in the
20   Power Five; correct?
21         A.    Yes.    In general.          Although I'm not saying
22   that a student who switched from Ohio State -- from
23   Duke to Ohio State is displacing a student into the
24   Sun Belt.     I'm just not agreeing with you on that.
25         Q.    Have you done any assessment in this case


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 202 of 295

                                                                             Page 200
 1   of how many student athletes in men's basketball, in
 2   men's football, and in women's basketball received
 3   an offer from a Power Five institution and chose to
 4   instead go to a non-Power Five school?
 5         A.    In this case?
 6         Q.    Yes.
 7         A.    No.    I've done that in the past with data
 8   that's -- that's, you know, common to the class and
 9   it's pretty straightforward, yeah.
10               MR. KILARU:       Could we use Tab 65, Max.
11               So I have a couple of examples I want to
12   walk through with you, Dr. Rascher.               I think this is
13   Exhibit 8?
14                                      (Exhibit 8 marked.)
15   BY MR. KILARU:
16         Q.    So what we've summarized here are the
17   offers that a basketball player named Omari Spellman
18   received.     And I'll represent to you -- you may know
19   this, you may not -- that Omari Spellman played
20   college basketball in Villanova, which is in the Big
21   East Conference, which is not a Power Five
22   institution.
23               So are you with me on that?
24         A.    Yes.
25         Q.    And I'll represent to you that all of the


                   TSG Reporting - Worldwide· · 877-702-9580
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 203 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 204 of 295
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 205 of 295

                                                                             Page 203
1    school.    So I -- I disagree with that.
2                And you're also missing sort of that he
3    could have gotten payments from the Big East and
4    from the AAC.      I'm not measuring those in this
5    lawsuit.    I wasn't asked to measure those.                 But
 6   those are out there; right?
 7         Q.    You haven't modeled --
 8         A.    So those numbers are missing sort of -- if
 9   he stayed in Villanova the whole time, to my
10   knowledge, he's not even in our class; right?
11         Q.    What was that?
12         A.    If he stayed in Villanova the whole time
13   in college --
14         Q.    Right.
15         A.    -- because I don't know, he's not in our
16   class; right?
17         Q.    Yes.
18         A.    Unless he is in the additional sports
19   class because he got a deal and he stayed an extra
20   year, so after July 1 of 2021, because he got six
21   years of eligibility -- and I mean, I don't know his
22   full story so you're sort of giving me a guy that I
23   don't know much about.
24               But I'm telling you in the past, he could
25   have gotten paid through a Big East or an AAC


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 206 of 295

                                                                              Page 204
 1   contract also; I'm just not measuring those.
 2         Q.    Okay.       But you haven't done any type of
 3   calculation for arguable broadcast damages for
 4   conferences other than the Power Five conferences;
 5   correct?
 6         A.    Correct.
 7         Q.    Do you have an opinion on what your
 8   methodology would be if you were asked to calculate
 9   those damages?
10               MR. SIEGEL:        Objection; outside the scope
11   of his opinion.
12               THE WITNESS:        I don't.
13   BY MR. KILARU:
14         Q.    Okay.       And if -- just going back a minute.
15               You would agree with me that it's possible
16   that Omari Spellman instead choosing to attend the
17   University of Kentucky could displace someone in the
18   class currently from the Power Five; correct?
19         A.    It is possible.
20         Q.    Okay.       And that displaced student would
21   not have access to the University of Kentucky's
22   basketball facilities; correct?              If we're using
23   Kentucky as an example?
24         A.    Correct.
25         Q.    They would not have access to University


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 207 of 295

                                                                             Page 205
1    of Kentucky's coaching; correct?
2          A.    Correct.
3          Q.    They might receive a different financial
4    package from their institution in terms of cost of
5    attendance and scholarship aid; correct?
6          A.    I mean, every -- every athlete chooses a
7    different -- I mean, gets a different package if you
8    define it as a different dollar amount.
9                But typically these athletes are going to
10   be getting a full -- like their tuition is covered.
11   So that's sort of equal across the schools.
12               You know what I mean?           It's a different
13   dollar amount, but they're all getting full tuition.
14   Maybe they're all getting full COA and the dollar
15   amount might be different from that.
16               So I'm just trying to characterize what
17   you're saying as a different package.                It's sort of
18   the same package often; right?             It's just the way
19   that the dollars are measured for tuition is sort of
20   immaterial to the athlete in some sense; right?
21               It's money goes from this side of the
22   school or that side of the school.               Athletic
23   department sends money over to the registrar's
24   office for tuition.        The athlete -- it's sort of
25   immaterial to the athlete.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 208 of 295

                                                                             Page 206
1                So what I'm saying is the packages are
 2   more similar than I think you're characterizing
 3   them.
 4         Q.    The amount of money that displaced student
 5   athlete might receive from a different school could
 6   be lower than the amount of cost of attendance that
 7   they're getting from Kentucky; correct?
 8         A.    Yes.
 9         Q.    They might receive fewer other benefits
10   from their new school as opposed to Kentucky's, some
11   of these Alston-like benefits you were referring to;
12   correct?
13         A.    That's possible.
14         Q.    And they may have a reduced ability to
15   monetize their NIL at a different school than
16   Kentucky; correct?
17         A.    That's all possible, yes.
18               MR. KILARU:       Okay.      Let give you a
19   different example.        We can set that one to the side.
20               This is Exhibit 9.
21                                      (Exhibit 9 marked.)
22   BY MR. KILARU:
23         Q.    So I've handed you a very similar chart.
24   This is a chart for a student athlete named Maxwell
25   Lorca-Lloyd, who played men's basketball starting in


                   TSG Reporting - Worldwide· · 877-702-9580
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 209 of 295
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 210 of 295

                                                                              Page 208
 1   Pennsylvania and the Ivy League?
 2         A.    I have not done that analysis.
 3         Q.    Okay.
 4         A.    And is it -- did this player stay at Penn
 5   the whole time?
 6         Q.    Yes.
 7         A.    Are they still there presumably, as far as
 8   you know?
 9         Q.    Yes, as far as I know.
10         A.    Okay.       So they're not in the class; right?
11         Q.    That's right.         But if this student athlete
12   decided to go to one of those schools, they could
13   potentially displace a student athlete in the
14   Big 10; correct?
15         A.    Again, it depends on which school and
16   whether there was an open slot at -- at that school.
17   But potentially, yes, if there aren't open slots,
18   then they could -- they would have potentially
19   displaced someone.         Again, this didn't happen in the
20   past.
21         Q.    Okay.       And I can run through them again,
22   but the same set of questions:              The displaced
23   student athlete, they will lose access to
24   facilities, potentially different cost-of-attendance
25   stipend, that set of questions, you would agree that


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 211 of 295

                                                                             Page 209
1    would apply just as well to this new displaced
2    student; correct?
3          A.    I mean, of course.           Now, if they end up
4    somewhere else, right, then they get the value of
5    all those facilities and training and education and
6    so forth.
7                It's not -- again, it's not like -- you're
 8   characterizing like they get all this stuff and then
 9   it's gone.     But they get something else.
10         Q.    You would agree that if that displaced
11   student athlete went, for example, to the Ivy
12   League, they would not receive any athletic space
13   financially?
14         A.    But likely receive financial aid.
15         Q.    Correct.
16         A.    The Ivy League schools sometimes
17   out-recruit -- Stanford, I've been told many times
18   by my former students who work there -- because the
19   Ivy League offer -- it can offer more than Stanford
20   could offer because of the athletic scholarship
21   limitations that don't exist for need-based and
22   merit-based limitations in the Ivy Leagues.
23         Q.    Right.      But just going back to my
24   question, the student athlete would not be eligible
25   to receive athletic space financial aid?


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 212 of 295

                                                                             Page 210
1          A.     And I'm answering that saying:               That's
2    fine.    You can call it that.           But it's other
3    financial aid that has -- it's still dollar amounts.
4    It's still tuition coverages; right?
5                 So you call it "athletic financial aid," I
6    call it merit- or needs-based aid.               It's still doing
 7   the same work.
 8           Q.   And you would agree that this displaced
 9   student athlete may have less of an ability to
10   monetize their NIL if they are at a different
11   institution besides the Ohio State University and
12   the Big 10; correct?
13                MR. SIEGEL:      Objection; calls for
14   speculation.      Incomplete hypothetical.
15                THE WITNESS:      Less than -- I mean, it
16   depends where they end up.
17   BY MR. KILARU:
18           Q.   You have to assess where they ended up;
19   right?
20           A.   To see if they -- if they can monetize
21   their NIL at a different school in a different
22   amount?
23           Q.   In the same way, yes.
24           A.   I don't see any reason to assess that, but
25   if -- if that were the question on the table, then


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 213 of 295

                                                                              Page 211
 1   you'd have to figure out, you know, what is the
 2   value being at that other school.
 3               MR. KILARU:        Just one more.
4                Could you -- number 66, actually.                  Thanks.
 5                                       (Exhibit 10 marked.)
 6   BY MR. KILARU:
 7         Q.    So the last one of these we'll do is
 8   similar analysis for a student athlete named Troy
 9   Warner, who played men's football starting in 2016
10   at BYU.
11               Do you see that?
12         A.    I see that.
13         Q.    Okay.       Based on this chart, again, these
14   are just the offers received, Mr. Warner received
15   seven offers to go to schools in the PAC-12.
16               Do you see that?
17         A.    I see that.
18         Q.    And one offer to receive -- one offer to
19   play in the ACC.
20               Do you see that as well?
21         A.    Yes.
22         Q.    Okay.       And if Mr. Warner had accepted any
23   of those offers, he could theoretically -- he could
24   possibly have displaced a student athlete in the
25   PAC-12; correct?


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 214 of 295

                                                                              Page 212
 1         A.    I have a clarification question on these.
 2         Q.    Yes.
 3         A.    Do you know that -- were all of these
 4   offers for full scholarships, full COA?                    Like you --
 5   you know that yourself?
 6         Q.    Yes.    I mean, they're football offers.
 7               Are you aware of student athletes getting
 8   below full cost-of-attendance football offers?
 9         A.    Yeah, walk-ons.
10         Q.    Do you believe walk-on offers are
11   represented on 24/7, for example?
12         A.    Yes.
13         Q.    Okay.       Well, I'll represent to you that
14   these are not walk-on offers, but these are full
15   scholarship offers.
16         A.    Okay.
17               MR. SIEGEL:        Well, I'm just going to
18   object to all of these as lack foundation and
19   assumes facts that are not in evidence.
20               But he can answer them based on your
21   representations.
22               THE WITNESS:        I'm treating them as
23   hypotheticals.
24               MR. KILARU:        Sure.
25               THE WITNESS:        Okay.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1    Filed 01/23/25   Page 215 of 295

                                                                              Page 213
 1   BY MR. KILARU:
 2         Q.     So in this hypothetical, if Mr. Warner had
 3   attended the University of California Berkeley, he
 4   could have displaced a student athlete in the class
 5   who attended the University of Berkeley and played
 6   football there; correct?
 7         A.     That's -- I have the same answer:                 That it
 8   depends on how many scholarships were being used at
 9   those schools at the time; right?               Because we saw
10   the incident to allow more scholarships during
11   COVID.     They sort of realized that that -- the
12   artificialness of the 85, and the 13 and 15 caps and
13   they let more scholarships in, just as an example of
14   the flexibility of the scholarship caps.
15         Q.     You'd agree if schools offered more
16   scholarships, that would reduce the NIL --
17                (Reporter asks for repetition.)
18                If schools offered more scholarships, that
19   would reduce the broadcast NIL payment to each
20   student athlete; correct?
21         A.     Other than the fact that they didn't in
22   the past.     But if in the future, they -- they were
23   to offer more scholarships then and they would do a
24   similar calculation; right?              Those per-athlete
25   amounts would be -- would be slightly smaller.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1    Filed 01/23/25   Page 216 of 295

                                                                               Page 214
 1         Q.    Okay.       Any of your answers to the
 2   questions about facilities, ability to monetize NIL,
 3   and so on different for this student athlete as
 4   opposed to the previous examples we discussed?
 5         A.    No.    You know, I think my one answer for
 6   all of these folks is that I don't know -- we don't
 7   know the circumstances that led them to choose
 8   these -- these schools.           What we do know is they
 9   chose them; right?         We have some facts about what
10   happened in the past.
11         Q.    And you'd agree you don't have any
12   estimate of how many student athletes there are who
13   received Power Five offers between 2016 and 2021,
14   full scholarship offers in football, men's
15   basketball, and women's basketball, and turned them
16   down to go somewhere else.
17               You don't have that number?
18         A.    So my analysis of that exact question in
19   Alston and O'Bannon, so I must have looked at seven,
20   eight years, nine years, maybe, of data where that
21   it is not very common to turn down a Power Five
22   offer in favor of a non-Power Five offer.
23               Mostly the athletes who get Power Five
24   offers accept those offers.               And the athletes who
25   are choosing schools outside of the Power Five are


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 217 of 295

                                                                              Page 215
 1   typically not getting a Power Five offer.
 2         Q.    Okay.       So just going back to my question.
 3   You have not -- you don't have any estimate of how
 4   many student athletes there are who received
 5   Power Five offers between 2016 and 2021 that turned
 6   them down to go somewhere else that you're offering
 7   in this case; is that right?
 8         A.    So I haven't seen any evidence that that
 9   has changed that much, that being what I just talked
10   about; right?      I didn't do a particular analysis in
11   this case, but based on my experience having done
12   this sort of work, of course, using evidence that's
13   common to the class, that one can do in a
14   straightforward manner.
15               I haven't seen any evidence that that has
16   changed, that all of a sudden you have a bunch of
17   athletes choosing Group of 5 schools, Ivy League
18   schools that weren't doing it in the past.
19         Q.    And just to circle back on one other thing
20   we discussed earlier.          I just want to make sure I
21   have a clear answer for this.
22               Do you have an opinion on whether
23   disclosing payments to student athletes based on --
24   for broadcast NIL based on past years of a broadcast
25   contract would breach the confidentiality provisions


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1    Filed 01/23/25   Page 218 of 295

                                                                              Page 216
1    in those contracts?
2                Do you have an opinion on that?
3                MR. SIEGEL:       Objection; calls for a legal
 4   conclusion.
 5               THE WITNESS:       I don't know what it --
6    what -- I don't know how, you know, to interpret the
7    contract in a way that would say someone's breaching
8    a confidentiality agreement or not.
9                MR. KILARU:       Okay.       I think that's another
10   natural stopping point for a break.
11               THE WITNESS:       Okay.
12               THE VIDEOGRAPHER:            We're off the record.
13   The time is 3:02 p.m.
14         (Recess taken from 3:02 p.m. to 3:20 p.m.)
15               THE VIDEOGRAPHER:            Okay.    We're back on
16   the record.     The time is 3:20 p.m.
17   BY MR. KILARU:
18         Q.    Dr. Rascher, just -- I think one more
19   question on the substitution effect piece and then
20   we'll move on to a different topic.
21               Based on your answers I think you agree
22   with this, but I want to make sure.                You haven't
23   tried to model how, if at all, behavior of student
24   athletes would have changed between 2016 and 2021
25   based on the additional broadcast NIL payments that


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 219 of 295

                                                                             Page 217
 1   you include in the report; is that right?
 2               MR. SIEGEL:       Objection; misstates report.
 3               THE WITNESS:       Model their behavior?             Um --
 4   BY MR. KILARU:
 5         Q.    How -- let me ask the question just so you
 6   have it.    How, if at all, the behavior of student
 7   athletes would have changed.
 8         A.    So there's -- in the marketplace there are
 9   sort of pecking orders for football and basketball.
10   And my analysis -- and that tends to be correlated
11   with the revenues in those -- in those conferences.
12   And we see that even with -- when the payments
13   for -- you know, for coaching; right?                Coaching
14   staffs get paid a certain amount, and those are even
15   correlated with the revenues.            And so in that
16   sense -- so I'm -- I'm not modeling individual
17   athlete behavioral decisions that may have changed
18   but sort of in general that competitive nature and
19   the way that competition plays out I've assumed, but
20   based on evidence, that -- that that wouldn't change
21   substantially in -- in -- wouldn't have changed,
22   rather substantially in the but-for world.
23         Q.    I just want to make sure I fully
24   understand that.
25               You do agree, based on what you just said,


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 220 of 295

                                                                             Page 218
1    you haven't modeled how if at all any individual
2    athletes's decisions would have changed in the
3    damages period; correct?
4          A.    Correct.
5          Q.    You have modeled how conference
6    competition would have occurred in the damages
7    period; is that what you were getting at with the
8    kind of point about aggregates?
9                 MR. SIEGEL:      Objection; misstates
10   testimony.     And I think he answered this question,
11   but...
12                THE WITNESS:      Yes, conference competition,
13   but -- but sort of the -- the -- the way that
14   athletes allocate themselves -- right? -- as a
15   group.     So you may have one athlete, like you said,
16   who might switch from Duke to Ohio State, but then
17   another athlete is sort of filling that Duke spot
18   that's of a similar quality and so forth.
19   BY MR. KILARU:
20         Q.     I'd like to turn now to the third-party
21   NIL damages.      As we discussed a few -- well,
22   probably a few hours ago at this point, you applied
23   what you called the before- and after-methodology to
24   determine damages for this class?
25         A.     Yes.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 221 of 295

                                                                              Page 219
 1         Q.     Or for this -- this type of damages, I
 2   should say?
 3         A.     Yes.
 4         Q.     And these damages apply to all members of
 5   the additional sports -- well, who is eligible for
 6   damages -- for -- under your analysis, who is
 7   eligible for third-party NIL damages?
 8         A.     Any athlete in the men's basketball and
 9   football class, the women's basketball class, and
10   the additional sports class who received payments
11   post-July 1, 2021 subject to the definitions of, you
12   know, full scholarships and all those sorts of
13   things.
14         Q.     Okay.      Looking at your report, paragraph
15   179, if we could.         I think we'll get to the same
16   point.     Page 94.
17         A.    Yes.
18         Q.    You say your methodology applies to any
19   athlete in any class who receives compensation for
20   the use of their NIL after July 1, 2021, excluding
21   damages relating to video games or broadcasts;
22   correct?
23         A.    Yes.
24         Q.    So is it fair to say if a member of the
25   proposed classes received some kind of third-party


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 222 of 295

                                                                              Page 220
 1   payment for NIL after July 1, 2021 that's in your
 2   data, you would model damages for them in the past;
 3   correct?
 4         A.    Yes.
 5         Q.    Okay.       And would you take that number from
 6   post-2021 and apply it to each of their year's
 7   eligibility in the past?
 8         A.    Yes.
 9         Q.    So -- I mean, I'm not using a specific
10   example but just theoretically.              If a student
11   athlete in November of 2021 in their fourth year of
12   eligibility earned $500 for third-party NIL, you
13   would give them an additional $1,500 of backwards
14   damages?    So just the $500 three years going back;
15   is that right?
16               MR. SIEGEL:        Objection; misstates report,
17   but I'm sure he'll explain.
18               THE WITNESS:        That's sort of the beginning
19   stages of it.      That's sort of the general
20   framework -- right? -- that the athlete shows their
21   unique characteristics in value.               It's all captured
22   in the fact that they did get paid when it became
23   allowed and it got paid a certain amount.                   And then
24   going back, making adjustments for, you know, when
25   they -- when they started playing in college --


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 223 of 295

                                                                              Page 221
 1   right? -- you know, potential other adjustments like
 2   conference changing or role on team, things like
 3   that.   But that's the base -- sort of a starting
 4   point is what you said.
 5   BY MR. KILARU:
 6         Q.    Yeah, fair -- we'll talk about the
 7   adjustments.      But sort of other than the
 8   adjustments, is that a fair statement of the general
 9   methodology?
10         A.    Generally, yes.
11         Q.    Okay.       The before-period would be from the
12   beginning of the 2016 to '17 school year and it
13   would end on July 1, 2021; is that right?
14         A.    Yes.
15         Q.    Maybe not for a specific athlete but for
16   the class as a whole; is that right?
17         A.    Yeah, yes.
18         Q.    And then the after-period would start from
19   July 1, 2021 and run to the date any class is
20   certified in this case; correct?
21         A.    Yes.
22         Q.    Okay.       Now I'll represent to you that the
23   class certification hearing is scheduled for
24   July 2023.     So is it fair to say that you would have
25   roughly two years' worth of data in the after-period


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1    Filed 01/23/25   Page 224 of 295

                                                                               Page 222
 1   if a decision follows shortly after that?
 2         A.    It sort of depends on the nature of
 3   discovery and all that stuff, subpoenas and
 4   everything.     But theoretically -- again, giving time
 5   constraints -- that's two years after the payments
 6   were first allowed.         So that's two years, yes.
 7         Q.    The relevant transactions would occur
 8   between July 1 of 2021 -- for the after-period --
 9   July 1, 2021 and whatever date of certification;
10   correct?
11         A.    Yes, I believe so.             And then to the
12   extent -- I mean, if the case continues from there,
13   then I think typically you sort of measure damages
14   up to trial.      I mean, I believe so.             At least I've
15   done that in the past in other cases.                  Like, it
16   doesn't stop at the class certification hearing
17   necessarily.
18         Q.    Okay.       All right.        Assuming that the model
19   is for -- is based on data from July 1, 2021 to,
20   say, August 1 of 2023, that will be about two
21   years of transactions; is that fair to say?
22         A.    Yes.
23         Q.    Okay.       And if the court's evaluating the
24   model on July 20 of 2023, there would be again
25   around two years' worth of transactions in the model


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 225 of 295

                                                                             Page 223
 1   that's being presented to the court; is that
 2   correct?
 3         A.    Well, as I said, it depends on -- I mean,
 4   the subpoena discovery time frame has lagged for
 5   whatever reasons.        I mean, I think in every case it
 6   sort of happens.        So it all depends on whatever data
 7   is available to me at the time I'm preparing the
 8   analysis if in fact I end up doing that that then is
 9   presented at a class hearing or -- I don't know if
10   there's a report I write or -- whatever the process
11   is, I don't know.
12               But you understand what I'm saying?                  Like,
13   it all depends on sort of the timing of when I have
14   access to the data and how long it takes me to wrap
15   my arms around it.
16         Q.    Do you have any other examples of cases
17   where the after-period has been around two years'
18   worth of data?
19         A.    I mean, I had a -- I've had a couple of
20   breach-of-contract cases where things sort of got
21   fixed up and then time moved forward and then the
22   lawsuit sort of kicked in and so you had sort of an
23   after-period that was multiple years.                I can think
24   of one that pops into my head right now and another
25   one that I'm pretty sure that that's what happened.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 226 of 295

                                                                             Page 224
 1          Q.   Okay.
 2          A.   But -- so, yeah.
 3          Q.   Did those, to the extent you can say,
 4   involve more than two years or less than two years
 5   of data?
 6          A.   Um --
 7          Q.   If you can't say because of a protective
 8   order I'm not asking you --
 9          A.   I don't think so.
10          Q.   -- I just want you to -- I don't want you
11   to get into any trouble.
12          A.   No, I understand.
13               I feel like one of them had three years
14   and one was around two years; you know, portions,
15   not just exact round numbers, but two- to three-year
16   range.
17          Q.   You'd agree that the marketplaces -- you'd
18   agree that the total amount of NIL earnings
19   available to student athletes might vary from year
20   to year based on economic conditions affecting the
21   potential purchasers of NIL rights; is that fair to
22   say?
23          A.   It might depend on what of the...?
24          Q.   Do you believe that the market for NIL
25   rights is the same in terms of size every single


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 227 of 295

                                                                             Page 225
 1   year?   For third-party NIL transactions, it's the
 2   same every single year?
 3         A.    No.    Oh, and I thought of -- so there's
 4   some non-sports cases, antitrust class -- class
 5   actions that have -- sort of the collusion period
 6   ended and the cases take a while and so you have
 7   sort of a clean period before and after.                  It was
 8   like a -- I think the contact lens case was like
 9   that, if I remember.
10               Anyway.      Sorry.    That was the previous
11   question.
12         Q.    No, that's fine.
13         A.    The -- the mark- -- the dollar amounts
14   going to college athletes for individual name,
15   image, and likeness from year to year are not going
16   to be exactly the same amount; that would be just
17   sort of luck if that were the case.
18         Q.    And that might represent that in certain
19   years advertisers have either more or less of an
20   appetite for getting endorsements from student
21   athletes; is that fair to say?
22         A.    Generally yes.        I mean, in this case it's
23   slightly different because we're sort of starting
24   from scratch.      June 30, no one's allowed to be paid.
25   And so the next day of course you're not going to be


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 228 of 295

                                                                             Page 226
 1   at equilibrium; it's going to take years to sort of
 2   get to that equilibrium.          And so my presumption in
 3   the past is that we would already be at that
 4   equilibrium.
 5               Now, again, being at an equilibrium does
 6   not imply that from year to year the total dollar
 7   amounts in the market are exactly the same, no.
 8         Q.    Did you attempt to collect data or did you
 9   attempt to obtain data for third-party NIL
10   transactions involving professional athletes over
11   the last, say, three, four, five years?
12         A.    No, not in the scope of this case, no.
13         Q.    So in the scope of this case you didn't
14   attempt to, for example, determine if there is some
15   kind of year-over-year difference between the amount
16   of money that's being spent on third-party NIL
17   advertisements?
18         A.    So in general I have looked at pro athlete
19   endorsement earnings over time to see sort of what
20   those markets look like.          But I don't think I
21   included any of that in this report.                But it's
22   something -- it's sort of my general knowledge of
23   the -- of -- of that market.
24         Q.    But you haven't done any kind of
25   regression of those numbers in this case to


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 229 of 295

                                                                              Page 227
 1   determine the relationship between a year and NIL
 2   endorsements; is that right?
 3         A.    No, I have not.
 4         Q.    If a student athlete signed an NIL deal
 5   on, say, July 2, 2021, would you think that that
 6   would suggest they had a high probability of
 7   securing that deal before July 1, 2021?
 8         A.    Yes.
 9         Q.    Okay.       If they signed their first NIL deal
10   on July 30, 2022, do you think that would in any way
11   affect their likelihood of getting -- reflect on
12   their likelihood of getting a deal before July 1 of
13   2021?
14         A.    It sorts of depends.            You know, were they
15   in college in the earlier year?              Were they in a
16   different conference, for instance?
17               You know, as you mention, the marketplace
18   takes time to reach an equilibrium.                And so a deal
19   in that second year still might be an indication of
20   their value; it sort of depends on just other common
21   information around that.
22         Q.    Can you turn to paragraph 218 of your
23   report.    It's on page 115.
24         A.    Yes.
25         Q.    And here you're talking about something


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 230 of 295

                                                                              Page 228
 1   called a Q Score.         Do you see that?
 2         A.    Yes.
 3         Q.    Would you agree that a Q Score is sort of
 4   a popularity rating for a person based on their
 5   recognition and personal characteristics?
 6         A.    That's a -- that's an okay way to describe
 7   it, sure.
 8         Q.    Okay.       You say that you believe a
 9   Q Score -- you do not include any adjustments for
10   Q Score in your model; correct?              Or you haven't
11   proposed to do any adjustments for that in your
12   model; correct?
13         A.    Correct.
14         Q.    Okay.       Let's talk about someone we've
15   mentioned earlier today.           Stetson Bennett IV.            Your
16   understanding is that he was a walk-on when he
17   arrived at Georgia; is that correct?
18         A.    I don't know that for sure.               But...
19         Q.    Do you know that he's sort of -- wasn't
20   that prominent and now is obviously a very famous
21   college athlete?
22         A.    Yes.
23         Q.    Okay.       Is it your view that his Q Score
24   was the same when he started his collegiate career
25   as it is today?


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 231 of 295

                                                                               Page 229
 1               MR. SIEGEL:       Objection; calls for
 2   speculation.
 3               THE WITNESS:       I mean, I don't know that he
 4   has a Q Score, in terms of a source of information.
 5   Like, a -- you know, Q Scores are sort of a term
 6   from the Q Score company that they use.                   So I don't
 7   know if they tracked him or not.
 8   BY MR. KILARU:
 9         Q.    Well, as you said a few minutes ago, you'
10   agree that it's a measure of a person's popularity;
11   correct?    You're -- it's trying to measure a
12   person's popularity; correct?
13         A.    It's trying to; correct.
14         Q.    And how popular a student athlete is would
15   have an effect on how likely they are to obtain
16   endorsements; correct?
17         A.    It certainly could be a factor.                 And in
18   this case I think that's why this actual experiment
19   is so rare.     Sort of like you said; you know,
20   it's -- how often do you have cased that move into
21   the future?     You've got an after-period; right?                   We
22   have -- we're lucky in this case in the sense, from
23   an economics perspective, that we happen to have an
24   actual natural experiment.
25               And so the individual payments for someone


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 232 of 295

                                                                              Page 230
 1   like a Stetson Bennett that they receive begin to --
 2   to off- -- to sort of come up with that Q Score of
 3   those unique characteristics for that athlete.                      My
 4   analysis of Q Scores in other cases are that they
 5   typically haven't changed that much over time unless
 6   some major event occurs.
 7         Q.    Okay.       Well, do you believe that Stetson
 8   Bennett has the same level of popularity today that
 9   he did when he started playing college football?
10         A.    I mean, I -- he just won a national
11   championship, so that's sort of unique.
12         Q.    So is that a no, you don't believe he has
13   the same level of popularity today than he did when
14   he started playing college football?
15         A.    I mean, I just haven't looked at him in
16   particular so I don't really have an opinion on that
17   because you're sort of representing to me -- I
18   didn't know that he started as a walk-on, as an
19   example.
20         Q.    Okay.
21         A.    I didn't remember that.             So...
22         Q.    Let me give you a different example.                    Have
23   you heard of a student athlete named Doug Edert?
24         A.    No.
25         Q.    Okay.       So I'll represent to you that he


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 233 of 295

                                                                             Page 231
1    was a player on the Saint Peter's College basketball
2    team that had a pretty deep run in the NCAA
3    tournament that year.         Are you familiar with at
 4   least the Saint Peter's experience?
 5         A.    Yes.
 6         Q.    Would you agree that the players at Saint
 7   Peter's have a greater popularity today than they
 8   did four years ago?
 9         A.    I mean, again, I just haven't looked at
10   that particular example.          So it's -- you know, I
11   just don't know.        I mean, I imagine certainly
12   locally in their marketplace but not necessarily in
13   a broader marketplace.
14         Q.    Well, if Doug Edert has obtained NIL deals
15   post-NCAA tournament, his information would be part
16   of your damages analysis; correct?
17         A.    Yes.
18         Q.    You'd be calculating damages for him over
19   either the last two, three, or four years depending
20   on when he started playing; correct?
21         A.    Yes.
22         Q.    And so you don't have an opinion, though,
23   as to whether his popularity is the same after last
24   year's NCAA tournament as opposed to before?
25         A.    I mean, if before he didn't play as


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     Case 4:20-cv-03919-CW   Document 600-1    Filed 01/23/25   Page 234 of 295

                                                                              Page 232
 1   often -- right? -- then I have an assessment of sort
 2   of the role on the team that might show that, oh, he
 3   didn't play as much when he was a freshman or a
 4   sophomore and so there's an adjustment to be made
 5   for that.     And that's likely to be correlated with
 6   his popularity assuming that he was a -- one of the
 7   reasons why Saint Peter's went far in the
 8   tournament.
 9         Q.    There's two separates points there I want
10   to follow up on.        First, is it your view that a
11   player's playing time is necessarily correlated with
12   popularity?
13         A.    Not necessarily but it's likely to be
14   correlated with popularity.              It's sort of hard to
15   become popular if they're not -- if a person's not
16   playing.
17         Q.    But assuming he played the same amount
18   before the NCAA tournament as after -- for example,
19   assume he played the same amount in the regular
20   season games preceding the NCAA tournament in that
21   given season versus after -- your model has no way
22   to account for that difference in popularity;
23   correct?
24         A.    Within the same season?
25         Q.    Yes.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 235 of 295

                                                                             Page 233
1          A.     I think it would treat him in a similar
2    fashion of -- you know, because I'm doing it sort of
3    year to year.       I'm not doing it month to month;
4    right?     My analysis is year to year.
5                 So, like, if he were paid after the
6    tournament and that's part of the same year, then
7    that's just sort of a single assessment of what his
8    value was that year or what he's -- you know, what
9    he earned that year.         So it sort of combines the --
10   whatever happened in the regular season and whatever
11   happened in the postseason.
12         Q.     Right.     Would you agree that particular
13   moments in sporting events may have -- may affect an
14   individual student athlete's popularity?
15         A.     Yes.
16         Q.     For example, a gymnast might have a
17   perfect-10 routine and then become much more popular
18   than she was before she had that perfect 10;
19   correct?
20         A.     Yes.
21         Q.     And those moments can occur within a
22   season; right?       Someone may start every game in
23   college basketball and then hit a shot to win the
24   NCAA tournament and they'll be much more popular
25   after that shot as they were the rest of the year;


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 236 of 295

                                                                             Page 234
1    correct?
2          A.    Yes.    And those are necessarily rare, in
3    the sense that -- practically by definition -- for
4    something to sort of capture people's attention.
5    Not everything can capture people's attention all at
6    the same time.
7                So the incidences of -- of a particular
 8   situation where -- where, you know, a gymnast gets a
 9   perfect 10 and people even hear it and notice it and
10   perhaps watch a video of it are not very common
11   practically by definition because other things are
12   happening too in people's lives; right?                   So there's
13   only so many things that can sort of rise up to
14   become popular.
15         Q.    But you'd agree you have no way to predict
16   when those moments will occur; right?
17         A.    From a sports perspective, no, right.
18         Q.    And your model does not account for the
19   differences that may occur for a student athlete
20   before and after those events as long as they occur
21   within a single season; correct?
22         A.    Right.      So I'm -- if it occurs within a
23   single season, then my model's sort of treating that
24   as the whole season, like whatever -- whatever the
25   payment was for that season.             So it treats it sort


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1    Filed 01/23/25    Page 237 of 295

                                                                               Page 235
 1   of as a single -- you know, a unit of entry for me
 2   is a single season for -- for a particular athlete.
 3         Q.    One more example.            If a student athlete
 4   after the national championship game gets a paid
 5   trip to Disneyland, after July 1, 2021 your model
 6   would essentially give that same number for the last
 7   two or three years depending on how long they
 8   played; correct?        Subject to adjustments for year.
 9         A.    Well, role on the team, conference, any
10   changes for COVID, things like that.                 So there are
11   adjustments for those sorts of things.                     But if
12   there's an athlete who received a payment -- and why
13   did they receive it?         Because they won a national
14   championship?
15         Q.    That's one example why.
16         A.    Yeah, the model doesn't -- other than the
17   idea that the athlete was already, you know, playing
18   a lot, playing on a major team, I mean, that's
19   what's really -- that's what this is capturing, is
20   those payments capture so much about the athlete,
21   the school that they choose to go to -- right? --
22   compared -- you know, a major Power Five school
23   compared to a group of five.              And the sport they're
24   playing -- right? -- that drives a lot of the
25   payments that these athletes are receiving.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 238 of 295

                                                                             Page 236
1                 So there's a whole lot that's built into
 2   using what the natural experiment of watching what
 3   the athletes got paid.
 4                And so, you know, winning a national
 5   championship and getting a free trip to Disneyland
 6   is, you know, potentially correlated with playing on
 7   a major program, playing on a popular sport that
 8   gets a lot of media coverage; getting playing time
 9   that they may not have gotten when they were a
10   freshman, for instance.
11                So -- and I do think that a lot of that
12   information is captured by the unique
13   characteristics of the situation we're in, which is
14   an athlete being on a particular team at a
15   particular school and then getting this payment;
16   right?     They've proven that they've got value in the
17   NIL market.     So I just think a lot of that is
18   captured -- capturing what you're talking about.
19         Q.     Just so I'm clear, though, the only
20   adjustments you propose to make in your report
21   are -- I'm going to list them one at a time so -- I
22   know you'll say there's others, if I just give you
23   one, but I'm going to give you what I think are the
24   fullest.
25                COVID in 2020 is one of them; correct?


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 239 of 295

                                                                             Page 237
 1          A.   Correct.
 2          Q.   Changes in school; correct?
 3          A.   And COVID can be for two years, but --
 4          Q.   Right.
 5          A.   -- that's fine.
 6          Q.   For COVID, generally speaking, is one
 7   adjustment?
 8          A.   Yes.
 9          Q.   Otherwise you don't have year-over-year
10   adjustments, do you?
11          A.   Don't have what?
12          Q.   Otherwise you have no other year-over-year
13   adjustments; correct?
14          A.   I talk about if needed, although I don't
15   see good evidence for it, it's sort of an
16   inflationary adjustment, but it wouldn't be very
17   big.
18          Q.   So COVID is one.         Changes in school is
19   another; correct?
20          A.   Yes.
21          Q.   Participation level in sport is another;
22   correct?
23          A.   Yes.
24          Q.   And changes in role on squad are one as
25   well; correct?


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 240 of 295

                                                                              Page 238
 1         A.    Yes.
 2         Q.    And those are the only adjustments;
 3   correct?
 4         A.    Yes, based on the analysis that I've done
 5   looking at the sort factors that would drive
 6   potentially big changes in these numbers, those
 7   capture the -- the bulk of that.               Because as I said
 8   before, what they actually get paid is really --
 9   captures a whole lot of unique characteristics of
10   that person.
11         Q.    Can I turn your attention to paragraph 237
12   of your report.
13         A.    Okay.
14         Q.    In this paragraph you're talking about
15   adjustment at the sport level for NIL compensation
16   by conference; correct?
17         A.    Yes.
18         Q.    And you say you'll test whether they are
19   statistically significant differences across
20   conferences within a given sport; right?
21         A.    Yes.
22         Q.    Okay.       You've not done that adjustment
23   yet; correct?
24         A.    No.    I mean, I -- it's -- it's as I'm
25   getting more data, the adjustment becomes more


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 241 of 295

                                                                              Page 239
 1   feasible to do; right?          You can do it with the data
 2   I have, but the more data you have, you get a better
 3   analysis; right?         Because you get a more -- more
 4   statistical certainty.
 5         Q.    So you say that if there is a
 6   statistically significant difference in demand for
 7   the use of a transferred athlete's NIL, you'll make
 8   an adjustment in the damages calculation; right?
 9         A.    Yes.
10         Q.    Okay.       How will you make that adjustment?
11         A.    So, again, part of that will be to see
12   what it looks like.         But generally I will make an
13   adjustment that is sort of the typical percent
14   change in that -- for that sport and for that
15   conference; right?         Sort of like okay, here -- and
16   particularly for a school.            And I mention that.            But
17   imagine it just at the conference level; right?
18   You're going from a Sun Belt, as you mentioned
19   earlier, to an SEC school.            And sort of does that,
20   you know, change their marketability in some way
21   playing the same sport; right?              And so there would
22   be sort of an adjustment for that.                Sort of like you
23   would do an inflation adjustment; right?                   It's an
24   average adjustment across a bunch of people or a
25   bunch of industries.          And this will be sort of an


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1    Filed 01/23/25   Page 242 of 295

                                                                              Page 240
 1   adjustment from -- from conference to conference.
 2         Q.    Is that --
 3         A.    It's just statistical analysis.
 4         Q.    Yeah, will that assessment involve some
 5   kind of regression of those -- of variables being --
 6   so it would be conference and the year?                    Or what
 7   would the variables be?
 8         A.    So the variables would be sort of the
 9   payments that we see in the marketplace and then
10   some control for which conference and sport they're
11   playing.    Potentially a control for position,
12   especially for quarterback.              That's sort of the one
13   that often stands out, as you guys probably have
14   seen in the data; right?
15               But, anyway.       It may just be a
16   statistical -- sort of a correlation analysis, like
17   a t-test, two-sided t-test.              It could definitely
18   be -- you could do it with a regression, although
19   that becomes redundant if you're doing a
20   single-variable t-test.
21               So, you know, you can do it in a number of
22   different ways, but it's all sort of using the same
23   set of data in common economic ways.
24         Q.    Do you know today what your methodology
25   will be for doing that, what tool you will use?


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 243 of 295

                                                                              Page 241
 1         A.    I think I mention in here; to do a --
 2   basically a test of differences by quartile, as an
 3   example.
 4         Q.    Right.       You give that as an example, but
 5   is that what you intend to do, or will you use a
 6   different methodology?
 7         A.    Well, no, that's the methodology I intend
 8   to do at this stage.          But as we move forward --
 9   right? -- presumably we get more information; right?
10    Your experts may come up with something that's
11   interesting and it's like, okay, that's an
12   interesting idea, let me look at that; right?
13   That's sort of the point of as we march towards
14   justice; right?         And so then I might take that and
15   adjust it.     But as I sit here today I have a
16   reliable and reasonable model and method to measure
17   damages for the individual NIL plaintiffs.
18         Q.    You talk about making an adjustment for
19   role --
20         A.    Yes.
21         Q.    -- in your report --
22         A.    Yes.
23         Q.    -- in Section 7.3.4.1?
24         A.    Yes.
25         Q.    You'd agree you don't describe the


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 244 of 295

                                                                              Page 242
 1   specific methodology you're going to use to make
 2   that analysis; correct?
 3          A.   I talk about using quartiles, doing the
 4   sort of similar thing as I would for conference.
 5   And looking to see if there's a major difference in
 6   role.    I mean, what's been really interesting and
 7   not surprising to me -- and maybe not surprising to
 8   you guys -- but in the data that we've seen is that
 9   freshman and underclassmen are getting paid quite a
10   bit for their use of their name, image, and
11   likeness, even if their role is not right away
12   expected to be that prominent.
13               And so there may not be an anal- -- you
14   know, when you compare sort of upper and lower
15   quartile or something like that in interquartile
16   range, you might not get much of a difference.                     And
17   so if you don't, then there's really no reason to do
18   an adjustment.      But if you do, then you can make
19   that adjustment using sort of the average change.
20   For -- for a role, you know, you can do it by sport,
21   you can do it by conference if you needed to.                    But
22   essentially just sort of looking at the average
23   change.
24          Q.   Have you decided what data you're going to
25   use?


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 245 of 295

                                                                              Page 243
 1         A.     Yeah, I talk about it in here.                There's
 2   data -- there's -- pro football, there's sort of
 3   snaps played, you know, like basically how often is
 4   someone playing; and then there's also -- for
 5   basketball there's minutes played; right?                   Those are
 6   good assessments of sort of the role of the player
 7   on the team; right?         Those have been used in tons of
 8   other studies.
 9         Q.     Right.      But have you personally looked at
10   that data and concluded that you can make a valid
11   adjustment based on that data?
12         A.     Yes.
13         Q.     Okay.      But you haven't performed that
14   analysis yet?
15         A.     No.
16         Q.     Any reason why not?
17         A.     As I said, I'm waiting to get more
18   information to make it more robust, like more --
19   subpoenas; you know, more discovery information;
20   right?     A lot of our information is just from the
21   early parts of this -- of the NIL period, of the
22   after-period.
23         Q.     You have a set of third-party NIL
24   information; correctly -- correct; right?
25         A.     Yes.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 246 of 295

                                                                              Page 244
 1         Q.    Okay.       And the data about snaps on Pro
 2   Football Focus or the stats you mention on Sports
 3   Reference and Her Hoop, those are already out
 4   there -- correct? -- for the years in which you're
 5   assessing damages?
 6         A.    Yes.
 7         Q.    Okay.       So why haven't you tried to do that
 8   analysis and demonstrate it to this date?
 9         A.    Well, I was describing the process of
10   doing that.     It's really sort of straightforward.
11   But as I said, I'm waiting to get more information
12   so that I can do a more robust version of that.
13   Instead of like doing it once and getting more
14   information and doing it again.              Sort of an
15   efficiency reason for it.
16         Q.    When do you intend to do that second
17   analysis?
18         A.    Likely over -- well, sort of I'll check in
19   to see where we're at on discovery and subpoenas but
20   likely over the next few months.
21         Q.    And are you planning to just add that as
22   an addendum to your existing report, or what's your
23   plan for actually giving us the results of this
24   methodology?
25         A.    I don't know.         I think there's a reply


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25    Page 247 of 295

                                                                               Page 245
 1   report on the calendar somewhere.
 2          Q.   Okay.       So you could perform this analysis
 3   based on the data you have to date; is that fair to
 4   say?
 5          A.   So the problem is you sort of need a
 6   sufficient number of data points to make it -- to
 7   make it as usable as you'd like it to be, as I'd
 8   like it to be.      And so I'm sort of waiting for more
 9   data points.
10          Q.   Is your opinion that a model -- if you use
11   the methodology you have today described in this
12   report as applied to the data you have today, it
13   would not be a usable model?
14          A.   No, you can use it.           It just wouldn't be
15   as good a model as it would be if you had more data.
16          Q.   Do you believe that if you used the data
17   you have today and the methodology you list in this
18   report, you'd have an economically reliable model?
19               MR. SIEGEL:        I'll object; vague and
20   ambiguous in terms of the reliability.                     Asking about
21   it currently?      Asking a period before?                 Or --
22               MR. KILARU:        Yeah, I mean, you can object
23   to vague and ambiguous but I'll get there.
24               MR. SIEGEL:        Yeah, I'm just --
25               MR. KILARU:        But he can answer the


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 248 of 295

                                                                              Page 246
 1   question.     So...
 2               MR. SIEGEL:        To the extent you understand
 3   it.
 4               THE WITNESS:        So are you saying -- will
 5   you just ask it again?
 6   BY MR. KILARU:
 7         Q.    Sure.       Do you believe that if you used the
 8   data you have today and the methodology you list in
 9   this report for third-party NIL, you would have an
10   economically reliable model?
11         A.    Yes.    It's an economically reliable method
12   that you -- yes.
13         Q.    Okay.       So why have you not included that
14   analysis in this report when you have included the
15   results of, for example, your modeling for broadcast
16   NIL damages?
17         A.    Well, because that includes all of the
18   class members.      I mean, there's really -- I'm not
19   waiting around for more information on broadcast or
20   on video games; right?          I mean, there may be more
21   information that comes and there may be some
22   relevant information, but I can do, you know, the
23   bulk of showing it -- again, at the class cert stage
24   if there's a method that's reliable and reasonable,
25   I can do that quite straightforward with the


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 249 of 295

                                                                              Page 247
1    broadcast data and the video game data.                    With the
2    individual NIL data, I'm waiting -- I know that
3    there's more data coming and so I'm sort of waiting
4    to get a more robust set of information to provide a
5    more economically reliable model to the court.
6          Q.      Have you actually performed the model
7    independent of whether you've disclosed it in this
8    report?      Have you tried to build it and run it?
9          A.      Yes.    We have looked at different
10   conference effects.         I don't recall if we've done
11   the -- the role on the team.              I feel like they
12   started to do a sample version of that.
13         Q.      Okay.     Again, I'm -- if you've started to
14   do it already, I'm curious as to why it doesn't
15   appear in your report.
16         A.      Well, I mean, at the time I did the report
17   I only had data through whatever -- you know,
18   August or whatever it was.            I mean, it wasn't --
19   there wasn't -- it wasn't that robust of a set of
20   data.      And then we continue to get more data in.
21         Q.      So when you submitted the report, had you
22   run your third-party NIL model with the adjustments
23   on the data that was available?
24         A.      No.
25         Q.      Okay.     So your opinion is that the model


                    TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 250 of 295

                                                                              Page 248
1    was reliable without having run it?
2          A.    Well, because it's standard economics --
3    it's very standard economics.
4          Q.    Understood.        But just to be clear, your
5    opinion is that the model you lay out in this report
6    was reliable as applied to the data you had without
7    your having actually run it; correct?
8          A.    I'm saying it's a reliable methodology
9    to -- it's a reliable methodology.                You're literally
10   measuring whether or not something is statistically
11   significant.      If it is you, apply it.             If it's not,
12   then there's no application.              There's no -- there's
13   nothing more to it than that.
14         Q.    Okay.       But you didn't include any of that
15   analysis in the report that you submitted in this
16   case thus far; correct?
17               MR. SIEGEL:        Objection; misstates
18   testimony.     Misstates the report.
19               THE WITNESS:        I don't -- yeah, I didn't
20   include any of those -- any of those sorts of
21   adjustments in here, no.
22   BY MR. KILARU:
23         Q.    Okay.       So you say -- if you look at
24   paragraph 122 of your -- sorry -- excuse me -- page
25   122 of your report, paragraph H -- you say that


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 251 of 295

                                                                             Page 249
 1   there's damages of at least $21.2 million for other
 2   lost NIL opportunity damages for the football and
 3   men's basketball class; right?
 4         A.    I see that.
 5         Q.    You say there's damages of at least
 6   $1.1 million for other lost opportunity damages for
 7   the women's basketball class?
 8         A.    Yes.
 9         Q.    And you say that there's $11.3 million in
10   damages for the additional sports class; correct?
11   Or, sorry, I should take that back.               $10.7 million
12   for lost opportunity damages for the additional
13   sports class; correct?
14         A.    I see that, yes.
15         Q.    And that's based on -- that does not
16   involve you using any of the adjustments you measure
17   in the model?
18         A.    Um --
19         Q.    You describe in your report, I should say.
20   Not actually the model.
21         A.    Correct.      Yeah, this is sort of that first
22   step.
23               The reason that it's "at least as" is
24   because I know how much more -- like, I know that
25   there are a lot of other NIL payments that I just


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25    Page 252 of 295

                                                                              Page 250
 1   haven't received yet.         And so I know based on the
 2   size of that that this is a lower bound of what
 3   those numbers will eventually tell us.                    Because not
 4   everybody can go from a small conference to a big
 5   conference; right?        Some of the athletes -- some of
 6   the athletes, you know, might go from a big
 7   conference to a small conference.              So sort of
 8   understanding the economics of how this NIL market
 9   is playing out.
10         Q.      The numbers that we just discussed that
11   you put in this report are based solely on taking
12   post-July 1 transactions that you have and taking
13   them back for however many years the student athlete
14   had eligibility; correct?
15         A.      I think these are just for the one -- I'd
16   have to look.      I think these are just for the one
17   year.      So this isn't even including all the previous
18   years.     That's why it's "at least."
19         Q.      Right.    So -- well, I'll ask a slightly
20   different question.
21                 The numbers that we just discussed are
22   based on your taking the data you had as of the date
23   of your report on transactions and supporting that
24   back for how many years the individual student
25   athlete had eligibility?


                    TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 253 of 295

                                                                             Page 251
 1         A.    I don't know.        I think this is just -- I
 2   would have to look at my report.
 3         Q.    Please do.
 4         A.    (Witness reviews document.)
 5               So -- no, this is just reporting a single
 6   year's worth of damages assuming no adjustments, but
 7   not all the previous years prior to that, and then
 8   not including all of the other data that's going to
 9   come in presumably through discovery and subpoenas.
10         Q.    So you took the data you had for the 2021
11   year and just assumed that those transactions would
12   have existed in the 2020 year; correct?
13         A.    I adjusted for the eligibility of the
14   athletes.     Because some of the data we have coming
15   in, they're freshman.         So they weren't eligible in
16   prior years.      So I have to account for that.                And
17   then I'm not assuming this is just for 2020.                    I'm
18   just saying this is one number.
19               So Exhibit 14 sort of shows -- I think it
20   adds up to the same number that you get.                  Yeah.
21   That -- that we get in paragraph 234.                So I'm just
22   reporting essentially in paragraph 234 what's
23   reported in Exhibit 14.
24         Q.    Got it.
25         A.    So but it's only -- it would only be one


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 254 of 295

                                                                             Page 252
 1   year's worth of damages and it wouldn't even include
 2   all of the other potential folks that are out there
 3   that -- whose data we're going to receive or we
 4   already have received since the cutoff date in this
 5   report, back in the late summer.
 6         Q.    Right.      So it's one year of
 7   transactions --
 8         A.    Yes.
 9         Q.    -- is the estimate that you have in here;
10   correct?
11         A.    I believe so, yes.
12         Q.    With none of the adjustments --
13         A.    Yes.
14         Q.    -- other than the one you just mentioned.
15   Okay.
16               You don't have a calculation of damages
17   for any of the named class members in this case as
18   to -- well, I'll strike that.
19               You don't have an estimation of damages
20   for Grant House; correct?
21         A.    I mean, I didn't take the model and apply
22   it to him in particular as a named plaintiff, no.
23         Q.    You don't have a calculation of damages
24   for Sedona Prince --
25         A.    No.


                   TSG Reporting - Worldwide· · 877-702-9580
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 255 of 295

                                                                              Page 253
 1         Q.    -- for third-party NIL; correct?
 2         A.    I just have a method on how that would be
 3   applied, yes.
 4         Q.    And for the two of them, their only
 5   damages would be for third-party NIL; correct?
 6               MR. SIEGEL:        Objection; misstates report.
 7               THE WITNESS:        She -- Sedona Prince might
 8   get broadcast damages.
 9   BY MR. KILARU:
10         Q.    Let me do that separately.               Fair point.
11               For House the only damage would be
12   third-party NIL; correct?
13         A.    Yes, I believe so.
14         Q.    Okay.       And for Prince you've calculated
15   the broadcast NIL damages but not the third-party
16   NIL damages; correct?
17         A.    I mean, I've shown the method to do that,
18   but, yes.
19         Q.    Okay.       You'd agree that the information
20   that you used were NIL transactions that were
21   reported to institutions; correct?
22         A.    Yes.
23         Q.    Okay.       Do you know whether those deals
24   were actually consummated and paid out?
25         A.    No.


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 256 of 295

                                                                              Page 254
 1           Q.   Could we do Tab 26, what I think is
 2   Tab 26.
 3                Never mind.       Never mind.        I take that
4    back.
5                 So if a student athlete reported a
 6   transaction to their university and then became --
 7   and then had that transaction revoked, that would
 8   currently show up in your model; correct?
 9         A.     The university might have removed it also.
10   I don't know.
11         Q.     You don't know one way or another?
12         A.     I mean, we're receiving information that I
13   believe the universities are relying upon themselves
14   to make their decisions and to comply with
15   whatever -- whoever they're complying with, whether
16   it's the school, the NCAA, the conference, or if
17   it's a state law or something like that.
18         Q.     So let me just give you a sort of specific
19   hypothetical example.          If a student athlete signed
20   an endorsement deal for, say, $5,000 for NIL and
21   reported that to the university -- that's step 1 --
22   after July 1, 2021 -- right?              So are you with me on
23   that?
24         A.     Yes.
25         Q.     Okay.      And then they lost that deal


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 257 of 295

                                                                             Page 255
1    because of some off-the-field conduct, they didn't
2    report that to the university -- are you still with
3    me?
4          A.    Yes.
5          Q.    -- your model would still say include that
6    $5,000 in the damages calculation; correct?
7                 MR. SIEGEL:      Objection; incomplete
 8   hypothetical.
 9                THE WITNESS:      Yeah, I just don't know -- I
10   don't know what the university would do with that
11   information.      Presumably they would know that the
12   person had some off-field conduct that caused an
13   issue.     I mean, they might know that.             They might
14   check in with that student and say, hey, are you
15   still doing this deal or not.            Or if the deal
16   was even -- if it was publicly known that they
17   didn't get the deal, the university might make an
18   adjustment.     But I don't know if that happened in a
19   particular case or if that happened in your
20   hypothetical.
21   BY MR. KILARU:
22         Q.     You don't know if the university would
23   take out the deal from their reporting in that
24   circumstance; correct?
25                MR. SIEGEL:      Objection; calls for -- go


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     Case 4:20-cv-03919-CW   Document 600-1    Filed 01/23/25   Page 258 of 295

                                                                              Page 256
1    ahead.     You can answer.
2                 THE WITNESS:      Yeah, I don't know what the
3    university would do in that case.
4    BY MR. KILARU:
5          Q.    If it did not take that deal out, it would
6    be reported as damages in your model currently;
7    correct?
8                 MR. SIEGEL:      Objection; incomplete
 9   hypothetical.      Calls for speculation.
10                THE WITNESS:      Again, it depends on the
11   situation.     Is the person a freshman or not; you
12   know, are they even in the model; are they in the
13   class.     All those different things.             But -- but,
14   yeah, the methodology would calculate what those
15   damages are.
16                MR. KILARU:      Okay.
17                THE WITNESS:      I don't know if in some
18   future class determination people would have to
19   prove or disprove anything.              I've -- you know, I've
20   seen cases like that where you have to sort of prove
21   you were harmed and you sort of show up with proof
22   or resubmit proof.        I mean, you -- I see those
23   securities cases all the time; right?                 Submit your
24   proof that you bought the stock and you sold the
25   stock and what your losses were.


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 259 of 295

                                                                             Page 257
·1· · · · · · ·MR. KILARU:· Just a couple more things and
·2· ·then I think we'll take a break.
·3· · · · Q.· ·You -- could you turn to pages -- page 53
·4· ·of your report.· So in paragraph 115, you talk about
·5· ·a deal that Fanatics plans to offer in which student
·6· ·athletes in Division I can opt in to a program and
·7· ·receive compensation for physical and digital
·8· ·trading cards.· Do you see that?
·9· · · · A.· ·Yes.
10· · · · Q.· ·For the next paragraph you talk about a
11· ·potential deal where Adidas is offering compensation
12· ·to -- potentially offering compensation to student
13· ·athletes at its partner schools?
14· · · · A.· ·Yes, I see that.
15· · · · Q.· ·Another example then about Fumble offering
16· ·a deal to a group of female college athletes?
17· · · · A.· ·I see that.
18· · · · Q.· ·You don't have any evidence to date of the
19· ·take rates for offers like this; do you?
20· · · · A.· ·To the extent that any of this information
21· ·is in the data we have, then we would have that
22· ·captured in the data.· But I haven't looked
23· ·specifically at these three examples, for instance.
24· · · · Q.· ·Are you aware of entities called
25· ·collectives that are bundling money from donors and
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 260 of 295

                                                                             Page 258
1    providing them to student athletes?               Are you aware
2    of this?
3           A.   I'm aware of collectives.             I wouldn't
4    characterize it exactly the way you said, but, yes.
5           Q.   How would you characterize them?
6           A.   Well, they're -- they're gathering
7    finances or infor- -- money from various sources.
8    You call them donors.         But, I mean, whether they
 9   donate to the school prior to that or not, I don't
10   know the answer to that.
11          Q.   I just meant to the collective.                I --
12          A.   Okay, donors to the collective.                Yes.
13          Q.   Do you have an opinion as to whether the
14   payments they are making to student athletes are for
15   NIL?
16               MR. SIEGEL:       Objection; overbroad.
17               THE WITNESS:       In general my presumption is
18   that the NCAA is enforcing its rules.                And I haven't
19   heard of any of those collectives' payments being
20   reversed.     So I presume that those payments are for
21   the use of the athletes' NIL.
22   BY MR. KILARU:
23          Q.   Other than that presumption, have you done
24   any -- do you have an opinion as to whether they're
25   for NIL or not?


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 261 of 295

                                                                              Page 259
1                 MR. SIEGEL:       Objection; calls for a legal
 2   conclusion.
 3                THE WITNESS:       I mean, I'm just looking at
4    the marketplace and I'm noticing payments taking
5    place.     And I'm not -- I haven't heard of any
6    enforcement that has happened with the NCAA.
7                 I mean, I'm aware that the NCAA has -- is
 8   aware of the collectives and may potentially look
 9   into some of them, but I haven't seen any evidence
10   that these collectives are being challenged or have
11   had to reverse any payments.              So that's my
12   presumption as I looked at the marketplace.
13   BY MR. KILARU:
14         Q.     I think this is my last question on this
15   topic and then -- or last set of questions on this
16   topic and then we can take a break.
17                But you'd agree that you're applying the
18   before- and after-method from the period from -- we
19   talked about starting in 2016 and then going to
20   whatever date it is in the future; correct?
21         A.     Yes.
22         Q.     Okay.      You'd agree that that model
23   benefits student athletes who optimize their
24   earnings in the after-period; correct?
25         A.     Well, I mean, it depends; their role on


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     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 262 of 295

                                                                             Page 260
 1   the team and the conference affiliation.                  Those
 2   things may change.
 3         Q.    Just to go back --
 4         A.    Um --
 5         Q.    Oh, please go ahead.
 6         A.    So the school they chose, the sport they
 7   play; right?       So, I mean, I don't -- I don't agree
 8   with the way that you're basically characterizing
 9   it.
10         Q.    Well, let me give you sort of a specific
11   example.    We talked earlier about the Saint Peter's
12   example where after the rules change, student
13   athletes at Saint Peter's made a run in the
14   tournament and may or may not have been able to
15   monetize their NIL as a result of that; right?
16   That's an example we talked about?
17         A.    Yes.
18         Q.    You're aware that in 2019 in the
19   before-period Loyola Chicago, a similarly not
20   high-profile school, made its Cinderella run in the
21   NCAA tournament; correct?          Are you aware of that?
22         A.    Yes.    With Sister Jean, yes.
23         Q.    Correct.      And the earnings for those
24   student athletes would be measured based -- the
25   damages for any of those student athletes would only


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     Case 4:20-cv-03919-CW   Document 600-1    Filed 01/23/25    Page 263 of 295

                                                                               Page 261
 1   involve deals that they've struck since 2021;
 2   correct?
 3         A.    As opposed to -- what do you mean?                    Deals
 4   they struck before 2021?
 5         Q.    I'm just asking the damages would be for
 6   deals they were able to strike after July 1 of 2021;
 7   right?
 8         A.    Yes.
 9               MR. KILARU:       Okay.       I think this is a good
10   place to take the break.          I'm hoping the next
11   session will be the last one.
12               THE VIDEOGRAPHER:            We're going off the
13   record.    The time is 6:15 p.m.            Sorry.         4:16 p.m.
14         (Recess taken from 4:15 p.m. to 4:32 p.m.)
15               THE VIDEOGRAPHER:            Okay.    We're back on
16   the record.     The time is 4:32 p.m.
17   BY MR. KILARU:
18         Q.    Doctor, I'd like to talk to you about
19   video games now, which is the last set of damages
20   that I believe you've modeled.
21         A.    Okay.
22         Q.    You calculate damages for the men's
23   football group based on, is it -- am I right -- is
24   it fair to say using the Madden game as a yardstick
25   for college football?


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Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 264 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 265 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 266 of 295
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 267 of 295

                                                                             Page 265
·1· · · · Q.· ·You agree that its growth after the EA
·2· ·football game was discontinued came at a time when
·3· ·just by basic fact there was no college football
·4· ·game out there at the same time; right?
·5· · · · A.· ·I mean, right.· The fact is there wasn't a
·6· ·college football game.· Um -- right.
·7· · · ·
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22· · · · A.· ·Correct.
23· · · · Q.· ·Okay.· Turning to basketball.· And
24· ·basketball, too, you'd agree that there are fewer
25· ·teams and fewer players in the basketball games;
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 268 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 269 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 270 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 271 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 272 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 273 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 274 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 275 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 276 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 277 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 278 of 295
     Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 279 of 295

                                                                             Page 277
 1   in 2016 to 2021, your model assumes they would have
 2   opted in; correct?
 3               MR. SIEGEL:       Objection; misstates
 4   testimony.     Asked and answered.
 5               THE WITNESS:       So the dollar amount
 6   doesn't -- doesn't assume that.             So a particular
 7   athlete who does opt in is not affected by whether
 8   another athlete chooses to opt in or not; right?
 9   But assigning a damage amount to each athlete is
10   assuming that -- that 85 athletes opt in for
11   football and, say, 13 for men's basketball.
12   BY MR. KILARU:
13         Q.    I get that you calculate a per- -- I
14   understand you calculate a per- -- you agree with me
15   you calculation a per-student-athlete number;
16   correct?
17         A.    Correct.
18         Q.    And then you figure out how many people --
19   in calculating a total number of damages, you
20   multiply that by the number of scholarship players;
21   correct?
22               MR. SIEGEL:       Objection; misstates
23   testimony.     Misstates report.         Asked and answered.
24               THE WITNESS:       Yeah, I do a per-athlete
25   calculation.


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 280 of 295

                                                                               Page 278
 1   BY MR. KILARU:
 2         Q.    Let's look at the chart in your report on
 3   that.    So can we go to page -- give me a minute.
 4               Okay.       So let's look at Exhibit 3 on page
 5   72.
 6         A.    All right.        Let me get to that.
 7               Okay.
 8         Q.    Okay.       So just walking through this.               You
 9   calculate a per-athlete royalty for all Division I
10   basketball athletes; correct?             That's the third
11   column?
12         A.    Yes.
13         Q.    Okay.       And then you figure out -- you have
14   here the number of Power Five basketball class
15   members; correct?
16         A.    Yes.
17         Q.    Okay.       And then you have per-class-member
18   damages which are the same number as the royalty;
19   right?
20         A.    Yes.
21         Q.    Okay.       And then the total class member
22   damages multiplies the per-class-member damages by
23   the number of Power Five basketball class members;
24   correct?
25         A.    Yes.


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     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 281 of 295

                                                                              Page 279
 1           Q.   So your model includes every single member
 2   of the Power Five basketball class opting in?
 3           A.   Yes.     The total damages does.              The
 4   per-class-member damages doesn't -- doesn't require
 5   that.
 6         Q.     Right.      But the total number assumes
 7   everyone opting in; correct?
 8         A.     Yes.
 9                MR. SIEGEL:       Objection; misstates -- that
10   misstates report --
11                Let me get my objection in.
12                Misstates report; misstates the testimony.
13                THE WITNESS:       Yes, it multiplies the Power
14   Five basketball class members times the
15   per-class-member damages.
16   BY MR. KILARU:
17         Q.     Okay.      So just turning to the next page.
18   The football methodology is the same; correct?
19         A.     Yes.
20         Q.     So the calculation of the total class
21   member damages involves every member of the Power
22   Five football class opting into the video game?
23                MR. SIEGEL:       Objection; misstates report.
24                THE WITNESS:       I'm just looking.            It's --
25   it's assuming 85 per team.            So it's essentially


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Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 282 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 283 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 284 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 285 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 286 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 287 of 295
     Case 4:20-cv-03919-CW    Document 600-1   Filed 01/23/25   Page 288 of 295

                                                                              Page 286
 1         A.    That's -- in your hypothetical, yeah.
 2               Yeah, if they don't have a scholarship,
 3   then I'm not calculating a damage for them.                    At the
 4   same time, you know, it's certainly possible to do
 5   that if for some reason EA decided to come out with
 6   a game that had a hundred athletes, then it would be
 7   possible to calculate damages, you know, for --
 8   based on a hundred athletes.
 9         Q.    Okay.       You're aware that today video games
10   often involve rosters that update live?                    So you can
11   get a new roster pushed to your console daily,
12   weekly, monthly?
13         A.    I'm aware of that.
14         Q.    Okay.       Is it your opinion that in the
15   but-for world, video game companies would provide a
16   royalty to student athletes who are disqualified
17   from a team after the season starts?
18         A.    So in my model -- again, looking in the
19   past -- I'm measuring a reasonable estimate of
20   damages for 85 scholarship athletes.                 If one of them
21   is ineligible for some reason after the season
22   starts -- I think that's how you characterize it --
23   I'm still measuring a damages calculation for them
24   in the past.
25         Q.    The same would be true for a student


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Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 289 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 290 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 291 of 295
     Case 4:20-cv-03919-CW   Document 600-1    Filed 01/23/25   Page 292 of 295

                                                                              Page 290
1                MR. KILARU:       We have no further questions
 2   at this time.      Thanks, Doctor.
 3               THE WITNESS:       Thank you.
4                THE VIDEOGRAPHER:            This concludes today's
5    deposition of Dr. Daniel Rascher.               Master media of
6    today's deposition will remain in the custody of
7    TSG.   The time is 5:18 p.m.             We are now off the
8    record.
9              (Proceedings adjourned at 5:18 p.m.)
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Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 293 of 295




              TSG Reporting - Worldwide· · 877-702-9580
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 294 of 295
Case 4:20-cv-03919-CW   Document 600-1   Filed 01/23/25   Page 295 of 295
